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                                         PROMISSORY NOTE

$2,000,000                                                      Los Angeles, California
                                                   November 1, 2014 (1'Effective Date")

       For value received, Thomas Wylde, LLC ("Maker") promises to pay to the order of Steven
Choi ("Holder") the sum of two million dollars ($2,000,000) (the "Principal'1, due in full on or
before the third anniversary of the Effective Date set forth above.

1.     PAYMENTS

        1.1    Payments. Maker shall make monthly payments sixteen thousand six hundred and
sixty six dollars and sixty-six cents ($16,666.66), payable by the last day of each month,
commencing on the Effective Date to cover the monthly interest due. Maker shall pay the principal
balance in fuU as a balloon payment on or before November 1, 2017. Maker may prepay all or any
portion of this Note at any time prior to the Maturity Date without premium or penalty.

       1.2     Interest The Prindpal shall accrue interest at the rate of ten percent (10%) per
annum. Notwithstanding the foregoing, it is intended that the rate of interest shall never exceed the
maximum rate, if any, which may be legally charged, and if the interest provisions contained in this
Note would result in a higher rate, then interest shall be limited to the legal limit and any amounts
interest paid in excess shall be applied to the reduction of the Principal.

      1.3     Upon payment of all Principal and interest required to be paid under this Note,
Holder will return to Maker a copy of this note marked "CANCELLED/PAID IN FULL," and all of
Maker;s obligations under this Note will be terminated.

2.     DEFAULT

       2.1     Maker will be in default if it: (i) fails to pay any installment of interest or Principal
when due and does not cure such deficiency within thirty (30) days; or (ii) makes an assignment for
the benefit of creditors; is subject to a petition in bankruptcy that is not removed within thirty (30)
days; has a receiver, trustee, or similar officer appointed to take charge of all or part of its property
and same is not removed within thirty (30) days; or is adjudicated bankrupt

       2.2    Whenever Maker is in default, the entire unpaid principal balance inclusive of unpaid
interest added to principal and any accrued but unpaid interest shall immediately become due and
payable at the option of Holder and without notice or demand of any kind.

       2.3    If this Note is not paid when due, or in the event that proceedings at law are instituted
in connection with this Note, Maker shall pay all costs of colJectton, and aH expenses in connection
with the protection or realization of this Note, which fees, costs and expenses are incurred by
Holder on account of such collection, whether or not suit is filed, including without limitation,
reasonable attorney's fees incurred by Holder on account of such collection.

      2.4     During the existence of any default or delinquency under the terms of this Note,
Holder is hereby expressly authorized to apply all payments made on this Note to the payment of
such part of any delinquency as it may elect




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3.     Miscellaneous

      3.1     The headings in this instrument are inserted for convenience and shall not be
considered a part of this instrument or used in its interpretation.

       3.2     This Note, and the parties' rights and liabilities thereunder, sha11 be constru.ed under
the law of the state of California.

        3.3    Except as specifically set forth in this Note, Maker waives presentment, demand,
notice, protest and all other demands and notices in connection with the delivery, acceptance,
performance, default or enforcement of this note.

      3.4    The obligations of Maker under this Note shall not be subject to reduction, limitation,
impairment, termination, set-off, or recoupmentfor any reason.

      3.5     No delay or omission on the part of Holder in exercisiQg any right hereunder shall
operate as a waiver. A waiver on any one occasion shall not be construed as a bar to or waiver of
any such right and/or remedy on any future occasion.

       3.6   Any amendment or modification of the terms of this Note shall be in wr.i ting and
signed by both parties.

        3.7     Failure by Holder to exercise the option of determining this Note to be due and
payable or any other option to call the indebtedness for a specific default shall not constitute nor be
deemed to be a waiver of the right to exercise the same in the event of any subsequent default The
right to plead any statutes of limitation as a defense to any demand hereunder is hereby waived to
the full extent permitted by law.

       3.8     If any provision or any word1 term, clause, or part of any provision Qf this Note shall
be invalid for any reason1 the same shall be ineffective1. but the remainder of this Note and of the
provision shall not be affected and shall remain in full force and effect.

        3.9    Whenever possible, each provision of this Note will be interpreted in such manner as
to be effective, valid and enforceable under applicable law. In case any provision of this Note is held
to be prohibited by, invalid, or unenforceable under applicable law, the validity, legality, and
enforceability of the remaining provisions shall not be affected or impaired thereby..

       Maker acknowledges that Maker has read, understands and agrees to the terms and conditions of
this Note. IN WITNESS WHEREOF, Maker hereby executes this Promissory Note.


                                                   Thomas Wylde, LLC




                                                   John Hanna, Manager




                                                                                                     LEE000484
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     ,- - - - - - - -- -         --     -- --         -- -------------,
 1   I           UNITED STATES BANKRUPTCY COURT

 2   I           CENTRAL DISTRICT OF CALIFORNIA

 3   I                 RIVERSIDE DIVISION

 4

 5   I   In Re                                 ) No .

 6   I   PDTW, LLC,                            ) 6:16-bk- 15889-SY

 7   I                      Debtor .

 a   I
 9   I   LARRY S IMMONS,     Chapter 7             Adv. No.

10       Trustee,                                  6 : 17-AP-01200-SY

11   I                      Plai ntiff,        )

12   I                vs.

13   I   PAULA THOMAS, an individual,)

14   I   et al. ,
15                          Defendants.
16   I   ______________                        )


17 I
10 I          VIDEOTAPED DEPOSITION OF DOUGLAS LEE

19   I                Los Angeles, Cali fornia

20                    Friday, November 2, 2018

21 I                            Volume I

22 l     Reported by:

23 I     0UDITH A . MANGO

24 I     CSR No. 5584
25       PAGES 1 - 274


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  r
       I      UNTTEDSTATESB"'-NKRUPTCYCOURT                                            lNDEX
       2      CENTRAL DISTRICT OF CALIFORNIA                          2
       3         RIVERSIDE DIVISION                                   3 WITNESS                        EXAMINATION
                                                                      4 DOUGLAS LEE
      4 - - --          - - - -- -
       S In Re               ) No.                                    5 VOLUME I
       6 PDTW.LLC.                ) 6: 16'-bk- l S889-SY               6
       7           Debtor.                                             7               BY MR. BILLER 11, 166
       8 _ _ _ _ _ _ _ _ __,
                                                                       8
       9 LARRY SIMMONS, Chapter 7 ) Adv. No..                         9
      10 Trustee.               ) 6.17-AP--01200-SY                   10
      11            Plaintiff, )                                      11              INSTRUCTION NOT TO ANSWER
      12         vs.          )                                       12               PAGE     LINE
      13 PAULA THOMAS, an md1vldual,)                                 13              21          6
      14 et al.,              )                                       14              26          15
      IS            Defendants. }                                     15              28          8
      16 _ _ _ _ _ _ _ _ __,
                                                                      16              32          19
      17                                                              17              69          15
      18                                                             18                167        8
      19         V1deotape(I Depostlton 1_>fDOUGLAS LEE,             19                172        3
      20   Volume I. ta.ken on behalf of Defendant Paula Thomas,     20
      21   at 2049 Century Park East. Los Angel~, California,        21
      22   bcg1Ming at I 0: 14 a.m, and endmg at 4:32 p,m. on        22                 EXHIBITS
      23   Friday, November 2, 2018, before ruDITH A. MANGO,         23
      24   Cen1ficd Shorthand Reporter No. 5584.                     24 NUMBER                DESCRIPTION             PAGE
      2S                                                             25 Exhibit I      Subpoena for Douglas Lee       19
                                                            Page 2                                                      Paae4
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       1 APPEARANCES:                                                                 EXHIBITS (CONTINUED)
       2                                                              2
       3 For Defendant Paula Thomas:                                  3 NUMBER            DESCRlPTION                  PAGE
       4      LDT CONSULTING, fNC.                                    4 Exh1bit 2 Subpoena for person most            19
       5          BY: DIMITRlOS P. BlLLER                             5          knowledgeable at LaunchPad
       6          Attorney at Law                                     6           Communications
       7          15113 West Sunset Boulevard, Suite 9                7
       8          Pacific Palisades, California 90272                  .8 Exhibit 3 Douglas Lee's responses and       36
       9          (3)0) 459-9870                                        9          objections to request for
      JO          biller_ ltdconsulting@verizon.net                   IO           production of documents
      11                                                              11           pW'suant to subpoena
      12 For the Witness:                                             12
      13          THE BRAND LAW FIRM                                  13 Exhibit 4     Privilege log          36
      14          BY: DONE. BRAND                                     14
      15          Attorney at Law                                     I 5 Exhibit 5    Pages from LaunchPad website     71
      16          2321 East 4th Street, Suite C-473                   16
      17          Santa Ana, California 92705                        17 Exhibit 6 Document entitled "Valuation of 92
      18          (714) 769-648S                                     18          the Intellectual Property Owned
      19          don@brandlawfmn.net                                19          by Ms. Paula Thomas and Licensed
      20                                                             20          to PDTW, LLC, Date of Value
      2 I Also Present:                     21          October 17, 2013
      22        PAULA THOMAS                22
      23        STEVEN TOGAMl, VIDEOGRAPHER 23 Exhibit 7 Document entitled "Thomas Wylde
      24                                                             24           Presentation to Management, January
      25                                                             25           8,2016"
                                                            Pagel

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                                                              2
                                                              3 NUMBER
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                                                                                  DESCRIPTION                PAGE
    4 Exhibit 8 Series of e-mails, first dated   104          4 Exhibit 20 Doc:ument entitled "Clawback       213
    5          December 10, 2015 from David.                  S          Agn:ement"
    6          Schnider to Henry J. Kahrs                     6
    7                                                         7 Exhibit 21 Document entitled ~Indemnity        213
    8 Exhibit 9 Series of e-mails, fitst dated' I 09          8          Agreement"
    9          November 5, 2015 from Stephen                  9
   IO          Choi to Doug Lee and Roger k.uo               IO Exhibit 22 Document entitled "Agr~ment To 213
   11                                                        11           Purchase Membership Interest"
   12 Exhib it 10  Series ofe-mails, first dated 116         12
   13          March 3, 2015 from Stephen Choi               I 3 Exhibit 23 Document entitled "Use of Proceeds. 2 I 3
   14          to R.ogei' Ji;.uo and Doug. Lee               14          Agreement"
   15                                                        IS
   16 Exhibit JI  Docwnent entitled "Binding Term 120       16 Exliibit 24 Document entitled "Amended and        2t3
  17          Sheet"                                        17           Restated Operating Agreement of
  18                                                        18          Thomas Wylde_, LLC"
  19 Exhibit 12 E-mail dated May 16,201.4 from. 131         19
  20          Doug Lee to John Hanna                        20 Exhibit 25   Document entitled "Action by      217
  21                                                        21          Written Consent of the Members
  22 Exhibit 13 E-mail dated July 9, 2014 from 144          22          ofPDTW. LLC"
  23          Doug Lee to Paula Thomas                      23
  24                                                        24 Exhibit 26 Document entitled ''Thomas Wylde, 223
  25
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                                                            .25         LLC AccowuQuickReport"
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   2                                                         2
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   4 Exhibit 14 One-page document, Bates           148       4 Exhibit 27 E-mail dated December 24, 2014 230
   s          PDTW_rw.:_OO000610                             5          from David Schnider 10 Andrew
   6                                                         6          Apfelbe_rg
   7 Exhibit 15 Series of e-mails, fl~t dated    149         7
   8         July ro, 2014 from Andrew                        8 Exhibit 28 Official Form 41 O Pooofof    232
   9         Apfelberg to Paula Thomas                        9          Claim with attachments
  lO                                                         10
  I i Exhibit I 6 Document entitled "Operating 153          11 Exhibit 29 Document entitled "Thomas       2-56
  f2          Agreement ofThomas. Wylde, LLC"               1-2          Wylde," Bates 02218 .a nd 02219
  n                                                         13
  14 Exhibit 17 Document entitled "Secured     183          14 Exhibit 30 Document entitled "Action By     260
  15          Promissory Note"                              IS           Written Consent of the Membets
  16                                                        16          ofThomas Wylde, LLC"
  17 Exhibit 18 LeuerclatedNovember9,2016       192         17
  18          from Kyu Hong Kim to Thomas Wylde,            J8
  19          LLCwithattachedamended2015tax                 19
  20         retu(n                                         20
  21                                                        21
  22 Exhibit 19 2013 Fonn I 065 tax return for 203          22
  23          PDTW, LLC                                     23
  M                                                         ~
  25                                                        25
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            Lo, A11geles. California, Friday, November~ 2018
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                                                                                         I
                                                                                         2
                                                                                         3
                                                                                                 A Yes
                                                                                                Q Do ~ou typically appeat·at meetings like
                                                                                              you rolled out of bed, unshaven, with a -- a shin
       4       THE VIDEOGRAPHER: Good momiQg. We are on                                  4    that doesrt't fit you and wrinkled, in a slouched
       5 the rccocd ai 10:14 A.M. on November .2nd. 2018.               !0; 14:21        S    position? Do you typically show up at bus.iness        10; 17:lf
       6       Ph::ase nOlt that lhe miaophones ~                                        6    meetings like that?
       7 seqsilivc and fllQY pick up whisper'S, private                                  7          MR. BRAND: Objection; atgume.ntatfve.
       8 ~nvertation, and c;elh1lar interfcrc:ix:c. Audio and                            8    BY MR. BILLER:
       9 video ~nting will continue to !alee place unlC6s                                9      Q You can answer the q1.1estio11.
      IO all part1~ qgn::e lo go off lhc record,             10:14.42                  1 10     A ldtsagrcewithwbatyo11'resaying,                )0:17:18
  I   LI       Tb.is is Media Unil No. I of the                                          11
                                                                                       I 12
                                                                                                Q Okay. Can you answer my question now.
                                                                                                A No.
  1 12 v1deo-~orded deposition of Douglas L" tuen by
      13 c-ounscl for the defemwn in the matter of In Re:                               13      Q ''No," you don't.. So why did you take this
  l 14 PDTW, LLC, Case No. 6: 16-bk- lS889-SY; and Lany                                I14    special occasion to dress as you are, 1.1nshaven, like
      I.S Sunmons, Chapter 7 Tru.tee, vn-su.s Paula Tho.mas,            10, 15' 13     115    youJUstwokeupandrolledoutofbed? ls that 10~17:Jl j
  I 16 et al., Case No. 6: l1-11p-Ol 200-SV, both filed in tht:.                         16   part of your shtick that this is not an important
    17 United Sia.tes Bankruptcy COWt for the Cen1ral                                    17   c,se7
                                                                                       1
  1 18 Dislrict of California, Rivttside Division,                                      18          MR. BRAND: Objection; .argumentative. I'd
  I 19      This ll~ilion is being he.Id qt Veritcx!
    20 Legal Solutions, localed at 2049 Cenrury Partc Ii-1st, 10: IS:47
                                                                                    1 J9 like you to 1.ontinue IO the ntl(l lme of
                                                                                    120 questioning, or we're going 10 get out of here.    10:17:41
  j 21 Los Angeles, California. 90067                                                21        MR. BILLER: Okay.
    2.2     My name is Steven Togam1 from the firrn                                 122 Q You.cqn answer the question.
  123 Venttxt Legal Solutions, and f 3111 the v1deogn,pher.                          23 A f dress like this all the time. That's
  124 The court reporter    is Judith Mango, from the finn                          124 how•·
      2S Vcriteitt Legal Solutions.                 10: 16:08                        25 Q Even m b\1$iness meetings?                    10:17:48
                                                                            Page 10 1                                                        Pag~ 12
  ~ - - --                                                                                       A    Yes.
               I am no1 related 10 any pany tn this
  1 2 action. oor 4m I tin1111ciolly interested In the                                   2       Q    Okay. Youjustsaid ~no."
  I    3 outcorni::. If then, are any objections to proc~ding.                           3       A No, this is how I dress at busine~
       4 please state them at the time of your appcuaoce.                                4 meetings. Yes.
  IS           A1 this time will cou.nsel and all pn:sc.nt      10: 16:24                5 Q Okay.                               J0:17:54
       6 pleai.e sl4te their appearance$ and affilia1ions for                            6 A Yeah.
  I    7 lhe n:cord.                                                                     7 Q All right The oath that you've taken is
  ! 8 MR BILLER. Dunittfos Biller. LTD                                                   8 an obligation to tell the truth.
    9 Consu1J1ng, Inc . reptesenung Defelldant PaulD                                     9      Do you understand that?
  I10 Thomas m adversary proceedings before
                       the                                die        10. 16:36          JO   A Yes.                             10: 17:57
      11 Unjted States Disinct Court                                                    11   Q If you !je, you can be brought up on
  l 12        MR BRAND. Don Brand on behalf of the                                      12 charges or before a Court and be held in contempt.
      13 deponent. Dovglas Lee,                                                         13      Do you understand that?
  114          THE WITNESS, Douglas Lee                                                 14       A    Yes.
  \ 15         THE VIDEOORAPHER Thank you.                           J0.16-50           15       QAnd if you do lie, I wiJI do that.
      16       MR      BILLER Cin you sweai- U1 lhcw11tt«S,                             16      Do you under..tand that?
  \ 11 plea$C                                                                           17   A Yes.
      18                                                                                18 Q You understand the penal.ty of perjury
  119                  OOllGLAS LEE.                                                    19 applies?
      20 having been ldmln.iSlered an oath. was elW!lmed And                            20       A    Yes.                               10:18: 10
  I21 testified as follows                                                              21       Q    You understand what that means?
  122                                                                                   22       A    Yes.
   23                  EXAMfNATION                                                      23       Q Do you understand the punishment for
  124 BY MR. BILLER:                                                                    24 penalty ofperjwy?
      2.S   Q Are you a bll$1ne55nuu(l                       IO· l658                   25       A    Yes.                               10:18:15
  I----- .----------------------- -------                                   Pagt I I                                                  ____Pase
                                                                                                                                           _~
                                                                                                                                    4 (Pages 10- 13)
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            Q What isit?
                                                                                           - -- - - - - --                -- - - - -
                                                                                                Q It exists because lhe court reporter to
                                                                                                                                                -----.
    2       A      I don't know.                                                           2 your right can only be - take--- can only
    J       Q      So youjust lied.                                                        3 transcribe what is being said by one person at a
    4         MR. BRANO: Objection; argumentative.                                         4 time.
    5 BYMR. BlLLER:                           10:18:22                                     5         Doyouunderstandthat?                 10: 19:32
    6       Q You just lied, sir.                                                          6     A Yes.
    7     MR. BRAND: Objection: argumentative,                                             7     Q So it's - it's a courtesy also to the
    8 BY MR. BILLER:                                                                       8   court reporter, okay?
    9  Q l asked you what the penalty of pcrjUI')' is,                             9                 Do you understand?
   10 if you knew t~ penalty, and you said•·                           10:18:28 1 10             A Yes.                             10:19:40
   11       (Simultaneous talking.)                                               11             Q All right. Now. you c1111 give me estimates
   12       A I do not··                                                              r 12 all you want. but you can't.speculate.
   13       Q - Kycs."                                                                    13         Do you understand the difference?
   14       A      I do not know what the penalty-•                                       14     A    Explain.
   15       Q Okay. Areyou--                      10: 18:30                           11s        Q Speculationisif[weretoa.skyouthe             10:19:52
   16       A - of perjury is.                                                            16   size of my desk in my office and you were lo give me
   17       Q - going to be truthful from here on and                                     17   an IUISWer. that would be·specuh11tion because you
   18 going forward?                                                                  1
                                                                                        I8     haven't seen my desk. You don't have personal
   19   A Yes.                                                                          19     knowledge ofmy desk.
   20       Q      01.tay. Is that a lie?                    I 0: I S-:32             120            Do you understand?                  10:20:03
   21             MR.. BRAND: Objection; argumentative.
   22 BY MR BILLER:
   '23 Q Okay. Penalty of perjury is this: You can                                    l
                                                                                       22
                                                                                          21     A    Yes.
                                                                                            Q Okay. But if r were to ask you the
                                                                                       23 d1mens1ons of the conference table irt front of you,
                                                                                                                                                               l
   24 be tn prison up to one year llnd/or pay $ I0,000 and a                           '24 and you would look at it, maybe walk around it,
   25 fine.                                        10;18:43                           12s maybe pace 1t a little bit and give me an answer,         10:20:1~
                                                                            Page 14                                                                  Pl\•e 16 l
                                                                                                                              ------1
                 Do you under.;ta.nd th3t?                                                 I that would be an estimate.
    2      /1.    Yes-                                                                     2       Do you understand?
    3      Q      Okay. lfyou do COTJUTlit lite penalty q(                                 3     A    Yes.
    4 perjury. you could be assured l ,.;11 be filing a                              Q An estimate is based on personal knowledge,
                                                                                           4
    :5   moli!)(l to have you p11nisbed a.n ,ome form or.another. IO: 18:50      S okay?                                10:20:21
    6           Do you understand?                                              6        Do you undel'$tal\d?
    7           MR. BRAND: Objection: a.!'gUmen1a1ive.                           7 A Yes.
    8          MR. BILLER: That's giving a witneu due                            8 Q If you don't undcrsiand my questions, if
    9    proceu notice, Counsel.                                            \ 9 they're vague, ambiguous, unintelligible, you've got
   JO       Q Do you undcrslartd?                     I0:19:00                 IO to tell me, okay?                         I0:20:29
   II       A Yes.                                                             ll    A Yes.
   12
   13
            Q Okay., Only one person can speak at a lime;
         not both of Us.
                                                                                      I
                                                                               12 Q If you don't tell me, it will be assumed
                                                                               13 you understand, okay?
   14           Do you understand?                                          1 14 A Yes.
   15       A Yes.                             10:19:06                        I S Q This momlC\g you've hea.r d a couple             10:20:36
   16       Q I'm going 10 ask my ques1ions. When I                            16 objections. Lat your lawyer make his objections.
   17    finish my quwion, yQII give me an answer.                          1 17 and ·• and then you can answer the question, or you
   18           Do you undersWld?                                              18 can have lne question rephrased, or you can have the
   19       A Yes                                                              19 question read back; whatever you want.
   20       Q I will work my be$1 no11oaslc you ano1ller 10:19:14           120          Do you \lf\derstand?                  10:20:52
   21    quescion dll you fimsh your answer,                                  2. I   A Yes.
   12           Do you unders1&r1d?                                         122 Q Okay. Al the eiid of these proceedmgs you
   23       A Yes.                                                            23 will be given •· you'll receive a transcript.
   24       Q Do yoa luiow why tha1 rule exists?                              24      !  Arc you going to get 1t?
   25       /1. No.                            10:19:2.3                    ' 2S
                                                                            Page 15
                                                                                         MR. BRAND. Yes.                        ,0.2, :02
                                                                                                                                                    Page 1-r
                                                                                                                                                               l
                                                                                                                                    S (Pages 14 - 17)
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               MR. BILLER: Okay. Is he going to - 1s Ile                     I BY MR. BILLER:
        2 going to n:vu:w 1t at your office?                                2 Q Rave you .seen this document before?
        3      MR. BRAND: Yeah.                                              3  A Yes.
        4      MR. BILLER: And you'll send it back lo me?                    4  Q Okay. Have you n:ad il?
        5      MR. BRAND: Yes.                           10:21!10            5  A Yes.                              10:23: 13
        6      MR. BILLER: Okay                                             6   Q After you ru.d ii. what,did you do?
        7 Q The transcnpt :will be sent 10 your                              7 A I staned gathering the information.
        8 counsel's office and your cou,nsel will •· will then              8 Q Okay. Lei's - let's back.·up for a second.
        9 make it available to have - for you to review it,                 9      Who have you 1alked to, other than your
       10 to make 1111y change~,: if you d~m necessary
       11
       12
               Do you understand?
              A Yes.
                                                                             j
                                                                I 0: 21; 1 IO counsel, regarding this deposition before today? 10:23:29
                                                                           I I A My counsel, and Ltalked 10 Richard Peddie
                                                                                12 as weir
       13     Q    in othc:1" words, it's the tlllnscript that             13     Q Anybody elscJ
       14detemunes what your testimony 1s. However. if you                 14 A Mywife.
      15 make a senous change or sigrufica,nt change or a        10:21 :26 ls Q How about Stephen Cho,,                     10 23 44
      16 inateriill change to your testimony, l will be able to            16 A No. I ,liave not tal_lced 10 Stephen Choi about
      17 and I w1 II comment on that material change: illld BTgUe          17. this.
      18 to the: jury that you shouldn't be believed.                      18 Q How about Roger Kuo?
      19        Do you understand?                                         19 A I did talk to Ro~cr Kuo that I g9t
      20 A Yes.                                  10:2 1:40                 20 subpoenaed.                            10,23:$3
      21 Q And it's very important that you give your                      21 Q Okay. And how abou1Jtnc Parle'!
      22 most honest testimony here today ~ausc when you                   22 A No.
      23 don't give me honest testimony, I'm not going to be               23 Q How about David Schmdc:t?
      24 able to ask the qu~tions thai I would have asked if             ) 24 A No.                                                  ~
      25 you gave honest testimony.                      10:21 :52         2S Q What,wJ1S your conversanon w,lh Richard 10:23 59
                                              _ _____            Pase 18                          _ __ _ _ __ _ _ · 'Page 20
                  Do you understand?                                           I Peddie?
        2     A Yes.                                                           2       MR. BRAND Objecuon, attomcy-chcnt
         3 Q Okay? So It's not only for the,                                  3 pnv,lege.
         4 credibili •· your own personal credibility in front                4        MR. BILLER No, he's not a member .Ho's
         5 of the Jury, rt's also you're denying me the f.act to 10, 22:0I 5 not a member ofTW. He's nothing ofTW, okay?                  10.24:07
         ? ask you que.~tions·abouLyout most accurate                         6        MR BRAND ln~ructthe w11ncss not to
         7 testimony,                                                         7 answer
         8        Do you under.stand?                                         8        MR. BILl.,ER; He's not a•· lay lhc:-
         9 A Yes.                                                             9 foundation, please. ~Y the foundahon t ~ he 1s
       lo Q Okay, Exhiltit 1 and fahibit 2 have been 10:22:07 10 connected .w1thTW,                                          1024:18
       11 marked.for.identification.                                         II        MR. BRAND He was a member of'TW
       12        (Ex,hibl1 I and Exhibit 2 were marked for                   12       MR.. BLLLER: Hewas.amember Hc'snot
       13         identification by the court reporter.)                     l3 anymore.
      14 BY MR. BILLER:                                                     14        MR. BRAND: Okay But-at ihe-time ofthe
       t 5 Q Exh1b1t I 1s your deposition subpoena              10:22:16 15 communications •·                               I0'.24,:25
       16 with - and Exhibit 2 1s the depos1s - deposition                  16        MR. BILLllR: I said before this deposlllon
       I 7 subpoena regarding LaunchPad Commun1cahons.                       J1       MR. BRAND. It relates •· the conversatJon
       18        MR. BRAND: Objection; misstates the                        18 rela\cs bac~ to an attorney-client relat1onsh1p
      19 eithib1ts. This is a subpoena to appear and t.estify               19        MR .BILLER: ·Are you saymg- ljust want
      20 a~ a hearing or a trial, not a deposition subpoena. I0:22:33 20 to hear your•· hear your posuion.                      10-24.36
      21         MR. BILLER; Okay.                                          21        Are you mvolong the altomcy-che(li
      22 Q Can you look through the - can you look                          22 privilcse today because his CUITCIII c~v=ation
      23 through the list of documents ,n, Exhibit ~o. 1,                   23 with Richan! Peddie relates 10 a conv=auon he had,
      24 please.                                                            24 wilh Rithanl Peddie when he~ a member ofTW? Is
      25         (Wihless complies.)                    I0:22:59,
  l                                         -----~----,._____     Page 19
                                                                          r
                                                                            2 S that your - is that your argument?
                                                                                                                    _ ________   10,24.48
                                                                                                                                                  21
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   Ii          MR. BRAND: Thal is corcec1.                                  I As an individual?
      2     MR. BILLER: Okay. We11 bring that up.                        2       A r - I dOfl't understand your question.
      l   Q What conversation did you have with - wiih                     3 Q Okay. Is Richard Peddie. rq,resc:nl -
     4 RogccKuo7                                                           4 you've been named in the federal action, correct?
     S    A Just I gal $ U ~.                      10:25:00                 S A l believe so.                          10:27:10
     6    Q Thnt's it'?                                                    6 Q Okay. Have you seen the federal complaint?
     7 A Yeah.                                                              7 A No, J have not.
          Q You didJJ~ say anything else?                                  8 Q Okay. Let me - I sent your cli -- lawyer
   I:     A Oh, we 1alkcd about trying to find c:oum,tl.                    9 a revised first amended federal complaint. Have you
   10 Q Anything else?                          10:2S: IS                 10 seen that?                              10:27:20
    II A I guess ta ()(cd about legal costs.                              11     A [ -· l don't thinl:.so. I - I haven't seen
   12 Q Anything else?                                                    12 it.
   13 A No1 1ha1 I an rem<:mbel" That's all I can                         13 Q Okay. I'll gc:t ii out. You've been named
   14 rcc:all.                                                            14 the: defendant in a federal U.S. RICO Act case as an
    IS Q Oby And when did this conversa11on take 10 25:42                 15 mdiv1duat, not as TW.                         I 0:27:39
   16 place?                                                              16        Do yo.u u.ndersta.nd that?
   17 A Probably- agam. I - I don' t remember                             17 A Yes.
   18 exactly. but probably s.o-mewhere between a day to two-             18     Q So 1s Ric.hard representing you as part of
   19 da~ a~r Around then:.                                               19 TW, or as pan of - as an individual?
   20     Q A day or two days aftet: what?             t0:25:5"           20 A As - again, I believe he's representing us 10:27:54
   21 A I g01 th.e documents.                                             2 I or we're in the process of deciding if he's
   22 Q And what did you guys tallc about u1 terms                        22 representing U$ as an individual.
   2l of legal c:osl5"                                                    23 Q Okay. As individuals?
   24 A L1ke what - I mcan, jwt t.alkcd about how                         24 A Yes.
  I
   r
   is it's going 10 cost ffl(m~, We didn't spec1fy or - 10:26, 15


      I obviously [ didn't know what !he legal costs would
                                                                 Page 22
                                                                         125 Q So be h.asn't •• he hasn't •· he hasn't

                                                                          I lalcen any steps to represent you in a capacity for
                                                                                                                                10:28:04
                                                                                                                                     Page 24


      2 be at that time.                                                 2 TW?
      3    Q    Okay. Did you 1-alk about sharing cou -                  3 A l don't know
      4 counsel?                                                         A Q Okay. All right
     S A No, not al that lime.                     10:26:26           S        Other than legal cosis, the subpocina, did I 0:28:20
     6   Q Arc you sharing counsel?                                   6 you guys tall: about documents that were requested?
     7 A No-                                                          7        MR. BRAND, Objection: am ·· ambiguous.
     8 Q Okay.                                                        8 BY MR. s·tLLER:
     9 A - not right now.                                             9 Q Did you talk about the documents tha1 were
   10 Q Do you know ifhe has counsel?                    10:26:33    l0 requt!Sted for productton in the subpoena?           10:28:37
   II    A Well. in regards to what? I guess -~                      11        MR. BRAND. Ambiguous. Talked lo whom?
   12 Q In regards lo the: fedml lawsuit for RICO                    12        MR. "BILLER. I'm sony. Roger Kuo. Good
   J 3 violations in regard - in - in federal court.                 J3 objection.
   14    A Oh, okay. Okay. If that's your                            14        THE WITNESS: No,
   15 question - I thought this was relate4 to the       I 0:26:44   15 BY MR. BILLER:                                 10:28:46
   16 bankruptcy proceeding, so...                                   16 Q Do you n:member any other conversauon you
   17        No. Our cowiseJ is Richard Peddie.                      17 had with him?
   18 Q Ric.hard Peddie is representing you in the                   18 A No.
   19 federal action?                                               119 Q So you talked lo h,m only once, two or
   20 A I believe so.                           10:26:53             20 thrc:e days after you received the subpoena, is that 10:28:si
   2 I Q In what capacity?                                           21 rigbt?
   22 A As our attorney.                                             22 A No. I talked to him ,. let me see. I
   23        MR. BRAND: Objection: vague.                            23 mean. [ talked to him other times but not about the:
   24 BY MR. BILLER;                                                 24 subpoena. And then yesterday r talked to him for a
   2S Q Okay. As your attorney in what capacity? I 0:26:S 25 short period, just to--· just asking when the                 10:29: 14
  l__ _ ___ _ ___ _ _                                        Pagc2l            _ __ _ _ _ _ _                 _ _ __           r.gc 25 f
                                                                                                                    7 (Pages 22 - 25)
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    I· subpoe - when - when the -- when I was going to                             I BY MR. BILLER:
    2 have the deposition. So I told him it'd be today.                            2    Q You ean answer the question.
    3    Q When did you and Roger lalk about John -                                3    A I don't uoder.;tand your question.
    4 Peddie - Richard Peddie rcpc=iting you and - and                             4    Q    Okay. When Richard - did Rie~ eaU you
    S Roger?                                l0:29:33                               5 and 1alk lo you?                            10 31 19
    6        MR. BRAND: Objection; attomey-client                                  6        MR. BRAND: ObJectio,n, attomey-chen1
    7 privilege, ouisidc the -- the ~ope of relevant                               7 privilege. lnsuuct thc-witn~ not to anJwcr
    8 testimony, It's nOl-proportional. We're dealing                              8 BY MR. BILLER:
    9 today with a bankruptcy case regarding PDTW and -                            9    Q Did Rie~ actually talk to you'! Did
   !0        MR. BILLE:R: You're nOI supposed to ma,ke-a 10:29:51                 IO Richard actually talk to you about repn:senllng ygu IO' 31.33
   11 spcnlcing objection, right?                                                 11 .in \he .federal action?
   12        MR. BRAND: Okay.                                                     12    A    Yes.
   13        MR. BILLER: Are you instructing him not to                           13    Q Okay. When was that conve,-salion?
   14 answer?                                                                     14    A I don't recall. I think - I'm aucssini·
   15        MR. BRANO: Then I instruct him not lo            I0':29:58           15 sometime after the - the - the - whenever the              10:31:47
   16 1111swcr the question.                                                      16 11Ction was filed.
   !'7       MR, BILLER: You're insrructing him not ro                            17        He told - he iold w; •• I mcai:i, I guc:as he
   J8 answer the question what convcnation he had with a                          18 didn'I tell w;. It was through an oama,1 lhal this
   19 non.lawyer, ltoger Kl'O, regarding any ~rescntation                         19 action was filed. And so he was representing 11S m
   20 by Richard Peddie?                          I 0:30:06                       20 defending or dealing with lhe - the liugation.         10:32.08
   21        MR. BRAND:• Objection.. 11 was already                               21    Q    How did he become the •· lhc attorney for
  I 22 aued and answerQCI.                                                        22 TW?
   23        MR. BILLER:. No, it ~n•t.
                                                                                 123    A    I don't knQW.
   24    Q Answer that qucsuon                                                    24    Q Well, !lid you vote to have him become the
   25        MR. BRAND' I'll allow you to answer that         1.0.-30. 13       25 attorney for TW?                                I 0;32. 20
                                                                        Page 26                                                                        Pnge28

    1 !1Ueslion. Go ahead.                                                               A I'm not sure 1fit was a di,scussfon that -
    2        THE WIWESS: So repeat the·qucstion,agllin.                             2 that thete was counsel that was going to be involved
    3        MR. BILLER: Read bad: the.question,                                    3 in representing TW, And, again, I think this 1s
    4 please.                                                                       4 related to the original action that happened with.·-
    S        (The question was read as follows:         10 :30:lJ                   5 in the first lawsuit, l thmk.               I 0':32:4$
    6        "Q    When djd you and ~ogcr talk                                      6 Q With Paola?
    7        about Ric.hard Peddie ~presenting                                      7    A Yeah.
    8        you.and Rogel'?")                                                      8 Q Okay. rm ll5kmg you -~
    9        THE WITNESS: I - I did not specifically                                9 A Uh-hmm.
   10 talk to Roge( abourhim rcprescntilli us. It was         10:30 :36           IO Q - to d~ribe how Richard Peddie became I 0;32:5
   11 jw.t kind of -- Richard was the- one- who was handling                      11 TW's attorney.
   12 the - the - the litigation, and he was the one who                          12         MR. BRAND: Objection. Asked and answered.
   13 wa.s giving us information as· to what was going on.                        13 BY MR. BILLEcR:
   14 BY MR. BILLER:                                                              I.If Q You can answer.
   15    Q      And w~y was he giving you information as 10 10:30:54              IS A 1- l don'trecall.                       I 0:32:58
   16 what was goin1 on?                                                          16 Q Okay. Did you cast a vote?
   17      MR. BRAND: Objection, calls for                                        17 A There was, I believe, a meeting, and there
   18 speculation.                                                                18 might ha.ve been a discussion. about Richard
   I?        THE WITNESS I said ''why" Why. not what                              19 representing Us. And I think there was agreement
   20 Why                                   10,31:04                              20 that he would represent us.                     10:33; 14
   21        MR BRAND ll sllll <:alls for spcculat1on.                            2 I Q Okay. When did that meeting tBlce place?
   22 BY MR. BILLER.                                                              22     A I don't recall
   23    Q Dtd you have an interen m recc1vmg that                                23 Q Okay. Was there - were there minu~s
   24 1nfomJa!ion?                                                                24 taken of ihat meeting?
   25      MR. BRAND ObJirx;t1on. \/ague                  10'.3 I 10              25 A I bcheve there 1s something lhat- that 10:33:23
                                                                       Page V.                                                                         PaJc 29

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     I says that, but I don't remember.                                        I     Q    Did you lcnow that?
    2    .Q Okay. Did you produce ii'/                                        2      A I don't tnow.
    J    A I believe there's ll document that says                            3      Q    Okay. Does any ofthat matter lo you?
    4 $0mcthing al>ou1 him being io that role.                                4          MR , BRAND, Objection; vag1,1e. Objection;
    S    Q Okay. Did you see that document'!           10:33:33               S argumentative.                             10:35:08
    6    A I do believe I saw a document --                                   6 BY MR, BILLER:
    1    Q Oby.                                                               7      Q Does-itmancr 10 you that,lhc laW;Y« for
    8    A    -- that&1id that                                                8 lhc coml)8fly that you claim to have some type of
  I9     Q    So when I go through thOS'e documents that                      9 ownership inrerest thro.ugh anothef dummy corporaliQn
   10 you produced, which was one --1 gtless one Bekins       10:33:41       IO has had this long~sJanding personal and professional I0:35: 16
   11 size box, and that's about -                                           11 relationship with the lawyer lha(s supp<>sedly
   12        MR. BRAND: Th='s 400 •• 4.008 pages                             12 ~resenting TW and Jene Parle and yo1111iClf?
   13 produced                                                               I3     Does that bother you?
   14        MR. BILLER: Okay, All right.                                    14          MR. BRAND: Objection; vague. Objccrion;
   15    Q Who's been paying ltis legal fee; do you        10:33:52          IS    argumi:ntative.                         10:35:32
   16 know?                                                                  16 BY MR. BILLER:
   17    A    I have no i dea.                                               17      Q    You can answer the question.
   (8    Q ~ay. Who else i~ he representing?                                 18          MR. BRANO; Instruct the witness not 10
   19    A    I don't tnow.                                                  19 answer.
   20    Q    Do you know that TW'$ being sued sq,arately 10:3.4:00          20          MR. BILLER: You can't insrruct the witness 10:3!:37
   21 and apart from you=lf in the federal action?                           21 not 10 answer on those objections. The only basis
   22    A I don't know.                                                     22 upon which you. can instruct lhe witncs.s nol to ,
   23 Q Okay. Do you know llljlat his l't'laliqnship                         23 answer is on privilege.
   24 with Jene Pan: is?                                                     24          MR BRANO: And 'on inv115ion of privacy:
   25    A Whose-l't'la1L\111Sh1p?               10,34 14                    25          MR. BILLER What privacy am I invading,           IO 35 47
                                                                                                                                               Page32

        Q Richard ·Peddie's relationship with Jene                            I Counsel?
    2 Park.                                                                   2       MR. BRAND: You're.invading his privacy
    3        MR. BRAND: Objection; vague.                                     3 with regards 10 his former business relationships
    4        THE WITNESS: I don't know.                                       4 that have nothing to do with the subject maner of
    5 BY MR. BILLER:                       10:34:2-2                          5 this ca.SC.                        10:35:H
    6 Q Do you know they've had a romaptic                                    6       MR. BILLER: Of course, it do.cs. It 1w 10
    7 n:la.tionship?                                                          7 do with whether Richard Peddie is legally able to
    8    A I do not know.                                                     8 reprcscnr both Mr. Lee and TW.
    9    Q Do you know that they've had a business                            9          My clic:nl still Own$ pan -acJUally,,she
   IO relationship?                       I 0:34:29                          10 owru, m0<e \hnn him. She owns moR: ofTW than                I0:'36:Q9
   11    A I do.not .know.                                                  I 11 Mr. lee; okay?
   12   Q Do you know !hat he acrually represented                            12      MR BRAND: I would object.that, you know.
   13 her in 'separate •· separate legal matten?.                            13 there'~ --
   14   A I do not know.                                                     14          MR. BILLER: Okay, ~you ••
   15 Q Did anybody tell you any of that?         10:34:37                   IS          MR BRANO: - no question pending.             10:36: 16
   16    A No,                                                               16          MR. BILLER - instructing him not to -
   17    Q Okay Do you know that she was -- she                              17 arc you mslnl<:ung him not 10 answer the last
   18 actually had to disqualif •• R1thard Peddie had .t o                   18 qilcsllon?
   19 disquahfy h1inselfm the U.S ~ankruptcy Court                           19          MR. BRAND• That's ~on-eel
   20 because of the conflict of interest that he had      I0:34.!5 I        20          MR. BILLER Okay                       10:36 22
   21 representing TW and her?                                               21          MR. BRANO: And I •• I'd hke to move on lo
   22      Did you know that?                                                2.2 questions having 10 do with PDTW and the bankruptcy
   23      MR. BRAND: Objection; calls for a legal                           23 case.
   Z4 opinion.                                                               24          l\,!R BJLLER Counsel, don't cell me how 10
  125 BY MR. BILLER:                                  J0:34:59               25 take my; ciuunination.                        ro 36:29
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         I     MR. BRAND: Okay.                                         i exhibit.
         .2    MR. BILLER: Don1t try and control me.                   2        (Exhibit 3 \!,'.as.marked for identification
      3        MR. BRANO: I -- I -- I understand that,                 3         by the court reporter.)
      4'       MR. BrtLER: Okay'?                                      4        MR. BrtLER: And let's.go ahead and prepare·
      5        MR. BRAND:. However -                     10:36:31      S (sic) as Exhibit No. 4 what is cnt'itled "Privilege 10:38:25
      6       MR. BILLER: I have a right --1 have every                6 Log." Exhibit No. 3 a!ld Exhibit No. 4 were produced
      7 right to take ·my examination th~ way J want. so               7 thfs morning.
      8 don't volun - stop making silly objections that                8       (Exhibit 4 was marked for 1den1i£icatio~
      9 don't hold water, and stop instructing the witness             9         by the court reporter.)
     IO not to answer the question, 'cause this is going up 10:36:43 10 BYMR. BILLER:                                      10:38:42,
     11 on a motion. You and I \Ire going to be sitting next          11    Q Did you prepare Exhibit No. 4?
    12 week down together preparing ;1joint'stipulatfon -             12 A No.
    13        MR. BRANO: That is correct                             13 Q Your counsel prepared it?
    14        MR. BrtLER: -- and we're going to go up,,              14     A Yes.
     I5 okay? So let's move on,                      I0:36:52        IS Q Okay. And you didn't prepare Exhibit                    10:38:51
    16        MR, BRAND! Okay.                                       16 No, 3, obviously, nght?
    17        MR. BILLER: Let's go through the documents             17     A Yes -
    18 now.                                                          18 Q Okay.
    r9        MR. BRAND: Okay.                                       19 A -- I did not prepare it.
    20 BY MR. BILLER:                                10:36:55        20 Q So let's go .t o Cate_gory No. 2.                  10:38:59
    21    Q Do you have the list of documents in front               2L        How many •· did you produce any documents
    22 ofyou?                                                        22 regarding C11tegory No. 2?
    23 A Yes.                                                        23 A Yes.
    24 Q Categozy I. Did you produce any documtjlis                  24 Q Did you prodU<:e a retainer fee agrce1J1ent of
    25 in Category l?                            10:37:01            25 Richard Peddie'>                               I 0:39: 13
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                                                                                                                                                   i
      I       A    Yes.                                                                 A No.
     2        Q What kind of dO(UIDcnts?                                            2   Q "No." Do you have that?
     J        A    Documents thllt•w~ related lo people you
     4 didn't list below -                                                         34   AN~
                                                                                        Q Let me ask you: Is it safe to say that you
     S        Q Oby.                            10:37: lll                         5 either produc~ the documents identified in th.is     10:39:3
     6-       A - that wt:1c J)lll1 ofTW, so other people                          6 subpoena or, if they we.re called for and you didn't
     7 who - !hat· I hiul. I guess. some form of                                   7 produce them, they're on the log?
     8 communication with that was not stated below that                           8        ls that a reasonable position to take?
     . wen: pan ofTW.
     9                                                                             9        MR. BRAND,; Objection; ambiguous.
    10        Q Okay. Richard Peddie included1               IO•J7:24             10        MR. BILLER: Okay. 1:11 go through each         l0!39:4B
    II        A No,                                                               11 one.
    12   Q You didn't produce: any Richard Peddie                                 12 Q Arc any of the documents that you produced
    13 dO(uments?                                                                 13 in response to No. 2 in the exhibit log? I mean the
    14        A    No                                                             14 privilege log.
    IS        Q Do you have any Richard Peddie documents?         (0:37;3 I       15 A I don't know.                          I 0:39:57
    16        A Some. A few. Not that many, l,ul yes.                             16 Q Okay. How about 3?
    I7        Q Okay. Did you prcptre a privifege log?                            17 A I don't believe I produced any documents
    [8          MR BRAND; t4e di<,!                                               18 there.
    19            MR. BILLER· Is Iha! one ofdtedocumen~                           19 Q Whynot?
    20 you produced'!                              10:31:47                       20 A I just -- I didn't - I didn't have -- I l 0:40: I0
    21            MR. 13RAND: Y~.                                                 21 didn't have any of the infonnation.
    22            MR. BILLER: Let's go ahead ""d mane as                          22 Q Where was the lnforrnation?
    23 Exhibit No. J for idcntlficallon the belated                               23 A I mean, I just -- I -- I don't remember
    24 objections of Douglas Lee.                                                 24 y,-hat those costs and expenses were.
    25            MR. BRAND: Objection: mischancrcrize.s the 10:38;08
                                                                        Page 35
                                                                                  25 Q Well, can you estim.ate1                10:40:23             j
                                                                                                                                           Pagd7

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    r:-
     J       A Um. no, not really. I mean, l~'s travel                                                 THE WITNESS: So R:peal the question.
         2 costs. I just- yeah. I d0J1'I know.                                               2 BY MR. BILLER:
         J      Q Well. did you pay fonhese cost$ on a                                       3     Q    Yeah. Did you find any document$ !hat
         4 credit c.ud?                                                                      4   would be 1:1:sponsive lo No. 6 that you did not
         S      A I don't recall. l me-an, some of it -          10:40:JS                    S produce?                                 I0:42:47
         6      Q Is it mon: than a hundred, less than a                                     6     A    No, I believe - 1 don't believe so.
         7 hu11dral thousand?                                                                7     Q    Okay. How about No. 7? Did you find any
         8      A      Oh, it's less lhan a hundred thousand.                                8 documents that were rcsponsivc-io No. 7?
      9         Q Okay. More llian S,000?                                                    9     A    Yes.
     10         A ~don't know.                          10:40:47                         10   Q Alid you produced some of those d()(;umcnl$ on 10:43:01
     11         Q      W09ld these be reflecied on your tu;                             l I the log, correct?
     12 re1Ums?                                                                         12    A I don'r widerstmid the .question.
     13         A      No.                                                              13         Q    Dtd you produce all the commwiications
     14         Q So they were not business-related costs.?                             14 between you nnd S1ephen Choi?
     15         A They were business reJated. I just didn't 10:40:54                    15         A Which question are we talking aboul1            10:43: l9
     I6 track 'em.                                                                      16         Q    We'retalkingaboutNo. 7. Oidyoupr~
     17         Q     Do you use·&travel agent?                                         17 all documents regarding any communicatio~ ydU had
     18         A     No                                                                18 w1rh Stephen Ch<>i?
     19        Q Olcay. No. 4, did you produce all th05ec                               19         A That's not what !he question says, the




                                                                                                                                                                  J
    20 documents? Ct dl<l you produce d()(;UltiCnts responsive 10•41.08                 20 document request-says.                             10:43:34
    21 10 No. 4?                                                                        21         Q   It says regan:ling any con - l 'm SQrty.
    22          A     Ye1                                                               22 Any compensation you received in coon~lion l'lith the
    23          Q How about No. 5? Did y01.1 produce documents                          23 investment.
               sponsivetoNo. S?                                                         24 A Yer..
                A.    Yes._ _ _ _ _ _ ___ 10.4_1_·
                                                .2_s _ _ _ _ _ _ _                      2S        Q And tilatcompen:;ation,was?"                   10:43·43
                                                                              ~~ .                                               - - -- - - ---                ~40
               Q Whal kind of documents?                                                          A.   I received -mtcrest m TW and a few mondis
     2         A This would be documents regarding the                                   2 of consulting fees
     3 opernting agreement, like information regardini; the                              J        Q Didn't you get SS0.000?
     4 operat.ing eg~rnent.and how we -             now I have a                         4        A    Repeat the-que~tioo.
     S membership interest in TW.                               10;41 :46,               S     Q Didn't you gefSS0,000 to find Stephen Choi 10.44:11
     6'        Q Who p,q,urcd the o~rating agn:emcnt?                                    6 11S an investor?
     7         A 1- i'm not sure.                                                        7        A    No.
     8    Q You're talking about the original operating                                  8        Q    You're nOl •· ate you famUiac with the
     9 aglccment, the illllCndcd operating ag-rcw:men1, the                              9 binding term agreem~1?
    10 resta1ed amended operating agreement? Which one~ 10:42:01                       10         A.   Yes.                           10;·44:21
    11       you tallcing about?                                                       11         Q    ~n't you supposed to get some
    1.2 A I don't know that the ~ so I'm not sure                                      I 2 compensation for that?
    13 what you're as)(ing.                                                            13         A    Yeah-no. We -- wcm:cived-wehada
    14         Q Well, what·-· do you have a copy oftbc •·                             14 consulting agreement where we had monthly consulting
    I 5 did you produce a copy of the operating agreement?               I0:42': 09    IS -fees to provide services, and we received, I             10:44:33
    16         A.     I believe SQ, yes.                                               16 believe, Si8,000.
    17         Q      Oby. How about No. 6'! Did you produce                           17         Q    When you say "we," who's we'?
    18 any documents -responsive to No. 6?                                             18         A    Oh, 1 - 1 n:ceivcdSl8,000.
    19         A.     Yes.                                                             19         Q    Was that pan of a business that you had,
    20         Q      Did you produce any doc - did you fail to 10:42!19·              20 or was ii just you pcnonally?                       I0,44-46
    21 pn;>du\:,e any docllments !hat would be-responsive to_                          21         A Jt was mcperwnally and IIWU JW1ofahe
    22 No. 6?                                                                          22 term - the binding 1eon agreement.
    23               MR. BRAND: Objec1ipn; calls (or a legal                           .23  Q Okay. W.ell, the nexr qucsuon asks for
    24 opinion.                                                                        24 documents n:ga,-dmg the binding term agrecnent Did
    2S               MR BILLER Oby.                         10 42·36                   2S you receive compensa11on pw:suant ~o that ·agrcemcni7 I0:45:03
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      I And the answer would be "Yes"?                                             I regarding commumcattonsbetween you and Stephen
     2      A Ycs, as I staled before:.                                            2 Choi?
     3      Q 18,000?                                                              )     MR. BRAND: Objection; asked and answered.
     4      A Yes.                                                                 4     TIIE WITNESS: No.
     .S     Q Okay, Do you have any documenu? Did you I0:45: 11                    S BY MR. BILLER:                       10:47~13
     6 produce the doc11ments on that?                                             6   Q What documents are you w1thholdmg?
     7      A I produced a document showing that we                                7   A StufTthlit's -· that might be social,
     8 received those statements. It has a !isl of the                             8 documents that arc •· may be relatccUo other
     9. days and when it-was deJ):Osited.                                          9 business -- 'business that's unrelated to Thomas
    10    Q Okay.                                 10:45:26                        10 Wylde.                                10:47:40
    11    A It's a •· it's in an co-,mail,                                      1 11 Q Anything else?
    12      Q Do you have any - did you produce any                               12 A I believe those are- yeah, I believe
    13 documents related to communications with Paula                             13 those.are the documents.
    14 Thomas?                                                                    14 Q Okay. W~anyofthosedocurnents related
    I.S     A Yes.                               J0:4.S:37                        IS to HiJlshore Investment?                    10'.47'.55
    I6      Q    Did you produce all those doellmenu1                             16 A Ldo not believe •· I believe -- I don't
    17      A Yes, i believe so.                                                  17 believe they were related to Hillshore Investment.
    .18     Q    So you d1dn'tw11hhold any?                                       18 Q Hillshore is a dummy co1:pOrat1on, correct?
    19      A Ari: you askmg 1fil was w1t.hbcld under the                         19       MR. BRAND: Objection, vague.
    20 pnv1lege log?                               10:45:51                      20 BY MR. BILLER:                                I0:48:08
    21   Q No, l'.m just asking if it was withheld. It                           21 Q You can answer.
    22 could be held with the privilege log or it could be                       22 A I do- llo, I do not believe it's a dummy
    23 held without the pnvilege log I don't care Was                            23 corporat.ion.
    24    11 withheld?   Then I'll ask - then I'll ask you why                   24 Q Well, what- on what bel •· on what basts
    25 11 was -withheld.                            10:46:01                     2.S do you·bclieve 1t's not a dummy corporation?         10:48; 1
                                                                                                                                                       Page44

                Were there any communications between you                          I        MR. BRAND~ Objection; vague.
     2 and Paul Thomas withheld?                                                   2 BY MR. BILLER:
     3      A No.                                                                  3 Q Please ellplain.
     4      Q So everything ,you had regarding that issue                          4    A    I don't understand what - the definition
     5 w~ produced?                                  I0:46: 1-2                    .S of why you would tlrinl: it's a dummy corporation.         I0:48:25
     6  A Yes, I believe so.                                                       6    Q    Then why did yoq ~I, the - why did you
     7      Q How about communication with Stephen Choi?                           7 answer the question do you think it's a dun,my -
     8 Did you produce all those documents'!                                       8 it's not •· do you think it's a dummy corporati,on?
     9      A   As it relates to TW,                                               9 You said "no," you don't tl)ink it's a dummy
    10      Q 'T hat's not what it•· the rcquc:$t demanded. 10:46:29              10 corporation.                                I0:48:38
    11 The request demanded communication with Stephco                            11        Did you understand the.first question and
    12 Choi.. You didn't produce all those docwncnts, did                         12 ·then just not understand the second question because::
    13 you?                                                                       13 you didn't want to ans~ it•?
    !4      A I produeed the documents rclalcd with                               14        MR. BRAND: Objection; argumentative.
    15 Stephen Choi related lo commumQlttons with - that I0.46:48                 15 BY MR. BILLER:                                   10:48:46
    16 had to dw with Thomas Wylde -                                              16   Q Okay. So, please, tell me. do you know
    17      Q Okay.                                                               17 what a dummy corporation is, "yes" or "no"?
    18      A    -andPDTW.                                                        18    A Well, I nte4you 10 explain whaiyou ••
    19      Q 1'1.1 say it again,                                                 19 Q No, I don't. li's common k.nowlcdge.
    20      A Uh-hmm                                10.46-57                     20      MR BRAND: Objection -                          10:48:55
    21      Q And lry and hsten th&.< i1me                                       21 B)' MR. BILL.ER:
    22      A Okay.                                                              22    Q    You have a tax -
    23          MR BRAND Object1Qfl, ;u-gumentahvc:                              23         MR. BRANP: - argumentative.
    24 BY MR BILLER                                                              24 BY MR. BILLER:
    25      Q Did you produee ~I of the documents                 10 47-03        2S   Q     Yo.u have t   ta)! -   intcma~1onal 1ax degree 10:48 59
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            I li'om Damnoulh. You hive a UCLA law deg~- I                                         Q Do you know ,f 11 hos any c11~?
         2c think you know what a dummy corporation is, sir.                               2      A I do not know.
         3          MR. BRAND: Is there II questioo pend mg?                               3      Q Do you know 1f11 has d~iril>uaon
         4 BY MR BILLE~                                                                    4 co111racts or other conn-acts with third pnrt1cs?
         5      Q   So do you knowwbal a dummy corponitJon_is? 10,49:07                    5 A I do not know                             10.50:54
         6          MR_ BRAND Objecuon, asked .tnd allS'wered                              6      Q Okay Who owns Hilbhon:?-
         1      Tt;E Wl'TNl:SS. I .don't know what your                                    7      A I'm-• I am-nouure
         8 dcfmlli.o n of -                                                                8      Q Okay Who do you thmk owns Htllshore7
         9 BY MR. BILLER:-                                                                 9      A I - Stephen Choi or -· and -- and - or
        10      Q Okay.                             10:49. 12                            10 Emluz.                                  IO· Sl:-26
        11      A   -· how you're defining dummy COflK)rati•o n.                         t I Q Do you know wh)' Stephen Cho, would say at
        12      Q Wltat 1s your·dcfinition?                                              12 his deposition he doesn't own Htll~hore?
        13      A   A corporation - a corporation that doesn't                           13           MR. BRAND: Objccuon: calls for
        14 kgallyexist.                                                                  14 spcculatioo.
        1-S     Q Okay. A!lything else? Any other               l0:49·28                 15           TliE WITNESS: l don'r know.                  10:SJ :34
        16 definition?                                                                   16 'BY MR BILLER:
        17      A No. I would say that's •· that would be my                             17       Q You •• you would - you would ~grec with me
        18 understanding ofwhat a dummy corporation JS                                   18 thar !hat testimony is inconsistcnl with what You
        19      Q Okay And do you believe H1l!shore                                      19 Just said, com:,ct?
       20 lnv,;stment 'legally cJtl$lS?                   I0;49.4 I                      20       A    Mmcwas~peculalion,so-•                    10:51:41
                                                                                     1
       21       A   Yes, ldo                                                             21       Q Oh, lha11k you. Everything you've said
       22       Q Oo what basis?                                                         22 about Hillshorc was spewlatJon, nght?
       23       A Based on lhc mformotion tho! was provided                              .!3,     A    Yeah, I don't know
       24     in the documcntal1on when   the deal was strucrured,                       24       Q Mo You don't know ifit was speculation?
       25       Q   What infonnat1on was provided in the·          10l49,S2        .2S                MR. BRAND ObJechon, 1ms - m1ssta1es his.. J0.5J,S5
                                                                           Page 46                                                                    Page 48

              documentation that was provided when the-deal wu                                  rwirnony.
         2 SIJ'Ucrured?                                                                   1 BY MR, BILLER
         3      A The mune or the corporation, where it was                               1. Q Do rou·know 1fevety1hrng you've satd was
        4 located.                                                                        4 speculation about Hillshore?
         S      Q So th.it's it?                     IO:S0:00                             5           MR. BRAND, ObJCCUon, argumentative.
        6       A   Yes.                                                                  ~           iHE'WITNESS Yes:
        7 Q You've neyer visited the offices of                                           7 BY MR. BILLER.
        8 Hillshore Insure -· Investment, co=t?                                           8  Q Okay.. Is it speculative?
        9       A   Yes, I have 001.                                                      9           MR. BRAND: ObJection -
       10       Q   Have: you ever purchased any products from        10:50~10           10 BYMR. BILLER:                                  10:52:09
       11 tt,al company?                                                                 11      Q Was it-
       12       A   No                                                                   12           MR BAAND: - asked and answered.
       13       Q   Have you ever pur •· made - has that                                 13 BY MR. BILLER:
       14 company ever provided you w11h any services?                                   14      Q Wu 1tspecul11ive?
       15       A   No                             1050' 18                              15           MR BRANO: Objection; V&Jlle.                  IO:S2: l4
       16      Q Do you know who the boards pf the member •·                             16           THE.WITNESS Yc5.
       17 members of the board are for that company?                                     17 BY MR, BILLER.
       18       A   No                                                                   18      Q Okay So merely bcca11SC Hillshorc'$ name
       19      Q    Do you k.now how many·c mploy~ they have''                           19 appears on a picc,: of p;i.pcr doesn't mean 11 exists,
       20      A    l'/o.                          IO;S0:25                              20 doci; il?                               10. 5123
       21      Q Oo you know if it pays taxes?                                           21      A Y,:s,
       22       A   No.                                                                  22      Q Okay. Did you sign an agreement to
       23   Q Do you know if it has any sources of                                       23 pur,;hase?
       24 income?                                                                        24           MR. BRAND ObJcction, vague
       _is      A   I do nor know.                     10:S0:32                          25           THE wrrnESS. I don't understand your            10:5242
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        I quution.                                                                         Q   ffow abourNo. 12?
       "2 BY· MR. BILLER:                                                            2     A   Yes.
       'l.   Q Did you sign an a~mct1t lo_pun:hase                                   3     Q Did you produce aU those documents?
        4 membership interest in TW?                                                 4     A As it relates to PDTW?
        S    A Yes.                               10:52:47                           5     Q Yes.                        10:54:56
       6     Q Wh~re is it?                                                          6     A So the -
       7     A    lt's ·in !he operating agreement.                                  7     Q No, no, no.
       8     Q No. it's nol I'm astiing for a separate                               8     I\ Yeah, so ••
       9 c1oc·wncnt that's entitled "A~ent 10 Purchase                               9 Q As related to TW.
       IO .Mcmb;cnhip lntctest in,TW." It's.a separate            10:53:03          10 A Okay. Documents relating to-· so I'm              10:55:06
    l l dQ,,:ument.                                                                 11 confused with.the request.
       12    A    lithcte's an exhibit which states what we                         12 Q Okay, Let me go through it, then,
       13 had to pay to have interest in T W,                                       IJ      And that's perfectly natural, by the way.
    .14      Q Oby. That's not aJ)llrchase agreement,                               14         We're on No. 12. right? Do you see that?
       IS ok4y? We'll act to ii.                      10:5): 18                     15     A   Uh-hmm. Uh-hmm.                          10:55:27
       16        Other than the operating agreement. you                            16     Q   "Doclltnents regarding communications with
       17 nev~ 5igned anything else, correct, regarding                             l7   Jene Park at TW between the 14th and the present
       18 puxchasc of membership inlctest? ls that right?                           18   time." Any communications.
       19    A I don't know,                                                        19      A So 1 did not produce all these.documents.
    20       Q Okay. So as you.sit here today on November 10:SJ:3.0                20       Q You did not produce them all. Why not?          10:55:
    21 2nd. 2018, you have no.idea if you signed any other                         21       A One is time frame. I did not produce
    22 docwnent other than the opcniting agreement to                              12    documents after -- starting in 2016.
    23 purchase any in.tcrcst in TW, correct?                                       23      Q Why in 2016?
    24       A 1- I don't -- I don't re,;all,                                       24      A B~usc thcn:'s·a --1 guc:ss there's a
    25       Q Okay. Allnght. Lct'sgooV'ertothe              105347                25    Court Order saying -- limiting the .scope of the    10:56:03
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      I next page.                                                                    I discovery.
     2        By the way, Counsel, on wh11t basis are you                             2 Q Okay. So you're - okay. Did you put
     3 withholding the Choi documents?                                                3 those on the privilege log?
     4        MR. BRAND: Which? Which?                                                4 A I don't know.
     S        MR. BILLER: No. 10.                    10:53:59                         S Q There's also a Court Order that says .that 10:56: 13
     6        MR. BRAND: J)n ~ basis of privacy.                                      6 discovery should go up to June 2016. Why didn't.you
     ?        MR. BILLER: Privacy. Okay. Yoµ know                                     7 produce docimients lip to June 20 16?
     8 there is no privacy interest with regard to                                    8. A l was not aware-of that.Court Order.
     9 businesses.. Do you realize that?                                              9 Q Were you - were you -- are you willing to
    10        MR. BRAND: We're --                     10:54:09                       10 produce - it's part of the same order. It's part 10:56.27
    11        MR. BILLER: Okay.                                                      11 or the same order.
    12        MR. BRAND: - not going to discuss the                                  12        Did you see the order7
    13 legal issues rigbl now.                                                       13 A I did not see the order. I was --
    14 BYMR. BILLER:                                                                 14    Q OkaY., That was counsel's decision,
    I5    Q No. I 1. Can you read No. II, the next        10:54:16                   15        Counsel, was that youi decision, lo limit I0:56:37
    16 page, please. Are you there?                                                  16 it?
    17 A Yes.                                                                        17        MR. BRAND: I'm not going to discuss the
    18 Q Okay. Did you produce all those documents?                                  18 conversations --
    19 'Oh, .did you produce the documents with - reflected                          19        MR, BILLER,, Okay.
    20 in No. 11?                              l0:54:25                              20        MR. BRAND: •. that I had with --          10;56:44
    2 1 A I don't recall. I'm not sure 1f·we.had any                                 21        MR. BILLER: We'll - I'll put that on the
    22 documents ofpotenual business transactions.                                 I 22 list of things to talk about.
    23    Q If you did have any such documents. would                                23        MR. BRAND: Sure,
    24 you have produced them?                                                       24    Q How about Meldy? Any i;onversallons w1lh
   I25    A Yes.                              10.54.42                               25 he-r, communications?                        10.56:53
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          A      Yes.                                                                  l      A N<>.
     2    Q      Did you produec all of them?                                         2       Q     Elcc1ronicaliy•Sto~d mformat1on. Do you
     3    A      Lirrulcd to the time frame                                           3 know what it is now?
     4    Q Okay, So there are documents you have not                                 4      MR. BRAND ObJccnon, argumentative
     S produced, nght?                              10.57;02                          .S BY MR. BILLER.                        10:58;29
     6   A I believe so,                                                              6   Q Do you know what elecb'Onicrdly-stored
     7    Q      Okay,                                                                7 infonnaiion is?
     8.   A I don'l know.                                                             8    A No. I don't understand what you're say;ng
     9    Q      Now, loo!(, I just want to J_ust bnefly                              9       Q You're the most educated man I have met in
    10 descnbe somelln.n g 10 y,;,u                        10 57:09                  10 my life wllodoesn't know what elcctron,ically-storcd 10:51!;42
    lI          Did you know that all the comp,uiers-at TW                           11 infonnation aid •· 1nformalton 1.s m 2018 Let me
    12 have been destroyed?                                                          12 explain it to you, okay?
    13    A      I -1- I don'l know.                                                 l.3           Lei me - if you type something mto a
    14 Q Okay,. l'm telhng you - I'm lelllng.you                                     14 computer or you recewcanc-mwl or-you re<:c1vc a
    15 right now that if you have any documenlS that ~late 10:57 Iij                 15 DP- DPF(sic) document or you rec~ean Excel               ro:~8 58
    16 to .llus lmgaoon or the federal htJg•tJon in.any                              15 spreadsheet, that's stored automatically in your
    (7 way wha.tsoevcr, please p ~ e them. Can you do                               I 17    computer and in the bard drivc.
    18 lhat? Even 1fyou find them objectionable, can you                            l 18           Do yo11 understand tha1?
    19 do that?                                                                     l 19           MR. BRAND Objection, m~ara.:ti:nzcs
    20    A Yes                                  10.57. 31                           20ESI.                                    1059.11
    21    Q      Will you do that7                                                   21 8Y MR. BILLER
    22    f\.    To the best of my ability                                           22       Q Go ahead,
    23'   0      Okay, Well, are you a pape,rless operallon.                         23       A I •· l gueu I undc.rstand what you're
    24 or do you ha-vc paper?                                                        24 saying.
    25          M.R .BRAND· ObJcction, vague.                  10:57'.43             25       Q     Olcay So do you have clcclronLC folders   I 0:59 19
                                                                           Pagc54                                                                     Page 56

     l BY MR. BILLER:                                                                  I for your busmesses?
     2    Q      You can an,~r the question.                                          2        A Yes.
     3    A I don't undersr.and the question.                                         3        Q     Or do you have paper folders?
     4    Q      Do you maintain all of your doc11merus in.                           4        A     I mean, we have probably both.
     5 cle<:1ronic form?                             1057:SO                          s        Q     Wl\en you say "we," who 1s "we".?             10:59:30
     6          MR. l3RAND; Objection; •vagUc                                         6        A  M<,.
     7·         THE WITNESS: Some l mean. I don't know                                7        Q Okay. And what's your business?
     8 BY MR. BILLER·                                                                 8          MR. BRAND: Objection; vague.
     9    Q You don't know if you maintain all your                                   9 BY MR BrLLER:
    10 papers in clcctroni<:,form? Really'? You dOfl't. know 10:58:04                IO        Q What - do you work? Sir, do you work.'7             10:59; .
    11 that?                                                                         II        A Yes.
    12          MR. BRAND; Objection; argumentative.                                 12        Q Okay. Where do you work?
    13 Objection, vague                                                              13        A I work - I have a business, Ethonii.
    14          THE WITIIIESS; I don't understand yolir                              14        Q rm sorry?
    IS question.                                 10:58: 11                           15        A Ethona.                         10:59:50
    16 BY MR. BILLER:                                                                16        Q  Ethona?
    17    Q Okay Do you have a computer?                                             17       A Yeah_
    18    A Yes;                                                                     I 8'     Q And ts that business connected 10 any other
    19    Q Oo you ~ow how to use a computer?                                        19     business?
    20    A Yes.                         l(tS8; 15                                   20       A I don't understand your questton.       I 0, S9~S7
    21    Q Docs that computer have a tower or some                                  21       Q Well. is it associated with LaunchPad?
    22 form of hard drive ins~e to Store electronic                                  22        A     No. [t's ;t separate busmess,
    23 uifoonation?                                                                  -23       Q     Okay. And what docs that business do?
    24    A Yes.                                                                     2.4       A     It sells aciivewear.
    -ZS   Q Do yoo know whnt ESl »?                                                  '25       Q     W~t is activewca.r?               11:00:06
                                                                           Pages,                                                              Page S7

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           A It is worlcout sort of clothes, like _yoga                                   A • LauncbPad Communications is a.dtl,/a for
     2 c\othC$,                                                                     2 Consumer Resource Network.
     3      Q And how long h;i.s that busi= been in                                 3 Q Okay. So when I refer to LaunchPad
     4   bu.sincss?                                                                 4 Communications •·
     5      A I don't n:member the CXQ(;I starting point. 11 :00:22                 S     A Uh-hmm.                           11 :02:39
     6   but for• few years.                                                        6 Q - you und~~tand the business I'm
     7      Q Well, fiveycan;, less than five'!                                     7 referring to, correct?
     8      A Probably less trulJl five years,                                      8 A I'm assuming you're referring lo Conswncr
     9      Q Okay. And you started radiation •· I'm                                9 Resource Network, then.
    10   S-Oil}', LaunchPad Communicatioi)s in 1995, com,ct'!         11:00:34     10 Q Okay.                              11:02:49
    )I      A I believe so. I don't know. I mean, I                                11 A Yes.
    12   believe so,                                                             I 12     Q Consumer Res-ource Network.
    13      Q And you caused a website to be put up for                            13 A Uh-hmm.
    14   lhilt busiricss, didn.'t you?                                             14 Q Okay. So what type of business was
    IS      A lbelieveso.                           11:00:53                       IS Consumer Re~urte Netwo~k?                        11:02:55
    16      Q Okay. And 11Jatweb$1tecontains                                       16     A It was a marketing business that - it was
    I7   information regarding LaunchPad Communica1ions,                         1 L7 a marketing business we had, yeah.
    LB   doesn't it?                                                             l 18. Q I don't understand what marketing business
    19      A I believe so. I - I mean, I havcn'l•$i:cn                            L9 is.
    20   th,at website for a super long time, so...        11 :O I:03              20 A We marketed products, real estate produces 11 :03: I
    21      Q Okay, So you were the CEO of Iha!                                   21 mostly.
    22   business, weren't you?                                                    22 Q Did Consumer Research -- what is il,
    23      A I don't think technk:ally I was the CEO.                             23 Consumer Research --
    24      Q Well-•                                                               24 A Resource Network.
    25      A lwas- 1.wasamernbermanagerofthc                   1101.16            25 Q -· Networks (sic)?                      11 :03:28
                                                                         Page SS                                                           Page 60

       I company.                                                                   A Uli-hmm.
      2 ·Q Okay. You were a founder of the business.                          2     Q Did l)l11t bus111CSs provide TW with any
      3 weren't you-?                                                        ·3 services?
      4    A Yes.                                                            4      A At one,poinl Consumer Resource Netw1>it
      5 Q Okay. And how long did chat business                 11:01 :26      S loaned TW money                                 .I I 03J8
      6 Cl(ist?                                                               6     Q Aboot what, a hund;red thousand. 250.000?
      7 A We stopped-· we didn'nake any new                                   7     A    II was 225,000
      8 clientele •· I don't remember the exact date, but                     8     Q Was that paid back?
      9 definitely a few years back, probably even maybe                      9     A    v~.
     IO severaf years back.                        11:Ol :48                 10     Q Do you have docu~nta~n regard'tng that                li.03'48
   ! t I Q How many years?                                                  I I l01.n?
     12 A I don't - three to five years ago I think                          12     A    Yeah.
     13 we stop~ taking business,                                            13     Q    Did yDu produce that?
     I4 Q .I saw the website had TW as its client.                           14     A    Yes.
     15 Wasn't TW a client?                         11 :01:57                IS     Q    Okay. When you say "mari:.ct1ng,'' explain         l L0l 54
     16    A No.                                                             16   how the bU$incss went aoout marlcetmg products or
     17 Q TW was· never its client?                                          I 7 services.
     18 A OfLaunchPad <;ommun1eations?                                       18     A    lt would m.arlcct through all d1fferenLmcd1i.
     19 Q Yeah.                                                              111 1ources, i;o it would be rad.1 0, TV. print aps, so,.
     20 A No.                                 11 :02:04                     ~O      Q    That Sl)unds hke Law1<:hPad                 l'l'. 04.16
     21 Q Okay. Was LaunchPad Gommunicahons in                              '21         MR.. BRAND: That's -
     22 business when TW became operative?                                  22          Tfle WITNESS: I think there's·· there's a
     23 A Yes.                                                              23 confusion as to what,•· t - I don't - I don't know
     24 Q Okay. So if - what type of business was                           :24exactly whatyou,saw 011 Lau11~hPa.d Commull!catwns.
     25 LaunchPod Communications?                          I I :02123       25 BYMR BILLER                             11 ·04:27
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            Q l have it. I'll show you. We'.11 get to                            I 101S?
      2 ii.                                                                      2   A. Yes.
      3 A So I think there's a little bit of                                    3    Q Okay. So~ there any documcnlS that-you
      4 confusion as to what LaunchPad Communications was,                      4 didn'1 produ«: after !hat regarding David - David
      5       MR. BILLER: What time did we start?            11 :04:41           S Schnider?                               1l :07:02
      6       THE VIDEOGRAPHER: 10: 14 A.M.                                     6    A     I - I believe so.
      7       MR. BILLER; Oby.                                                   7   Q Okay. Are they on the privilege log?
      8 Q How about No. 14? I take it you didn't                                 8   A I doo't know.
      9 produce all !hose documents, did,you?                                   9    Q Okay, Did you produce all the documenls
   j 10 A I did not prod_u_c e those documents.            11:04:57            10 you have rcgatding ·communicatioos related to John          I 1;07:23
     11     Q A~ they on the privilege log?                                    11 Hanna?
     12 A I believe so.                                                         i2   A     Again, based o.n time·framc?
     13     Q Okay, Are there any documents not on the                         13    Q N(?, just at all.
     14 privilege log?                                                         14    A Did i pro - did we produce - can-you
     IS     A No.                               11:0S:09                       15 repeat lhe que~n.                            11 :07:42
     16 Q Do you have -                                                         l6       (The prior question -was.n,ad.)
     17     A Thal l know of.                                                  17        THE WJTNESS: No.
     18 Q - any documents regarding David Schnider.                            18 BY MR, BILLER:
     19 that falls outside of the unilaterally imposed                         19    Q And oo what basis are you withholding
     20 JJ!nuar)' Ist, 2016 date that you didn't put on the 11 :OS:20          20 doeumm&s from•· regarding John Hanna? On what                 11:08:01
     21 privilege log?                                                         21 basi"s are you withholdi11g commumcalJons with John
     22       MR. BRAND: Objection 10 the                                      22 Hanna?
     23 characterization as .unilaterally imposed.                             23      MR BRAND, Objcetton. calls for• leaal
     24       THE_WITNESS: Can you repeat the qucshof\.                        24 opinion
     25       MR. BILLER: Read the question back.            11:05:35          25        MR BILLER. ls-111h1:.- the date7              110813
                                                              Page 62                                                                             Page 64

        I please.                                                               I        MR. B.RANC!: Yes, it's lhe date.
        2         (Jne last question was read.)                                 2        MR. BILLER: Okay.
        3         THE W-ITNESS: I don'1 undcrs1.111d the                         3       THE WITNESS: Yes, the date.
        4    question. Could you repeat it in a •· I'm not                      4 BY MR, BILLER:
        5 exactly -                                11 :0~:SS                    5    Q So is it safe to say - lei's Ir)' and get ll:08:22
        6 .B Y MR. BILLER:                                                      6 through all of lhis - that you didn't produce any
        7      Q Did you•·                                                      7 documents related to Request 16 through 2 I lh:at fell
        8      A - sure what you're asking.                                     8 ouaide of December 31st, 201 S7
        9      Q •· produce any documenlS rel\ltcd to David                     9    A     Yes,
       10 Schnider, 11ny communications- related lo David        1) :06:01      l0   Q Okay. Did yQu prod~ documents that                  11 :08:}5
       11 Schnider that 1oolc place ~fter January 1st. 2016?                   1l c~isted before that date regarding .these rcques&s?
       12      A Can you repeat 1he question again.                           1 12   A     Y..es.
       13         MR. .BILLER: Read back the question.                         13    Q Okay. You•· so you produced doc:umcnl'l
       14         (Th~ last question wa.s   ~->                                14 regarding business dealings between yourself and
       15         MR. 8RANO: Dia you ffl"'1 '14 or'l6?          11:06:33        l 5 /logcr Kuo, Gonia~, Pai:1(, Hanna·and H1llshore?          11 :09:03
       16         MR. BILLER: No, I meant '16.                                 16        MR. BRAND Ob;ecuon: compound.
       17         MR. BRAND; Okay,                                             17        MR. BILLER Okay
       II!        THEWITNESS: t\fter2016. Socanyou                             18    Q     Did you producc·.any dOC11ments rcgard11ll! any
       19 repel!! the question. Doc!lmtnts af\i:,- 20l6?                       19 business c/e&lings you had with H1llshorc?
       20 8Y MR, BILLER:                             11 :06:42                 20    A Yes, iflhadany                          1109:20
       21 Q Looltit.let rne do it this way You                                 21    Q     Okay Butyoudon't knowifyouhadan)'7
       22 producc;d documents up to a certain point m time.                    22    A I don't know, 1. - I don't - I dort't
   1   23 comc1?                                                               23 remember 1fthere was anything 1herc, but.
       24 A Yes                                                                 24 Q Ha,ve you hai;I any business de~hngs with
       2S Q And that point in 1,me was December 31,             I l 06:49       2S John Hanna?                         11.09.31
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   G'      A I -- I don'! believe so.                                                      I     A    No.
     2     Q Jene Park?                                                                   2      Q Okay. Did you prodilce any documents
     3     A I ·don't believe so.                                                         l reganling the lawsuit against TW, 1nvolvin1 TW?
     4     Q Gonzalez?                                                                    4      A    No. I - I mean, J didn't - I didn't
     s     A f dpn'I believe so.                11:09:37                                  5 reaUy undrntand !hat question of -                     11 l 1.4S
     6     Q Kuo?                                                                         6      Q    Lei me••
     7     A Have I had busi,-iess dealings with --                                       7      A - what I was supposed to provide you.
     8     Q Yes.                                                                         8      Q Documents .related to any llWSllll involving
    9      A - Kuo? Yes.                                                                  9    TW.   I don't know how simple 11 ca.n get Documents'
   IO      Q      Before rwo 1hou -- before December 31,                      11 :09:4tl JO related 10 any laWS1,1,1t involvrng TW.                 11: 11 :S)
   11 2015?                                                                              11          Did you provide MY SU<:h documents?
   12      A      Yes.                                                                   12          MR. BRAND: Objec1ion; argumcn1a1ivc:.
   13       Q Did you p.roduce those documents?                                          13          THE WITNESS: So 1-1-1 don't havc-
   14       A I --1 produced documents that were all                                     14 r mean, ag.ain, I'm not - ify~iu're talking,about
   IS    relate_d to TW.                       11 ~09:59                                 15 the-- the litigation that   rm involved \n, I thank      11· 12-.10
   16       Q But you didn't produce the other documents                                 16 I provided a complaint that - J dunk there was a
   17    related to other business dealings?                                             17 @mplaint that Paul (s,c) ~ the f!aula document.
   18       A Yes.                                                                       18 But OUISidj:·Oflhat, I don't have.any.
   19       Q Same-thing with Stephen Choi?                                              I9          I do.n'I' think - I bel~vc I don't haye any
   20       A Yes.                           11:10:09                                    20 documents related 10 any lawsuits mvolv111g TW.               11: 12 30
   21       Q 22. Did you produce any documents related                                  21 BY MR. BILLER:
   22    to other companies that you have an ownership                                   22     Q Okay. Have you had any con --doc; -· do
   23    interest in other than TW?                                                      23 you have -did yo11 produce any documents regarding
   14      A No.                                                                         24 financial losses or dlirnages sustaured?
   25      Q     How many companies arc then:?                          11 : 10:33       25      A    1 - I don't believe 1 do, l don't believe 11 1:Z!43
                                                                              ~~                                                                                  ~~

          I\    I - · 1 don't know.                                                       I    r did, or ( don't havi: anything.
          Q More than one?                                                                2      Q Did you ever recover your $16;000 from TW?
          A     Yes.                                                                      3           MR. BRAND: Objection; mischaracterizes -
          Q More than fivc'l                                                              4 BY MR. BILLER:
    s     A Yes.                               J l d 0:41                                 S      Q    Did you ever re --            I I; 12:58
    6     Q More IIJan 15'!                                                               6           MR. BRAND: - prior testimony.
    7     A I don't know.                                                                 7 BY MR. BILLER:
    8     Q     I have a website that shows 1hat you have                                 8 Q Did you ever recover any money that you
    9 13 dummy cotpora.t1ons. Is it more or less than 137                                 9 invested in TW?
   10          MR BRAND ObJectJon: m1scharactenz.es the 11 10,50                         10 A No .                              11:13:06
   l I website.                                                                          11   Q Okay. Did you decll!fe any losses on your
   12 BY MR. BILLER:                                                                     12 personal tax returns for TW?
   13     Q Are you fan:uhar w11h the wcbsuc that lw,                                    13       MR. BRAND: Objection; privacy right
   14 you know, your - a - a business that you own in                                    14       You don't have to answc.rqucstions about
   IS the middle, !hen branches out to 13 other                11 : I I ,00              15 yoor tax returns.                      l l : 131 18
   16 busin~·,                                                                           16 BY MR. BILLER:
   '17         Do you remember that?                                                     17 Q Do you know who Alex Park is.?
   I8     A     I - I •· I kind of remember. I don'! -                                   I8  A I - I believe so.
   19 again. I'm not }we what you've seen. and I lhink                                   19 Q Okay Who is Alex Parle?
   20 there's a- yeah.                           11: 11 : 13                            20 A I believeheisa--oneofche vendors for 11 :13:3 1
   21          So I - I don't - I don't remember. I can                                 21 Thomas Wylde.
   22 vaguely remc:mber something. I j11st don't remember                               .22  Q Did you have any communications between him
   23 what you're loolcing at.                                                          23 and you?
   24     Q Did you produce any documents from those                                    24   A Din:ct communications betw~n. no.
   25 othei: businesses?                           11: 11 :24                           25 Q How about indirecl?                 11 : 13 :46
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            A     Well, there's somethmg after 2016. He
     2 sent an e-mail to a group of people I was cc'd on.                           ~    ever -MR. BILLER.: Oh. Paula Thomas~
     '3 so...                                                                        3          MR-BRAND: Okay. Thanks. I f~rgot about             I
     4      Q Did you prodµce that?                                                 4 that.
     .s     A No, because 1twas after 2016.            I I. 14:02                   5 BY MR. BILLER:                        11 :28:52
     6      Q l>o you have any bus1nts$ records ofTW?                               6  Q Have you had a chance-lo look over Exhibit
     7      A No. Define ''business =rds.''                                         1 No. S:>
     8      Q Wefl, I'll tell you what Judge Yun said.                               8     A     Yes.
     9 Accounttng, finance, contracts, e-mails.                          9 Q Okay. ls Exhibit No. S pages from the
    10 .A Qh,okay. Isth1s - 1sth1sQuestion                11.14.42      10 lnternets1temamJainedby launchPad7               11 :29:35
    11 No. 30 you'r e askmg?                                            I I A Yes.
    12       Q Yeah.                                                    12 Q And do you see in the left-hand com.e r
    13       A Yeah. SolhavereportsthatMeldyhad                         13 whereit$8ys7/21/20l8?
    14    sent out I mean, random. And I don't thmk I have              14       Do you see that?
    15    evcry·single one. So whatever she had ~nt out, I 1'1 :14:S IS       A Yes.                           11:29:45
    16    have provided those                                           16 Q And do you know what that date represents?
    17       Q Would you referto those reports as                       11 .A I don't knpw.
    18    financial reports telling you the bealth of the               18 Q Okay. And this business started in I 99'5,
    l9    company?                                                      19 right?
    20       A Yeah. Yes. They would be financial            11 : 15:06 20    A Yes.                           II :2-9:.SS
    21    reports, yeah.                                                21    Q And 1f we go•to the back, it describes your
    22       Q Okay Did they fall- - follow the same                    22 position, doesn't it?
    23 fonnat?                                                                      23   A Y~ ,
    24   A What do you mean by !hat question? Can you                               24   Q So can you please read jnto the record wh.11,1
   f 2s   restate                                    11 :15:17                      25 your position is in the description..      11 :30:17
                                                                          Pqc7!)                                                         Page 72

            Q Were •• were they identical ,n fonn 01her                                  A You mean where it says "Douglas Lee,
     2 than the sp«ific numbei:s?                                                    2 Founder and Managing Director"?
     3    A Yes and no. I mean, somellmc:s they'd be -                               3 Q Yeah.
     4    I mean, I guess, kind of f mean, I .think overall.                         4   A Okay.
     S I mean, I couldn't tell' you elUIClly .And I don't 11 I5:33                   5           "Founder and Managing Director.
     6 remember each document and exactly how ,t was set                             6           Doug is a Founder and Managing
     7 up, but preny similar                                                         7           Director of LaunchPad. His primary
     8          MR. 811.,LER: Okay. It's been one hour. Do                           8           role is to set the vision and
     9 you want to lake a bRak? li's been one ho)lr.                                 9           direction of the company. In
    10      MR. BRAND: Ye.ah.                       11 :15;59                       lO           addition, he oversees the
    11      THE VIDEOG.RAPHER: This mark$ the end of                                11           Advertising, Hwnan Resources --"
    12 Media No. I. Going offme recon! ar. ll:16 A.M.                               12         Q Slow down. Slow down.
    13-         (Recess.)                                                           13         A Ob, I'm sorry.
    14          Tt-\E VIDE.OGRAPHER: This marts 1hc beginning                       14            ..•"he ov~sees the Advertising,
    15 ofMediaNo. 2. Goingbackonlhereco rd lit 11 :27              11:27:36         15            Hwnan Resources and Sales
    16 A.M.                                                                         16            Department, handles all legal and
    !7          MR BIL,LER; let's hl!-ve the next document                          17            regulatory matters and.is involved
    1'8   10 order mutedas Exh1b1t 5, pages fro,n a website·                        18            in new business development and
    19 for LaWlChPad.                                                               I9            strategic alliances. Doug has 14
    20          (Exh1bu S was marti:ed for idcritlf'icatlon    11 28.01             20            years' experience in management and
    21          by th.e court reporter )                                            2I            bW!iness development. Prior to
    22          (Witness rcv,c:ws document.)                                        22            co-founding the company in I 995,
    23          MR BAAND Madam Court Reporter, tf I may,                            23            Doug was a Manager at Ernst & Young
    24 do we tmve an 1j>peanu1ce from - on the-record from                          24            LLP specializing in international
    2S the lady at IJI~ end of the table? I don't think we 11·28·45                 25            tax. He was involved in planning
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               and implementing lax-advanlage.                                       A   No.
    2          structures and transactions. Doug                               2     Q   When did 11-go out ofbusmes.s?
    3          holds a B.A. in Govcmmc:ot (cum                                 3'    A Like I said. several year5 back.
    4          laude) from Dartmouth College and a.                           4.     Q O\cay. Dtd you produce any documents on
    s          J.D. from UCLA School of Law. Doug                              5 this bu.sincss?                          11.33.08
    6       ertjoys playing golf, swimming,                                    6     A    No
    7       working out 11J1d watching movies as                               7     Q    Why 1101?
    8       well as spending time w1th hts wife                                3     A    I don't u~tand the question ,
    9       and two leads.''                                                   9     Q    You ,don't underswid the qilcsl!0n why you
   10 Q So when you testified yoadidn't -- you            1_1:31:24           IO failed to produce documents repcdmg LaunchPad?               11 33: 22
   11 didn't know what a dwnmy corporation was when you                       11     A Oh, you mean under the- ibe - the
   12 were a manager at Ernst & Young in 1ntemat1onal                         12 sC])atate subpoena?
   13 tax, and you've got a degree m mfcmauonal tax -                         13     0 The subpoe,ia, yes
   14 you've heard of the phrase ~dwnmy corporation"                          14 A I - l guess my quesuon IS. inre yqu
   IS before-today, haven't you?                   11:31:43                   IS talkmi about the questions under LaunchPad that you 11. 33; 35·
   16       MR. BRAND: Objection; m1sstatcsh1s prior                          16 were asking in - thcn:'s tvro subpoe,las, so -
   17 testimony.                                                              17     Q    v~.
   18 BY MR. BILLER:                                                          18     A    So, you know, yeah. ·we did provide
   19 Q Haven't you?                                                          19 docum~ts.
   20 A Yes and no. I mean, I'm not - I just           l l'.31 ;50            20     Q Okay, It says.                         I 1:33:43
   21 didn't understand the conte,c.t of what you were                        21         "Documents related to any and all
   22 trying-to say.                                                          22         prodllets, webs1\e pages, images_,
   23 Q My question is; Before today yo_u've heard                            2~         conduct. language. marli:ciihi
   24 of the phrase "dummy corporation," correct?                             24         materials, photographs and
   25 A I believe so.                          11:32:00                       25         communications - LaunchPad                   IL3349
                                                                    Page 74                                                                      Page 76

          .Q   Okay. And you knew a meaning of the                             I          Communi -· Communtcaltpns provided
    2 word -- the phrase "dummy corporal ion.'' d1dn'c you?                    2          to TW between 2014 IQd the present
    3  A I mean, again. I•• the context of what you                            3          time."
    4 wete soying. I wasn't sute what you were getting to,                     4          Did you produce any of that?
    S bul, yes.                               11:32:13                         5      .A LaunehPadd1d1)'t do an}'.thmg for TW.              I 1;33:58
    6    Q It really doesn't mallc:r wlmc I'm .tetting                         6       Q Okay.
    7 to. sir. WJtatmaners is the question and whether                         7       A So there. was nothmg to produce. We •- we
    8 you C3l1 answer the question.                                            8    had no • a outside of the .. the loan that was
    9          So my question lo you: Before today you                         9    provided, th<:re was no other interaction with P      M




   to    luld an WldctStanding of the me11ning·of"dummy          11,3223      IO    TW. It was me, as~ rndivtdual.                    11 :l4: 12
   11 corporation," correct?                                                  II       Q Why didn't you use your slulls as a manager
   12      MR BRAND Ob1ecuon;,askcd and answered                              12    m charge of advertising, m charge of marketmg,, in
   13 Objecuon: 111ilumen11111v~                                              13    charge of human resoun:e, in ·charge of sales - why
   14 BY MR BILLER                                                            T4    didn't you use those skills to help TW'?
   I5      Q You can answer.                        I l :32:31                15       A TW h.ad all of those different components, 11 :34:~
   16      A   I guc:suo                                                      16    so our role was more as advrsOf)' r9le. and we tried
   I7      Q Okay Now, YQll - this ·· 1 was reaUy                             17    to -- 1 did try to assist In kmd of the markettng
   18 impressed wrth thll website, you know. 11Jiough1,                       18    side of it, so we'd have discussions about the
   19 wow. they must do a 1~ to hdp a company. And I -                        19    marketing, But, I mean, I wasn't there on a
   20 I suppose. you were .. this company was successful in 11 :32:46         20    day-to-day basis, so it wasn't•-                11 :34:56
   21 some respects with helping othet companies lrulfkc(,                    21       Q My question 1s. Wliy didn't you have
   22 lldvcnise. strategic pl1111ning and all that snlff?                     22    LaunchPad provide those services? 'Cause that's
   :23     A Yes.                                                             23    what the company did.
   24      Q Okay. And -- but is the: company still in                        24       A LaunchPad at this time .was not in
   25 business?                                 11 33'00                      25    existence,                               11 :35:06

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         Q Okay. B11t the- how abollt the sub •• the                                   I employees or SOllldhmg like th_at, JUSI to mamwn
    2 11:sollrCe consumer necwortc?                                                    2 our old busmeues.
   3      A      No. It wa:; not m bUStness at 1h1s 1,me                               J           So we wcn:n'\ doing any of th~e services
   4 The business had already been - so al 1h1.s -- b:y                                4    at the llme that we - when. I (l'ICl PD -
   S this tune LaunchPad - not-around. So.I was not                    11:35.18        S BY MR. BILLER.                                  11.37;14
   6 doing anything~ LaunchPad.                                                        6  Q Did yo11 lo -
   7      Q Olc.ay. Whai.busmess was-around - what                                     7      A     - TW
    8 busmcss was around m 2014, 20 IS that you were                                   8      Q Did you lose all the knowledge you had
   9 engaged in?                                                                       9 gained while worirmg at LaU:nchPa.d'l
   10           MR. BRAND: Objtetion: vague. Objection - 11:JS:30                     10           MR. B,RAND ObJ«llon, argumental1Ve                11.31: 18
   11 BY MR, BILLER:                                                                  11           THE WITIJESS: No
   12     Q      Youeananswer.                                                        12 BY MR. BILLER:
   13           MR. BRAND: - right to privacy. Can you                                13      Q You had that knowledge. correc"t'1
   14 rephrase the question?                                                          14      A     Yes.
   IS           MR. BILLER: Sure.                          11:35:40                   ).S     Q     Olc.ay, So you had adverusmg IQiowledge,         11 37.23
   16.    Q      Wllodldyouworlcforin2014?                                            16 co~L"
   J7     A I didn't - I mean, I didn't techn1cal\y                                   17 A Our ndvert,sing la)Owlcdgc was not for
   18 work for anyone. I had · • w LaunchPad and ConslJmet                            18 b,...nd - •fashion brands.
   19 Resource; Nctworir was no longer operational, so it                             19       Q Okay. That's not myquestu'>n. I'm &!king
   20 was not doing anything for anybody.els¢. At that                I l.:35:Sl      20 rou if you had advaiis1ng lcnowlcdjt:-                   I 1;31, 35
   21 point we Wl:IJ; just maintaining -bllliiness --                                 21       A Yes.
   22 subscriP,tion b_usin~s and diffettn1 things bke                                 22       Q    Marj(~ling? You still had thal knowledge
   2-3 that·.                                                                         23    !hat you gained over the yC&tS, right?
   2il     We had buill a - I guess a\ that point                                     24       A Yes.
   2S Coosumc< J;!.esource Networi had some r«urring                      I l ·36,08   25      Q And sales as well. nght"
                                                                               Page ?8                                                                         Page 80


     I revenue. We had information that was being                                              A Yes, but very different ulcs. so...
    2 provided, ·so it·was supporting that.                                            2       Q Okay, I want to know •• I still - you
    3           And then we had 50QlC other substiiption                               ~    know. I still don't know what you do. I've been
    4 busine~. shopping clubs: different tJ,ings like                                  4 with you for an hour and 15 minutes. and it seems
    S that. so ii supported that.               II :36:21                              S like every time I try lo get an answc~ ~ to what           11:38:03
    6        So at that time LaunchPad was not.caking on                               6 you do or what you !1i'1, I can't &et a Straight
    7 clientS or doing anything like 11 says here. We                                  7 answer.
    8 were alreatly out of - we weren't doing any of the                                8          Lik~ \he answer you just save about
    9 slllff.                                                                           9 LaunchPad.. Iha\ ,ounded areal but mcanl nothing. So

   10           Tc<:hnically we: were still in business-       11 :3.6:JI              10 I would like to know what job you had ill 2014. What 11:38:13
   11 because revenue strean'I& that were Slill comin11 m.                             11 was your job?
   12 but we weren't Opeflllional or doing any oflhese                                 12          MR, BRAND: Objection; a.qiumc:111at1ve.
   13 thmgs. We didn't have.a call center. We <lidn't                                  I) ObJcction. m1s&tUes prior tcslimony. Objtetion:

   14 have these diffcrcnt.upects at that pomt.                                        14 vague
   15      Q     D1d you have people rcsporuuble for or           11..36.41            15          THE WlTIJESS: In 2014, as I was trying to          11 :38:28
    16 talented m advertising?                                                         16   .explam to you, L.sunchP1d Communica1iorw was_ no
   17      A     No. We dtd not• ·                                                     17 longer laking on bus.iness.or being operational. We
    18     Q Howaboul m!lfkctmg?                                                       18 had legacy business, we: had customers tluic were -
    J9     A      We had almost no •· 1)y this time wc-d1dn'1                          19 whm: - ~ provided real estate mfonnation foc.
   20 have any employc:es.                     11 36i5 I                               20 We had other businesses that provided ~arious               11 :.38:49
   2l      O By Wl\at time~                                                            2 1 sezv,ces like auto care orshoppins-or-different
   22      A By the tune ,we ""'1 met with TW we had a                                 22 thmgs hke,lhal
   23' handful ofemployees, probably hkc •·                                            23           So we were still maintaining that business.
   .24          (Cell phone mtcrrupi,on.)                                              24 We had cultomcr servitc·iisucs lhat would come up.
   25           THE WITNESS; This.is probably two or three I 1: 37:01                 ·2s We would have to tak,; CJ!l'C of a.ccoun1ing, you know; 11 :3.9:04
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     I that we had merchant acoountsr Different llling~                                I companies are still under •· undcmcatli that group
    2 like that. So I wu doing that.                                                   2 ofco111panie:s. Probably, altogether - like
    3         So lhal was still our primary role of                                    3 entities. proba.bly ten, maybe.
    4 , maintaining or just managing that busmes-s. So that                            4 BY MR. BILLER.
    5 ·wasprobabl>;themain1hingthaL l wasdomga1uiai 1139.19                            5   Q IJust asked you a few moments ago iflhen: II :42:01
    6 lirQe                                                                            '6 were any·busmesses under Launcl]Pad and you said
    i BY MR, BILLE~                                                                    7 "no," lh<="'"' nosubsWilllies under 1.-aunchPad.
    8     Q    How many businesses dtd LaunchPad control                               8     A     Vcah, lhey'rc not subsidivies.
    9 or own a1 that time?                                                             9     Q Now you J\ISI told me that there arc
   10     A LaunchPad didn't-I mean, I don't- I do 11 39.2·7                          l0 busm~ under la.unchPad tha1 you still prepare          J I:42:B
   l I not bcheve LaunchPad. owned any companies underneath                           11   W<   returns on
   12. ,t. I don't thmk there were any slibs1diancs                                   12     A     Well, no. lhey:rc.nOI under LaunchPad,
   13 undemeadl 1t, but 1 don't -- I don't remember                                   13 Launch - Consumer Resource Network is here
   14 exactly,                                                                        14 (md1ca1111g) and there might be - they're next
   lS     Q    How were you connected t_o Consumer Re~ch I I·J9 41                    15 to - they're brothef/sistcr corporation.s, I would   11 :42:23
   16 (sic) Nctw9rtc7                                                                 16   say. or j'ust ~par.tie entities,
   17     A    Like J said, <;onsu.mcr RC$0urce Network. was                          17     Q     They're -
    18- doing- was dlb/a LaunchPad Communications. And so                             18      A But they wer,: kind of- what I meant that
   19 I was own(!' or member of Consumer Resoul':e Nctwwlc.                           19 they were related was lhey're all pan ofa- a
   20     Q    So -- and when did you .stop worlcing with         11 !40:04           20 similar.son of business when we had stan --when        11 :42:33
   2 I Consumer Netwolk - Consumer Resource Network or-                               21 we had created ii origmally.
   22 LaunchPad Communication.s"                                                      22     Q     Olcay. What type ofbusim:sscs ~ those:?
   23     A I•• we sull l(:Chrue.tlly have left over•·                                23      A So the other bus1nes;es are - like J said,
   24 we still haRthat bll!imes:.                                                     24 they're subscnption companies, so we have a llurd
   25     Q    So lha!'s your main form of occupation?           11:40-17       25 party 1h11 we outsource it They provide -vanoui;            11 42.46
                                                                         Page82                                                                       Page 84
                                               - - - - - - - - - 4 - - - - - -- - - - --~ - - -
     I    A Tba't , yes, and Ethona.                                  services. So there might be a shopping club, there
     2    Q And what?                                                                   2 might be a health discount program.
     3    A    And Ethona, the aclivewcarcompany.                                       3       A lot of'em are discount programs. There
     4    Q Can you spell that.                                                         4 might be an auto discount program. So those are the
     s    A    ETH ONA.                               11:40:27                          5 entities that we have •· that we get•· we still get 11 :42.59
     6    Q Who is •- who owns that business1                                           6 sub,scripti(lQ from, So we ~
     7    A I'm one of the panners.                                                     7 Q Do you-
     8   Q Who's the other partner?                                                     8 A - gel monthly fees from some.
    ,9   A Roger is a partner. Roger Kuo's a partner,                                   9 Q Do you have a •· a chart that shows all
    IO Let's sec. I'm trying to figure out-· Jason Webslci 11 :40:SS                  10 these companies?                              11:43.08
    11 js a partner. And then I gucM •· I lhinlc lh0$C we                             11 A I •· I don't. r mean, no, Tdon't have one
    12 the current panncrs.                                                           l'2 right now.
    13    Q Okay.                                                                     13 Q So how do you keep -· how do you keep all
    14    A    Yeah.                                                                  14 these companies orgaru2ed so that ypu can eastly
    IS    Q Now, you have other businesses !bat y-0u              I l :4 I :13        15 refer to them?                             11 :43: 18
    16 won't identify, correct?                                                       16 A Well, I haven't had to, so •· and then we
    17   A I-yes.                                                                     17 have an accountant who takes care ofJust, you know,
    18   Q Okay: How many other businesses do you                                     18 filing and dealing with the taAes and •·
    19 have?                                                                          19' Q Who's -
    20      MR. BRA.ND: Obje!)tion; ~ked and answe~. 11 :41 :17                       20 A - the··                               II :43:33
    21        TiiE WITNESS. I don't- I mean, I'm not                                  21     Q - your acco.untant?
    22 exactly sure I have - I have businesses that                                   22     A -P&L's.
   '2·3 rclaled to LaunchPad that we rull 61e tax ~                                   23         It would be Alell Kim. He's actually a
    24 assoctitcd witll                                                               24 panncr '!I a company.
    2:5       So - ugam, 1 dot1'I know how many             11.41 44                  2S Q What's the company?                            1l:43.4S
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                                                                                                                                           7
                                                                          ;-
          A He's one of the guys on this list, Alex                                    Q Do you know what-·
    '2 Kim. He's the chief financial officer. So he                            2       A I can't answer.
    3 still is the chief financial officer. He: still                          J       Q -- T -• PDTW is?
     4 maintains i i, so...                                                     4      A I - I know it's an cntity·that Paule .owned
     5    Q Docs he do the taxes at his company or            11 :43:55         5    and that it owned at one pQint the IP: And then           11 :45:38
     6 for - at LaunchPod?                                                      6    when TW was created therewas·a tnmsfer. But
     7     A Oh, he's - he does the taxes for-                                  7    outside ofthat I - l don't reallY. know •·
     6 Q The company?                                                           8      Q Olcay.
     9 A - the company, yes:                                                    9      A - PD1W that welL
   IO         (Simultaneous talking.)                 11 :44:03                19       (Simultaneous talkmg. unrq><>rtabl~ )              11 :45:53
   11     Q So he's like -                                                     II      Q Let me get -
   12 A He'sjust-                                                              12      A I -- l don't know --
   13 Q •• the CFO?                                                            13      Q Letme -
   14 A Yeah. Yeah. That!s right.                                              14      A    I don't know how the structun: was.
   15 Q So he does -- he's - he's the person that 1 1:44:06                    IS      Q Let me get this nght.                 IIA5:54
   I 6· prepares the tax returns?                                              J6      A Okay.
   17 A Yeah.                                                                  17      Q Okay? You were somebody who's .supposed to
   18 Q Okay. What's the cunent status ofTW?                                   18    fuuf 8Ji investment for PDTW, nght? 'TI)arwas the.
   19         MR. BRAND: Objection; ambiguous.                                 19    company you signed an ,sreement with, nght?
   20         THE WITNESS: I-· I don't - I don't know: 11 :44:2                20      A I'm not sure which- I didn't know whrch 11:46:08
    -21 BY MR:. BILLER:                                                        21    company we signed the agreement with.
     22 Q Aren't you interested?                                               22      Q · You -· you can - I'm sorry, Pm Just in
     23        MR. BRAND: Objccllon; argumentative.                            23    shock. 1'.m just in.shock.
   ·24        IBE WITNESS: l mean, I - I'm --1 know                            24          .You signed a.bmdmg tc1J11 agreeirient to
     25 that It's not doing v,,ell, so - I mean, that's -- 11_44:37            25    collect a finder's fc::c to lind•mvcstors willing to 11 :46:20

   ,-1 that's ihe.exlent of what I know. 1-
                                                               Pa&c 86

                                                                                I invest SS.S million on behalf of PDTW, and you don't
                                                                                                                                              Page 88
                                                                                                                                             --1


     2 BY MR. BILLER:                                                           2 remember PDTW? Really'?
     3 Q Well, it hasn't been doing well for nearly                             3     MR. BRAND; Objccti·on: argumenta1ive.
     4 four years; isn't that right?                                            4       T HE WITNESS: I'm $&yin& I didn~t --1
     5 A Yes.                               11:44:48                            5 didn't - - I don't remember which companies were         11 :46:38
     6 Q Tt never did well after Paula - Paula                                  6 which w!ien we had this a.mingement,. So I di&'t
     7 Thomas left; is that right?                                              7· know that - whether PDTW - there wasTW. I don't
     8 A If - it didn't do well prior to Paula                                  8 know sf U,ere was other entities. I jus1 didn't
     9 Thomas leaving.                                                          9 k,now wh,eh entities that we were talk.in& v,i!h.
    10 Q She was there three months.                 11 :44:56                 10 BY MR BILLER                             11 :46:52
    11 A Even prior to that 11 wasn't doing well,                              11  Q Well, don't you •· don'! you do a certain
    12   Q Uh-huh,                                                             12 amount of invest,galion before you go and find an
    13 A So when we got involved it was domg very                              13 inves1orwho's going to invest SS.S million ina
    14 poorly.                                                                 14 comp111y?
    15 Q Okay. Have·you looked ,a t its tax returns? 11 :4S:03                 15      A   Y~ -                          l 1:47:00
    16    A I have not.                                                        16      Q Whatdoyoudo?
    17 Q Have you ever looked at PDTW'~ tax returns?                           17      A We•· we 5pc:n1 time talking with the people
    18   A PD1W7                                                               18    who were involved, and they kind.of explained lo us
    19 Q Yeah, the company that you put out of                                 1.9   what they do. We got· financial infonnation. And
    20 business,                        11:45:13                               20    thcnwewenHhro.ugh 1hepivc~ of - 1J1dso l           11 :47:13
    21      MR. BRAND: .Objection; argurpenfative.                             21 don't - again. I don'r remember the semantics of
    22      THE WITNESS: I don't -· I haven't' seen -                          22 caeh comP,Bn)' tlult was involved ond the exact
    23 I don't -                                                               23 stni~turc ~t was se\ up.
    24       (Simultaneous talking.)                                           24 Q Eitcuse me if! - if I don'! -- if I take
    25 BYMR. .BILLER:                                 11:4'5!18   ~             5 offensetoyour11seofthewordof"semantics."              11:4726
   j_   _   _                                                  Page 81                                                                          Page.89
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     I OkaY,?                                                                        I BY MR. BILLER:
    2         Did you not know that PDTW was ,~ -- the"                              2  Q You jµst did what - what Stephen Choi
    3 cotily lhat actually Wa.> re,;ponsible fot designing                           J told you to do, is that it?
    4. the clothes and manufacturing the clothes and                                 4·    A Ycah, Stephen decided what t he deal tc:nns
    5 distributing lhc clothes and liCiling the clothes and l l ;47:)9               5 were.                                   11 :49:27
    6 nwtceting lhe clothes and having shoWl regarding !he:                          6     Q Diel be - did he give you the {Cl'Tl1S of lhc
    7 clothes? Do you not remember th.et?                                            7 deal !O communitatc to the othc,- side?
    8       MR. BRAND: Objection; argumentative.                                     8     A I be.lievcso. yes.
    9 Objection; compound.                                                           9     Q Okay.
   10 BY MR. BILl.ER:                                   11:.47:SS                   10         Letine have the nextd9Cumen1 n\arlcedj n        I l:49:35
   Il     Q Do yQU or do you not rem_cmbct- that?                                   11 order. ~o. 6. I can't fine! Ille other copie,.   rm
   12     A I think «he confusion is m~ thal I - my                                 12 so1ty, but...
    13 understanding W1lS that there was a comp - two                               I3         MR. BRAND: Okay. I only seem 10 have
    14 separate companies. Thc:tc was a company that Paula                          14 thrc<: copies of exhibits here, s1> I guess-·
   1S owned 5Cparately and a - a company that.was the                l I,48:06      15'        MR.. SILLER'. Well, you have one of the -       U :49:52
   16 operaiionar company. So I guess that's my                                     16         MR. BRANO; So lhis i& 5,
    17 conf\1$ion.                                                                  L7         Mlt BILLER: Yeah, the nexi one will be 6.
    18        I didn'1 know - if there was 1'VO                                     l8         MR. BRAND:      r thinlOhis isl and 2 .   I'm
    19 companies. I didn't know what the companies' f\llmts                         l9 missing) and 4.
   20 were.                                  11:48:18                               20         MR. BILLER: Okay. I'll givc·yo'u 3 and 4. I J: S0:00
   2l     Q We'll. you're still confused, 'cause Paula                              21         (Exhibit 6 was nwtccd. for idcnufication
   22 owned both those companies.                                                   ·22        by lhe coun reporter.,)
   23     A     Okay. Well, !hat's wh.at - when you llY                             23 ~y MR. BL_LlER:
   24 "PDTWn -                                                                      24     Q    H.ave·you seen-Exh1b11 No 6 before?
   25     Q Okay So -                              11.48·21                         25         MR. BRAND: Can you show htm the exhibit?           11 S0:24
                                                                                                                                                     Page92

          A -1 don't know which company lhai was.                                     I          MR. BILLER: Yeah (handing).
     2    Q This investment scheme did n1>! involve                                   2          MR. BRAND, Thank you.
     3 PDTW, right?                                                                   3          THE WITNESS: Have I - so what's the
     4    A I - I - I can't answer that question. I                                  4    qµestion?
     5 don't know.                      11 :48:_3 2                                  5    BY Mlt BILLER:                               ll :50:34
     6   Q You were --you - you were involved jn                                     6       Q Have you seen Exhibit No. 6 before?
     7 negotia1ina the invcsunerit. You were the guy who                             7       A I have - I've seen it, yes.
     8 was responsible for negotiating the ·invesrment with                          8       Q Did you read it?
     9 John Hanna, right? You acted on behalfofStephen                               9       A I did not read this whole thing.
    IO C::hoi and negotiated the investment wilh Jo)m Hanna            11:48:46     10       Q Did you read anything in it?              11:50:4
    11 for PDTW, com:ct?                                                            11       A I don't-recall.
    12    A I negotiated -- I didn't - I mean. at the                               12       Q Do you know what that is?
    13 end of the day, no, lhc negoliation -- the final                             13       A It's a valuation.
    14 .negotiation was Stephen decided on what - what --                           14       Q Valuation report, rigb.t?
    1S 1/,'hat - what the tenns wen:, but we were - we·             11 ;49:04       ts        A Yeah.                           11 :50:52
    16 presented the idea to Stephen, yes, but -·                                   16       Q Do you know what that is?
    17    Q     Oh-                                                                 l7       A Yes.
    lg    A - we didn'.t - we didn'I negotiate the                                  18        Q What·isa valuation report?
    ]9 final deal.as to what this deal -                                            t9       A It's the valuation oftbe intellectual
    20    Q All right.                            I 1;49: !3                        20    property.                             11:50:59
    21    A - was for.                                                              21       Q Do you know when that was prepared?
    22    Q     You were just - you were just a pupPCl for                          22       A Well, it says here October 17th, 2013.
    23 Stephen?                                                                     23        Q Right. That was a little over a ~ a
    24        MR. BRAND: Obj«tion: argumentative and                                24    little over a year before TW was created, right? TW
    25 11mbiguous.                                 1I•49 1.9                        25    was created on July 22, 2014.                  11 :51:1
                                                                          Paae 91                                                                     Page.93
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 1     have it. .
 2                  A       I'm sorry about that.
 3                  Q       What type of backup documents are you
 4     referring to?
 5                  A       There would be deposit slip or bank
 6    credits           bank statements.
 7                  Q       So unless you have backup documents, you
 8    can't rely on QuickBooks.                Is that what you're saying?
 9                  A      No.     The QuickBooks entries has backup
10    documents before you enter them.
11                  Q      Just answer me a simple question.                There
12    is no entries for any money received by Thomas Wylde on
13    Exhibit 65 for 2015; correct?
14              A          Rephrase that.
15                  MR. BILLER:     Read the question back .
16                          (The record was read by the Certified
17              Shorthand Reporter.)
18              THE WITNESS:          If it's recorded here, the money
19    was received.
20    BY MR . BILLER:

21              Q          Just answer the ques tion, Exhibit 65,
22    are there any entries for 2015?
23              A          2015 for this?
24              Q          Just answer my question, please.                I know
25    you're trying to help John Hanna.                      Please, you have to

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         A No, I did not.                                               1     Q    Okay. You're guessing right now.
   2     Q    You just went slrllight to a CPA finn, one               2      A Well, I don't understand -
     3 of the bi~\)51 ones, correct?                                   3      Q Okay.
    4 A Yes.                                                           4      A - how I'm supposed to •·
     5 Q But you we~n't an accountant, right?            11 :58:46     5      Q  The question -                     12:00:48
     6 A No.                                                            6     A  -- answer !he question.
     7 Q So what did you do in your position as a                       7     Q  The questfon is; Ho.w can a company that
     8 manager for the international tax group?                         8 operated on e11penses at $3 million a year and
     9 A We would work on -- well, clients had                          9 have revenues ofS7 million a year -- how can a
   10 international tax qui;stions, and we would help       11 :S9:0   IO company like that go to a company that is getting 12:0.l :0 ~
   11 create -- solve-or help them with their t.tx                     11 $12 million.a year. three in revenue and rune in
   12 structures.                                                      12. investment and loans, and making negative $6 million
   13 Q You also helped - helped them put their                        H a year? How does that happen?
   14 money in offshore accounts, right?                               14       MR. BRANO: So objection; compound.
   ts A No.                                  11 :59:15                 IS Object - objectio.n; argumentative. Objection;     12:01:1 7
   l 6 Q You never did that?                                           16 ambiguous.
   17 A I was not involved or 1 did not do - we                        17 BY MR. BILLER;
   18 did corporate sort of structuring. I was not                     1'8 Q How docs that happen?
   19 involved in individuals moving -,-                               19      MR. BRAND: And calls ror speculation.
   20 Q Well. you said Hillshore is a corporation. 11 :S9:26           20      THE WITNESS: I ·- l ·- I'm not sure wh~re 12:0 I :23
   21 A Yeah. So, I mean -- we were doing                              21 you're getting your numbers from . I can't_base -
   l2 corporate structures for very large corpotations and             22 you're just saying these numbers;
   23 setting up tax strucfUres for $em, for                           23 BY MR. BILLER:
   24 corporations.                                                    24 Q Am•I'.?
   :Z-S Q Is it your testimony you don't le.now how to 11 :59:3        25 A Yeah.                               12:0 I:31
                                                             Page 98                                                          Page 100

    I' hide inpney in offshore accounts?                                    Q l'm going to show you the promissory notes
    2        MR. BRAND: Objection; misst.atcs the                       2 and tax returns, sir, and then ru re•ask you the
    3 l~slimony and argumentative.                                      3 question. okay?
    4        THE WITNESS: Yes, I do not know how to                     4       But first I wan! to know why you want~ to
    5   hide money in offshore accounts,            11 :59:46           S do a report on Jene Parle and John Hanna.       12:0 I :41
    6   BY MR, BILLER:                                                  6      A I don't - I do11't remember. J don't
    7     Q You don't know how to move money around the                 7 rec11ll.
    8   country?                                                        8 Q You produced these,
    9      A I do npt know how to move money around the                 9    A Yeah. I don't remember.
   10   country.                         11 :59:53                     10    Q You produced these.                     12:01 :48
   11      Q What happened to the over $20 million that                11        Let's have this marked as No. 7, pkase.
   12   was invested in TW?                                            12        (fahibit 7 was marked for identificarion
    13       MR. BRAND; Objection; lack of foundation.            ~    13         by the court reporter.)
    14 BY MR. BILLER:                                                  14         MR. BILLER: Did you get 4, Paula?
    IS    Q WhBt happened to the nearly S20 million         12:00:     I5         MS. THOMAS: Y eaJ\.                  12:02:08
    16 that was invested in TW between August 13. 2014 and              16        MR, BILLER: Okay.
    17 November 2nd, 2016? What happened to that money?                17         MS. THOMAS: I was just pointing it out so
    18       MR. BRAND: Objection; lacks foundation.                   18    you know what it is.
    19 BY MR. BILLER:                                                  19    BY MR. BILLER:
    20 Q Youcananswerthequestion,                       12:00:22       20      Q WhatisExhibitNo. 7,sir?              12:02:.20
   21 A Well, obviously I'm not at the corporation.                    21      A    rrs a _repon, I would think, by Robert
    22 but it was used for overhead, which there was-quite             22 Snidennan.
   ·23 a bit. So it's used for payroll. It was used lo              23 Q Okay, And do you know why he prepared this
    24 pay back quite a bit of debt· that P dub -- PDTW had.        24 report?
    25 It was used to pay for inventory:               12:00:43     25 A l - l don't recall.         12:02:34
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    I      Q o~. you don't recall?                                                            A I don't know. I don't -
    2      A No, I don't n:call.                                                       2      Q What did-
    3      Q Okay. Do--do-you know whoJ\e is?                                          3      A -remember.
    4      A No, I don't know who he is,                                               4      Q - you do on it?
    5      Q Did you ever read this repon?            12:02:39                         5      A Thdmgation committee was n:lated to              12:05:07
    6      A, I believe I did.                                                         6 Paula's - I believe it was n:lated to the lawsuit
    7      Q Okay, When did you·read it?                                               7 that Paula had filed.
    8      A Sometime after receiving it.                                              .8     Q Okay. That·~ what you 54y. Let's see what
    9      Q Okay. And so why is Jene Park still                                       9 you ssy oow.
   10    employed at TW?                         12:02:53                             I()         MR. BRAND: Objection; argumentative.
  111      A 1 don't know.                          ·                                 II          MR, BILLER: Lefs have the rn:xl document
   12      Q r mean, you have the power -- Stephen Choi                               12 marked as Exhibit 8.
   13    has the power to fi,:e her, doesn't he?                                      Il          <Exhibit 8 was marlccd for identification
   14      A I -- I don't know.                                                       14     by the court rep,ortcr.)
   15      Q You don't know ifhe has the power- to fire 12:03:01                      15 BY MR. BILLER:                                  12:05:45
    16 her? Is that what you said?                           16                               Q    Tum to the Jhird page, plea5e. "This is an
    17 A (don't•· I don't know what the sbucture             17                             e-mail from David Schnider 10 Hanle, the a~untant.
    18 was at that time.                                     18                             Read thauo yourself, please.
    19 Q No. I'm talking. about in 2016 or 2017 or           19                                   (Wimess complies.).
    20 2018.                           12:03:11              20                                   THE WITN~: Okay, yes.                         12:06:06
    21 A Uh-hmm.                                             21                                   MR. BRAND: The last line is    alittle cut
   ·22 Q Stephen Choi has the power to 'fire Jene            22                             off. Do you have a •·
    23 Park, correcl?                                        23                                   MR- BILLER: The la.st -
    24 A I - I believe so,                                   24                                   MR. BRANO: -cleaner -
    25 Q Ok~y. But you fired John Hanna. com:ct?   12:03; I. 25                                   MR. BILLER You know what, 1-                    12.06, 12
                                                                          Page 10~                                                                        Page 104

               MR. BRAND: Objection, m11sta1cs prior                                             MR. BRAND: - copy?
    2 tesumony. lac!: of foundauon                                                     2         MR. BILLER: - don't. Yeah.
    3· BY MR. BILLER                                                                    3    Q So let's - you were the head •· r,ou were
    4.     Q    John Hanna .was temunated from T - TW,                                  4 the contact person for the accountant, right?
    S corm.:r1                                 12:03.30                                 'S    A Yes.                              12:06:18
    -6     A    I believe so                                                             6 Q And there was an audit did-- done by this
    7      Q    Okay For what reason?                                                    7 accountant related to the allegations Jene Pilrk ·-
    8      A    1-- I don't know the exact details.                                      8 Jene Park and'John Hanna were $tealing money from.
    9      Q    Well, isn't II true that you h1ml u •· you                               9 the company, nght?
    10 wc;n: put on the litigabon committee?                  12:0l:42                 10 A Based off of the complajnt that you guys 12:06:30
    II     A    Yes, but that was not rel - that was                                   11 presented.
    12 related 10 the Pau_
                         ta - Paula's lawsuit                                          12 Q I didn'tprcscnt·il
    13     Q Am I going lo have to stick a document m                                  13 A lt was based -· it was based on Paula's
    14 your fscc 10 get a stnigt11 answer?                                           1 l4 complaint.

    IS         MR. BRAND: Objection";- acgumentative.                12:03:58          IS Q I know. That's what it says,                  12:06:38
    16         MR. BILLER: You know, I videotape very few                              16 A Yeah.
    17 depositions, very few. but rm glad I did on this                                17 Q Did you do an audit?
    18 one                                                                             18 A Yes, there was an audit done.based on that
    19         MR. BRAND. Objection; argumentative                                     19 complaint.
    20         MR . BILLER: I'm not-talking to anybody but 12:04:26                    20, Q Anet what -- what was - what was the                12:06:44
   .21 myself.                                                                         21 results of the audit?
    22 Q Do you remember being put on a litigation                                     22 A That they didn't see any wrongdoing.
    23 comm,nee?                                                                       23 Q And did yo.u produce that audit?
    24     A Yes                                                                       24 A No. I •· I don't have a copy of ii.
    25     Q How long were you on. 1t1                       12:04   ss                25 Q You don't have II copy of th_e ;i.udin             12:06:53
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         A    No, I don'l have a copy.                                                     I before?
   2     Q You we~ a membcr of the litigation                                              2   A Do I remember·seefng !his document?
   3 ,;ommiru:e and you don't jiavc a copy of lhc audit?                                   3 Q Yes, Exhibit 8.
   4          MR. BRAND. Asked and ans~.                                                   4   A l believe so.
   5 BY MR. BILLER.                                       12.07.01                         5 Q Okay. Would this be-· this be one of the 12:09:06
   6     Q    Is ,that right?                                                              6 documents that would - that you received and that
   '1    A    Y cab, I don't have a copy ofit.                                             7 you sllll liave but have not.produced?
   8     Q Do you have copies of anyuung regarding                                         8   A Possibly, yes.
    9 the work done by the Utjgatlon committee?                                            9    Q    So Exhibit No. 8 is an e-mail regarding the
   10 A I mean. I'm guesst11g we have e•matls.                    12:01':I I               10 retention ofan accountant to do an audit. And     12:09:27
   11    Q Okay. Did you produce those e-mails?                                            11 Exhibit No. 7 is a rq,ort done on the performance
   12    A I don't know I think it was •· David was                                        12 o(-- for Jene Par.k and John Hanna; yet; you and
   13 Jlilrl ofi~                                                                          13 Choi and Kuo continued to allow them to work at TW,
   14'   Q In 2016- or- yeah, 2016.you wen: not                                            14        Why 1s lhat?
   15 even amembcrof1W. were you?                                 12:01:33                 15. A I think ~re was lwo -- we.II, we needed' 12:09:55
   16    A     Yes. I was-a member                                                         16 someone to nm the company, and so --1 mean. again.
   17   Q You 1ransfcm:d your interest and owner-                                          I 7 I don't. • I doat remember why this report was
   18 units to your dummy corporation, DBSR (sic); didn't                                  18 created. And we needed to have somebody run the
   19 you?                                                                                 19 company.
   2Q         MR. BRAND: Objection: argumentative.                   12:07:48              20 Q Don't you have any e-mails regarding lh:is                  12: I 0: 14
   21 Objection: "lischarecterizes the nature of the                                       21 report, Exhibit 7?
   ].2 business.                                                                           22 A I do not know.
   23         THE WITNESS: DSRB 15 not a.dummy                                             23 Q WelT, you produced the report, Shouldn't
   24 CO!JXJralipn, It's a famity·L LC.                                                    24 you ha.ve an e-mail or some type ofletter regarding
   2S BY MR. BILLER:                                      12:07:59                         25 the rq,ort?                          l2: I 0:29
                                                                             Pa11e 106 I                                                                    Pa11e 108

         Q     Okay.                                                                        I   A I mean, possibly, yes.
    2    A So I transferred -                                                               2   Q Okay,
    3    Q     Whal does 11 do?                                                             3   A I don't know.
    4    A     It owns · ·   11 owns my   m·1c:res1 m these:                                4   Q W1Il you produce that?
    5 companies·a,s well                                1~08.06                             5     MR J3RAND, We can discuss what he v,,ill or 12-10.36
    6    Q So 1t doesn't do Liqythmg? It dOC$n"I                                            6 won't produce later
    i manufacture anything:>                                                                7       MR BILLER Okay
    8     A    Yeah. yeah, lldoesn'I ma.nufac~ It"s 11                                      8    Q Now ~ now, that's in l)ec:cmbcr end m
    9 holding company                                                                       .9 January. December 2015'and January 2016 You get an
   10    Q Oh, okay                                   12,08: 13                            10 e-mail from Stephen Choi_                       12, II :0.1
   ll     A    Yeah. so                                                                    11       Let's mark this a.s Exchibi! No. 9,
   12     Q So··                                                                           12       (Exhibit 9 was marked for identification
   13     A I - I don'l know why you're calling it a                                       13       by the coun rcponer.)
   14 dum my corporation. That'~ -- il)at's -- iha1- it's                                  14 BY MR BILLeR:
   IS a holdilJ& company. You·constantly use that tenn.               12:08:22             15   Q ljust-•wejustmarlced-oh.sony.                  12:11:33
   16 That's why it's co11fusin1.                                                          16       We jwt misled for idcn!ificahon E1th1bit
   17         MR. BILLER: Move to strike cv~1ng yi>u                                       17 No. 9, which is an e-mail from Stephen Choi to Anna

   1-8 just sa.id.                                                                         18 Bcnnen (sic), cc'd 10 Doug Lee
   19         MR BRAND Can you be a little more                                            19      Would you plca:;e read 1M subslllll<:c of lite
   20 spe,:Llic about what you're movmg to 51!'1ke?                 12,os 36               20 e-mail ,nto .the record.                  12; 1I 45
   21         MR. BILLER: Yeah, cverythmg he said                                          21       MR. BRAND I •· I'm s«ry., you sa'1d
   22 aftC1' - after my q11C$tion.                                                         22 loAJina-
   23         MR. BRAND: Okay.                                                             23       MR. BILLER. Barnett - Bam:rt.
   24. BY MR. BILLER:                                                                      24 B A R R - ·am I looking - I'm looking al one -
   25·    -Q Do you remember seeing this Exhibit 8                   12:08·44        25 1hc wrong one                                     12' II"53
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                MR. BRAND: Yeah. I don't tl)ink we're                                    I performing horribly at - al their jobs.
    2 looking at tl)e same ooc. This is what you provided                              2         My question to you is: Why didn't you guys
    3 me (indiating).                                                                   3 fire them and hire new people?
    4           MR. BILLER; YCllb. I'm :.any, you're                                    4 A So, first of all, I guess in regards to the
    S right. Stephen Choi to Doug Lee.                        12.12.03                  5 allegations, or whatever, of them stealing, So, yo.u 12: 14:l
    6     Q Would you read the substance of that                                        6 know, we - the repons sho\1£ there was nothing about
    7 e-mail, please                                                                    7 that.
    8     A "John" coming over th1~                                                     8        Second, m regards to the - I guess I'm
    9           mom.mg,but-rm very womed                                                9 not exactly sure of the characterization of this
   IO           aboutthc futun: of this company   ff         12· 12: Is·               IO e-mail, but this e-mail was more about the future 12: 14:5
   II     Q And 1heo you cause that - you cause                                        J I projections of the company and the .financial -
   12 Stephen to wntr. thal e-mail What were you              what                     12        {Simultaneous talking.)
   13 did you send htm to cailSc him to be womcdor very                                13 Q Where - where does -·
   14 womed ~bout the futun: of this CC?fTlpany?                                       l4 A ~ issues ~ t --
   15           MR. BRAND: ObJecnon; lacks foundation.               12:12,26          15     Q •• itsay-                          12:14:55
   16 mischaracteri?.es this exhibit I'm no1 sun: what                                 16     A   - they state.
   17 you mean by "you caused."                                                        17     Q - that? Where does il'Say that?
   18           MR BILLER Okay                                                         18    A "Sendmg you updated cash flow projection
   19      Q Did you ualk 10 Stephen about this e-ma,19                                19 for your review and reference." That -
   20      A      I ·· I don't m:a]I,                  12:12:42.                       20 Q What -                               12:15:02
   21      Q      Did you talk to him about the sut»tancc of                           21    A That's what this e-mail -- that's what this
   •22 the e-m.ail at any lime?                                                        22 e-mail was about,
   23   A I think the -- the -- the e•llljli) was from                                 23    Q And you say he's very concerned about the
   24 Meldy. telling Stephen here an: tl)c cash flow                                   24 future ofthi: comp_any.
   25 pniJecaons, so on aoo. so forth And h1S response 12' 12..S-7                     25 A Yeah. He's)Vor-he'swoniedaboutlhe 1_2:15:09
                                                                           Page 110               ________                                      Page 112

     l   W1\S   that he was worri~d:about it.                                               numbers. He was •· it's always about the numbers.
     2     Q And you never ualked to him aboul that?                                    2 He wonied about how much -
     3     A Did I - did we talk about ii? I don't                                      3     Q ls it?
     4 n:mcmbcr.                                                                        4    A - more •· yeah.
     S     Q      Okay So you have- we now have an e-mail 12 13:09                      5     Q   l•want you to remember that.            12:15:14
     6 from Stephen Choi on N11vetDber 5 expressi(\g his                                 6 A Yeah. He was worried about how. much more
    "I cQllCem tha1 he's very womcd about the future of                                  7 money he would have lo pul into the company. Tha't's
     fl this company                                                                     8 what •· that's whai he meant by "l was very worried
     9           Then ther't:'s an accountant retained to look                           9 about the future ofthe company." He thought
    10 al the books bctau.sc o(allcga11ons ohtealing 12:13.27                          10 that-·                                12;15;24
    II money from TW in December 2015. And then we get a                               11        MR. BILLER; Move to strike.
    12 report regarding two officers left m the eomRl!IY,                              12 Q You don't know what he thought.
    13 in Jamwy 2016. which rcw lilte lhe worst                                        13        So why was John Hanna fired?
    14 employees ever liired by apy company,                                           14 A It was - I mean, obviously there was
    15           So·why did you not replace these people?          12il3:50            15 discussion about his role. And 1 think at that     I 2: 15:45
    16           MR. BRANO: Objection as faras the                                     l 6 point - I mean, Stephen had put in a trc:mendous
    17 characterization of this doctimcnt.                                             .17 amount of money. He wasn't seeing whal the changes
    l8           MR. Bill.ER: Read ii                                                  18 were going to be or he didn't see that the company
    19      THE WlTNESS: I - I thfok the - the -                                        19 was improving.
    20 repeal the question again. Is i1 why we were not - 12:14:04                     iZO       And John wanted still more money from          12:16:01
    21 BY MR. BILLER;                                                                  21 Stephen, and ;15 a result he fell uncomfortable
    22 Q You have three straight months of setting                                     22 continuing with it.
    23 bad infonnauon about TW; one, n:ganling                                         23       Jene - Jene was willing to take over and
    24 1is •• the money. two, reganling po1en11al thieves,                             24. help out and ~he was willing to kind of cut the
    25 and, three, regarding your officers and d1n:c1ors- 12 l4al 7                    25 costs associated with it dramatically ·and try to   12: l6:23

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    I kind ofmaintain the company.                                                   MR. BRAND: How is 1h11 non~ns1vc?
    2         And so I think out of the two options lte                    2         MR. BILLER. Bccau5C he d~n•t have the
    3 thought that it'd be more prudent to take the more                   J foundation to t.alJc about that.
    4 ,;:onservative approach.                                             4         MR. BRAND: He was answering your question.
    5         John was still trying to build it out. You 12: 16738         S         MR. BILLER: No. he wasn't answering my           12: 18: 16
    6 k.now1 his expenses still were quite high, so I think                6 q~tioo. He' s giving a d~honcst'Statemcni based
    7 that - I think that's kind of the process of tlte                    7 on what he thinks will make him look good and not
    8 determination.                                                       8 make him part of the money laundering scheme !Ml
    9 Q So he wanted to stol? putting money into the                       9 wasgoingon.
   10 c;ompany?                                   12: 16:48             10           MR. ~RAND. l'llobjcc1101hatonthc           12:18:25
   11     A Oh, yeah. I mean, he'd put a tremendous                     11 basis ·of misstating his testimony -
   12 amount of money in the company, yes.                              12           MR. BILLER: Okay.
   13 Q But did he want to stop when he fired John                      13           MR. BRAl'JD -- and lack of -
   14 Hanna and see what Jene Park can do with it?                      14 BY MR. BILLi:;R:
   15 A Hewantcd --Jertewaswillingto-lhought 12:16:51                   IS Q Wcrcyou-                                 12.183i
   16 ~he needed, like, substantially less money, a                     16           MR. BRAND - foundal!on
   I 7 lot, lot less money.                                             17 BY MR. BILLER.
   18 Q Why did Jolin -- wlty d.id Stephen Park give                    18      Q .... one of lh~dnuns on the company,
   I 9 her five million?                                                19 Mr. -- Mr. L,:,c?
   20 A 1 don't believe Stephen gave her                   12:17:07     20      A No                                12 18 36
   21 $5 million.                                                       2J           MR. BILL.:ER We're on number•- No .11
   22 Q You don't believe that?                                         22 (sic). please
   23 A No. After she took over, no.                                    23        (Exh1b11 10 was marked. for Klent1fiClltu>n
   24 Q YQu know. you're right. It was 5,6.                             ·24    by the court (9)0rter )
   25 That's what he gave her. And we'll get lo those.        121)7·.18 15 BY MR. BILLER.                                 12;18,4-0
                                                             Page 114

             He gave her $5.6 million from June- from                    Q You w~n•t one of the drains on the
     2 May 2016. to No.vember2016. Didn't you know that?            2 company?
     3       Did you know that, sit?                                3 A No.
     4. A No, I did not know -                                      4    Q Hmm.

     5    Q How could you --                      12:17:31          5        MS. THOMAS; Hey, Di, Sony,canwcjust 12:18:44
     6    A - it was that much.                                     6  take a  break for one sc<;ond? I just need to talk
     7 Q - not know that Stephen Choi investe.d                     7 !0-
     8 another $5.6 million into this company in that time           8        MR.. BILLER: l'lot right now, Paula.
     9 frame? How could you not know that?                           9        MS. THOMAS: Sony?
    10 A Because I was not -· we were not involved 12:17:-d 10                MR. BILLER: Not right now.                  12:{8:SI
    11 in the decision-making process of how Stephen was           ll         MS. THOMAS: Okay. Go ah<ad.

    12 going to put -- invest the money.                           12         M~ BRAND: Will thi•-bc: Exhibit 10.?

    13    Q Okay.                                                  13         MR B!LLE.R: Yeah. it's Ediibit 10.
    14 A We had - we had •• WC - we were not                       14 Q Why don't yoµ read Exhibit IOint1> the
    15 invo!ved in any of the - the actual money         12: 17:51 15 record, ftom wl\o - from who •· from who is this          12:19:26
    16 transactions that were Involved. That was Stephen.          l 6 from,   to - to and the substance.
    17 Stephen made those dccis101\$.                              17        ·(Wit~ss complies.)
    I 8 Q Okay. So where did that money go? Qo you                         18         THE. WITNESS: Okay.
    19 know?                                                               19 8Y-MR BILLER:
    20 A Again, try lo -- inventory, build the     12:18:00                20    Q Rud,t.                     f2: 19:.35
    21 compB1Jy.                                                           21    A "Why are you guys·on TW payroll?"
    22      MR. BILLER: Oh •.                                              22    Q     Why?
    23     THE WITNESS: There was debt.                                    23     A Thosewtre those th= payments that we.
    24      MR. BILLER; Move lo stnke.                                     24 received, tl\c consulting payments.
    25 Nonresponstve.                        12:18:09                      25 Q Why were you on the payroll, !hough?               12: 19.43
                                                              Page 11s l                                                                   Page I l 7

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    I.   A        Well, I mean, she - she made a mistake and                         I         THE WITNESS: PD · ·
    2 ihe should have pul it in consulting, so...                                    2         MR. BRAND: - that document.
    3    Q No. You were paid - you were supposed io                                 3          THE WITNESS: P - TW was created forthc
    4 be paid by TT - PDTW, not TW. Where's the mistake?                            4 purpose of the money that wa. going to come: in an.d
    5 The mi51ake is yours.               12: 19:58                                  S then start this new- stait -• slllft the new             12:21:50
    6    A        No, we were nor supposed to be paid by                            6 enlity.
    7 PDTW, b«ause TW was the entity that was running the                           7 BY MR. BILLER:
    8 company and we were helping - TW was a new company                            8      Q       And when was that'.>
    9 that   Wll5   created, that was a operational coml>'fty.                      9      A       I believe it wa.s sometime i n •• well,. I
   IO            PDTW at lhat,poinl wll5 not opei:ationaL        12:20:J 0          10 don't know euctly wlieo the money came in but it               12:21:56
   11 Evcrytjling was.moved ID TW to be the operational                             11 s\;uted sometime in the fall.
   12 compmy.                                                                       12     Q Fall of20l4?
   13    .Q Sir, you signed - you signed the binding                                13     A YC3h,
   14 term agreement on May 27, 2014.                                               14          MR. BILLER: Okay. Let's take a break.
   I5            MR. BRAND: Objection; lack of foundation. 12:20:21                 IS two-minute bmilc.                        12:22: 11
   16 BY MR. BILLER:                                                                16         THE VIDEOGRAPHER: Going otTthc record at
   17 Q You -- I'll get there.                                                      17 12:22 P.M.
   18     You cul the ~I with Paula _in July 2014,                                  18      (Recess.)
   19 so that money that you claim was consulting fees                              1.9         TijE VIDEOGRAPHER: Going wck OR the re<:ord
   20 should have J>een paid by PDTW. not by TW.                     12:20:37       20 at 12:2S P.M.                                   12 25,33
   21            Do you understand?                                                 21          MR. BILLER Let's have the next document
   22     A No, but the -· the plan at\a'. 1ha1 was that                            22 mariced as -· (2?
   23 a flCW entity Wll.5 going IO be created. and TW wa5                           23      THE REPORTER 11
   24 gotni to be cn:atcd. TW was going 10 be funded, and                           24          MR BILLER l l


                                                                                                                                                                      .
   25 as a ~ull of 11 ihai's the operational company.            12 :20 SI          25          (Exhibu 11 was ma:tr.ed for 1den1Jficati on       12 i6:0S
                                                                         Page 118                                                                          Page 120
  ,---                                                                                                                       - -------
        Q Whcn:'s ihe document that says your - your                                 I       by the court reporter,)
    2 consulting fees an:·going to be paid by TW? When:                              2 BY MR. BILLER:
    3 is it?                                                                        ·3 Q P.leasc read Exhibit No. 11. That's the
    4        MR. BRAND: Objection: argµmenl.itive.                                   4 binding te:rm sheet.

    S BY MR. BIUER:                           12:21 :02                              5      ( Witness complies.)             12:26:15
    6 Q Is there a document that says consulting·                                    6      TiiE WITNESS: Okay.
    7 fees will be paid by TW?                                                       7 BY MR. BTL.LER.;
    8    A 11\c:rewas - no, there Wll.5 no documei,t that                            8      Q       Have you read EKhibit 11?
    9 statcd-                                                                        9      A Yes.
    10    Q And ii wasn't in the binding agi:eement, was 12:21:12                   10      Q Who's the eontuct b.ctween?                  12:27:01
    11 it? Binding term.agreement. it wasn't in diert. wa.s                         11      A 'PDTW and the consultants.
    12 i1?                                                                          12      Q Does this contract say anything about a
    13    A       lt wssn'.t ~pccified who WAS goini to pay                         13    specific deal s_tructure·when PD1W was going to stop
    14 forit..                                                                      (4    doing business and TW will start doing business?
    IS Q Olcay, Bui you were con1rac_1ing with PDTW. 12:21:20                       15      A No, we couldn't- we<iidn't -· we              12:27:22
    16 right?                                                                       16    couldn't, you know. ,think about that.at that point.
    17   A PDTW wa. not operational at that point.                                  17    We didn't know what the-structure was going to be.
    18   Q That's not true, sir-. In May of 2014 it                                 18      Q Was this agreement signed on May 27th,
    19 was completely operational.                                                  19 20147
    20      You cannot sit here 1111d make sniff up, make 12:21:33                  10 A Yeah, l'beli_c vc sci.            12:27:33
    2 I fuc~ up and pn: tend th.at they'rt lt\lC -                                  21   Q 0kay. Both you.and Roger signed, coTTC:Ct?
    22            MR. BRAND: Objection -                                            22      A        Yes.
    23 BV MR. BILLER:                                                               23      Q        And do you recognize the chainnan of PDTW?
    24       Q     -okay?                                                           24         A Yes.
    25            MR BRAND - argwnentadve Look at .. l.2;21.42      25                         Q     So at this point in time what did you know 12:27:4S1
                                                           Page L19                                                                                        Page 121

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 1.   BY MR. BILLER:

 2              Q         Can the QuickBooks be verified without
 3    checking all the backup data?
 4              MR. PEDDIE:         Objection, calls for speculation
 5    and hypothetical.
 6              THE WITNESS:          You can generate report and
 7    verify with backup data.
 8    BY   MR. BILLE:R:

 9              Q         You need the backup documents to verify
10    what data is being spit out of QuickBooks; right?
11              A         Yes .
12              Q         Because when you input the information,
13    you have that backup data; right?

14              A         Source documents, yes .
15              Q         And you're the one who makes sure it's
16    accurate; correct?

17              A         Yes.

18              Q         And if a third party wanted to do an
19    audit, that third party couldn't do an .audit without
20    the backup documents; correct?
21              A         Yes.
22              MR. PEDDIE:         You were asking about financial
23    statements.       They are generated by QuickBooks.
24              MR . BILLER:        You know what, Richard, don't
25    treat me like a fool.            Okay.       You know -- you tell i t


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          A I believe it was Roger.                                              I want it like this" or whatever.
     2 Q Okay, When did you talk to Stephen about                                2         And so - yeah, so that's it. That --
     3 investmg m the new tompany?                                               3 that's -- that's what ( recall.
     4 A l mean, sometune thereafter. l think it                                 4 Q How d1d you communicate with Stephen during
     5 was- I think there was an e•mail that went out m                          5 1J11s time?                             12:33:5-S
     6 regards lo it and then at some point Stephen ~me                          6 A E1ther through e-mail or, you lcnow.
     1 out and met with the team,                                                7 possibly a phone call, but •·
     8 Q Okay. What team?                                                        8    Q Did you produce those e-mails?
     9 A The T dub - TW.                                                         9 A ( believe-so, yes.
    10 Q Okay.                                12:32.16                       IO    Q You beheve you produced those e-mails in 12:34: I
    11 A So it would be the-·                                                11 tlns lime lnmc -·
    12    Q When was that?                                                   12 A Yes,
    13 A I don't remem\.le:r the exact date.                                 13 Q •· of201.4?
    14 Q I don't want the cx11ct dat.c I want an                             14 A Yeah.
    15 estimate.                             12:32:24                        I5    Q Regarding lhe deal structure?               12:34:20
    16 A Ah. I don't know. Sometime - .I don't                               16 A Yeah Yeah.
    17 know.                                                                 17 Q Now, ho.w long did you thmk the -- what did
    18 Q Soyou -                                                             L8 you th1nk your compensa.uon was .going to be for Ibis
    19 A I'm guessing sometime•· yeah, r don't                               19 binding tern, agreement'?
    20 mne_mbcr.                               12:32:30                      20 A I mean, it states we would get- we would 12:34:33
   21     Q You don't remember the date Stephen Choi.                        21 get an equity piece into the company and then we
    22 came out to meet with the team at -                                   22 would have - we would come aboard and, you know.
    23 A No, I don't ··                                                      23 have a - kind of a real role, advisory role in the
  1
   24 Q ~· Paula Thomas?                                                     24 company to help the- to help them. And l think it
    25 A No, I don't remember.                      12:32 .36
                                                                  Page 126
                                                                             I
                                                                             25 was for a llme frame.                       12:34:56
                                                                                                                                                  Page 128

          Q   Wu 11 1n the summer>                                               I   Q    What time frame?
     2   A I mean. I believe so, but I •· I couldn'1                             2   A It says here, I t!iinJc, for IWO years.
     3 ten you the exact ume foune                                               3   Q And how much mooey WCl'C you supposed to
     4 Q Was. II before or after you made the- !he                               4 reee1ve for lhesc servkcs?
     S overtures to do an investment?          12:32.44                          s   A 16,000 a month"                           12:35:03
     6   A Repeat dull que-.tion. I don't u~tand                                 6   Q    Forhowmany moaths?
     7 your quesuon.                                                             1   A    For rwo years.
     8    Q Did Steve - S~h(:n ChQ1 come out to n1£et                            8   Q  Two years
     9 the team bcfon, there w.u an acceptable agn:ement in                   9 A Yeah,
    to plate. or aft~                        12.32 59                        10 Q And how muth money did you actu111ly                      12:35:08
    11   A t 1!11nk Stephen Chor c:.,rnc out We                              11 r,;c;c1ve?
    12 explained - we explained 1he deal, and then after                     12      A    We rece!Ved S 18.000, We received It for
    i) that he came out.. but ,t wasn't -- so we explained                   IJ three months
    14 to him the deal, and lhc.n ef - sometime thCTC11fter                  14      Q Why did you only rea:ive it for three
    IS he came ou1,to see if this is someth111i he wanted to 12:33: 14       IS months and not two ycus?                           12:35. 17
    16 do.                                                                   16      A    Be<:aU,SC it was very ,tear that there was
    17 Q Okay, Wbat did you c~plain to him the deal                          IT nO! - the company's perfomumce wasn'I going lo be
    18 was?                                                                  18 able 10 afford our consulting fees
    19'   A I mean, I don't •· I don't remember the                          19 Q ~o yoo knew or 11 IVM known befo!'C April
                         . 1 was - that w» d1sC11SScd. I 12.;·33·2$
   20 exai:I deal terms Iha                                                  20 2014 that the company was not aomg to be able to             12.35,34
   21 1hink John had said something llboul genmtlly what                     21 afford you, nght?
  1· 22the d.eal terms were going 10 be,                                     22      A    No.
    23        I think We forwarded it off to S1ephen and                     23      Q Whc:n did you get paid?
    24 then, you know - I don't remember ifStephen had                       24      A We &otpaid 1n 201S.
    25 any comments OT came back and said, "Oh, yoo know, I 12 33:43         25      Q OlcJly, 101 S. What did I say?                  12:35,44
  1                                                         Page 127                                                             _ __ __P_age ~

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   ~         You said in 2014 we knew ttus.                                   A No, it's not. This is the e•mail
    2 Q Okay. I'm SOIT)'.                                     2            telling me -
    3       You knew before April 20 IS the company           3               Q First you sign a binding tenn a~mcnt,
    4 wasn't going to be able to a!Tord your services?        4            then go find the investor, then m_ake the o!Tcr,                   I
    5   A Yes. Ycah.                           12.;35:56      5            okay. Then - then you go ahead and sign.               12:38:53
    6 Q I'm going to hand you the next document.              6               A No. no, no. You'i:e -
    7       Let's mark 11 as Exhibit No. 12. which is         7                  (Simultaneous talking. unrcportable.)
    8 an c--ma1l from Adam (sic) Apfelberg ro John Ha:nna     8                  MR. BRANO: Objection -
    9 forwardmg an e-matl (rom you.                           9                  THE WITNESS: - you're totally
   10



   13
            MR. BRAND: I'm sorTy, It's from Hanna to 12:36:Stl0

   :~ Apfel~.BILLER: Yeah
            MR. BRAND; Okay l thought you had said
   14 11 reverse.
                                                               j ~~
                                                                     13
                                                                     14
                                                                                 :::=~::
                                                                           misstating-

                                                                                                  ~~;~mentative -
                                                                                 MR. BILLER: Okay. All right.
                                                                                 MR. BRAND: Objection; misstates -
                                                                                                                   12:38:57




   15       MR BILLER: I'm dyslex.1c. so I may have 12:37:           IS          MR. BILLER: Whatever.                      12:38:59
   16 done that.                                                     16          MR. BRANO: - the evidence.
   17       MR. BRAND: Okay.                                         17          MR. BILLER: Okay.
   18       TI{E ~ S S: Am l supPOsed fo look at this                 18         TIIE WITNESS: This is the e-majl that
   19 OflC, or look at the ,-                                         19   describes, hey, this is the structure that we want
   20       MR. _BRAND: No.                      12:37.29           ' 20   to ~t up. This is our goal. Our goal is to find 12:39:03
   21       THE REPORTER· You have to give me a chance                21   you $5.5 million. We Jtt a percentage and, you
   22 to stop writmg and get my hands off the keys -                  22   koow, whatev~, the•· the consulting fee.
   23       THE WITNESS: Okay.                                        23         Do you want 10 go forward; do you not wlint
   24       THE REPORTER: - and mark the exhibit,                    24    to go forward. And that was the stn.><:ture.
   25 please.                            12:37:3 1                   25          If you read th•~. this 1s the baslc - the 12:39: 19
                                                       Page   130                                                                 Page 132

    I       (Exlubit 12 was marked for identification                 1 language of the bmding term agreement So chis was
    2        by 1he 1;ourt reporter.)                                 2 the basis of the bindmg term a~eot.
    3       (Witness reviews document.)                               3 BY MR, B1.LLER
    4 BY Mlt. BILLER:                                                 4 Q S1r, rrn -
    S Q Do you see that•· the <!ate ofth1s e-mail 12.37:59            s      A    And then that's when we signed the bmdmg 12 39-.25
    6 that you sent - that you originally sent,                       6 term agreement -
    7 actually -                                                      7 Q Sir, I'm•·
    8 A Uh-hmm_                                                       8          (Simul1Jlne<>U$ tallnng )
    9 Q •· was May 16 to John Hanna giving him an                     9      A    - and thco -
   10 offer?                               12:38.10                  10      Q -goin110-                         12,39 28
   11       Do you see that?                                         ll      A - we, went to go look •·

   12 A YeS- 2014, yeah.                                             12      Q l'mgomgto -
   13 Q Why would you make him an offer when you                     13       A - for the money
   14 don't have your term - bind1ng·tcnn sheet signed               14       Q Then why does ii say this ,sour- "Thi.,
   15 and scaled? Why would you do that?               12.38:17      IS    bcinasald, l.hlsisourfinaloffei"~           12:39:31
   16 A What -- what arc you saying?                                 16       A That's telling him that 1fhc wan1s us to
   17 Q You signed the binding tenn sheet on May                     17    move forwvd, this 1s the deal lfhc doesn't want
   18 27th -                                                         18    to move forward ~
   19 A Yeah.                                                        19       Q Where -
   20 Q - 2014?                               12:38:30               20       l\ - then it won'\ - we won't •·         12 39 )8
   21    A   Uh-hmm.                                                 21      Q    Where IS··
   22  Q You sent hun llfl offer on May 16, 2014.                    22      A    - doit.
   23   A No. This was the o!Ter that was the •·                     23      Q- the binding term s~t agrecmenl
   24 what became the ba.s1s of the b1nd1ng term agreement.          24 mentioned tn this e•ma1I?
   25 Q That's backwards, sir. You koow it is. 12:38':44             25 A Thi - lh1s was - thlS IS nol - this ts 12-39.44
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      I just --· we were telling liim this is what we want oul                   I            <:omp.111y."
     2 of the deal, And then he - he•· he accepted it                            2            Did lhal ever happen? Did you ever get JS
     3 and that's why this document was created.                                J percent of Ille 'Company, sir'?
      4        I don't unders - what - what are you                             4     A        No. That'~ not fot me.
     5 talking about?                              12:39!56                      j    Q Ofi:ourse not. That's for Choi.                  12:41:07
     6 Q Obviously you're upset because you're                                  6     A Yeah
      7 !ymg,                                                                   1     Q Right,
      8 A No-                                                                    8   A So -·
     9         (Simultaneous t.a!k1ng. unreportable.)                            9   Q So who 1s this e-mail referring to,
    10     Q And you're·-                           12;40:01                    10 the-- the deal given to Choi or the deal given IQ 12:41:14
    11     A - .J'm not lyi ng. And you're -                                    II you?
    12         MR. BRAND: ObJect1on·-                                           f2    A That's for lhe investor who's going to come
    l 3 BY MR. BILLER:                                                          l;l in.
    14 Q Okay                                                                   14    Q Ol).okay Sothisdocumcnt-inyourmind
    15         MR. BRAND; - misstates the evidence.            12:40:02         l 5 llus document refen 10 lhe bindi!li 1enn lihect and          12:41 ~2J
    16 BY MR. BILLER:                                                           16 what the investor's willing to 'do. risht?
    17 Q So jµst calm down.                                                     17    A        Yeah, this is the goal -
    18     MR. BRAND: ObJection.                                                Ig    Q         ln your mmd.
    19     ntE WITNESS: N'o. you should ~aim down.                              19        A    Th.i s is a goal ofwhat we're IJ)'ing co get
    20     (Simultaneous talking.)         12:40:03                             20 for them end th,s ~ •• this is partly of what the:         E!:41 :33
    21 BY MR. BILLER                                                            21 binding renn agrccmenl is about
    72 Q No, calm down. Okay?                                                   22        Q    Okay..
    23     MR, BRAND: Do we need a break?                                       23            "Consulting_fees. ·we have been
    24     THE WITNESS: No. it's fine.                                          24            ruMing l!us1ni:sses fqr·ovcr 20 years
    25     MR. BRAND: Mmtates the evidence.        li:40:09                     25            ~nd bnng quite a bit o{ expeoen~            12:41:S7
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                                                                                      and expertise and all facets to
                                                                                                                                                                     l
     I Obje<:tion: acgu'mentative.
     2 BYMR. BILLER:                                                           2      running a business (slrategy,
     J    Q Let's read this together :;o I can emba=                           3      operations. legal, fi!lance, digital
     4 you. Quote --                                                           4      media, marketing).~
     ,5     M_R. BRAND: Objection; UiUmcnlli!ive,               12:40:17       s      Who is that for'!                    12:42:09
     6 BY MR. BILLER:                                                          6 A 'T'hat's for us,
     7    Q - "Hen, are answe,s to TW's questions                              7 Q Did you •· did you provide those ~rvices?
     8        and revised term sheet."                                         8 A Yeah, to a certain level we did jn lhe very
     9        Where's the originlli?                                           9 beginning.
    IO    A    It was stlll in e •• e-mail fommt.     12:40:25                JO Q What did you. do•for the $18,000?                12:42: I 8
    II    Q Where is it?                                                      II    A Oh, we were involved in various - like
    12    A    I don't know. J don't know.                                    12 multiple, multiple executive meetings.
    13    Q Do you have it'!                                                  13       We talked about whatever operational issues
    14    A I don't know.                                                     14 there might be. We were involved in the digital
    IS    Q Okay.                               12:40:31                      IS media website stuff when they wen: looking at          12:42;
    16        "l. Deal suucture,with investors.                               16 developing a new website, We were involved in
    17        In all deals we have - we uk for                                17 trying to help them with their marketing strategies.
    18        percen1qe ofcom •- of company                                   18 Q I suppose you have invoices for aU this
     19       before we bring in investon. •                                  19 work, don't you?
    20        Did I read lhat-corm:Ut!              12.:40:46                 20    A No, we - we didn't -- we didn't have to 12:42:47
    21    A    Yeah.                                                          21 provide the invoices. We·•· we wen: told that we
    22    Q Oby.                                                              22 would come and we would come multiple times in -- in
    21        "Goeh;. Our goel ~ to se(;Ure $5. S                             23 the very bcginnfog; and we were there quite a bit.
    24        million in cepiial for Thomu Wylde                              24 And we'd have executive meetings and we'd have
    25'       in recum for JS percent ofthe          12:40:57               ~ 25 various discussions about these -these •· these      12:4_3:00
                                                                 -   Page 13S
                                                                                     .- --------··-                               -------
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   l issues.                                                                            MR. BRAND: ObJeellon -



                                                                        1:
   2 Q Okay. So there's no -                                                            THE WITNESS -- question doesn't -
    3 A So we didn't -- we didn't -- we didn't                                          MR. BRANO: - argumcn1a11ve.
    4 invoice them directly. no.                                            4           THE WITNESS -- make any -"Cose
    5 Q Yeah. There's n.o way 10 track- track 12:43-:06                     S BY MR. BILLER:                                12:44. 18
    6 whether that $18,000 was re11lly spent for those                      6      Q. You know wl\111, keep on saym11 that You
    7 services, right? There's no way to connect the                        7 l{)Qk ,&TCcal. let me ask.y ou -
    8 $18,000 to the services you just o\lllaid other than                  8           MR. BRANO: ObJecMn, a.rgumcn1a1Jve
    9 your t~stimony, right?                                                9 BYM.R. BILLER:
   IO A No, I mean. there's.e-maif about -- talking 12:43:20                10 - is !here any way to trace the $1.8,000 12,44_:24
                                                                                   Q
   I J about marketing strategy, tarking about ·•                           TW gf!ve you l'O any services you performed for
                                                                            11   1ha1

   12 Q Where are those e-mails? Did you produce                    12 TW?
   13 'em?                                                          lj       MR. llRAND: ObJecllon, asked and answen:d,
   14 A Yeah~ I'd say I --yeah, I produced them.                    14       THE    Wl"TNESS.: I mean, there's - lhere's
   15 Q So everything - all the e-mails you              12:43:29   IS website information Iha.I w11:5 provided, !here was           12:44:36
   J6· .produced is an accumulation of the work you did for         16 marketina information lhnt was provided. And then
   17   TW?                                                         17 our being then: at 111£ varioia meetings and
   I8     A No, it's just part of it.                               18 dis.:ussing these difmen( lhings.
   19     Q No.                                                     19        So if that's • • if -- if you don'.1 think
   20      A We had conversations, loo.               12:43:37      20 that's enough, then no:                           12:44:48
   21      Q So there's no way to ttace back all of the             21 BYMR, BILLER:
   22   work you did for TW, to the S18,000, otllet than you(       22 Q And plus your testimony, right?
   23   testimony and the e-mails you produced, right?              23 A Yes.
   24         MR. BRAND: Objection; mis.states evidence.            24 Q So wmebody has to believe your 1esnmony
             MR. BCLLER:                            U:43:52         2S lo buy what you just said. n11ht7                     12.44, 54
                                                           Pagt 138                                                                      Paae 140
                                                                                                                 - ------
               Right?                                                        I              MR. BRAND~ Objection: argumentative.
    2      A I - I don't - r don't - 1 don't know how                        2 BY MR. BILLER:
    3   to answer that question·.                                  3 Q The jury will have to beheve you as a
    4      Q You really don't know how to answer the               4 witness in order to buy what you JUSt said, right?
    5   question?                             12:43:59             5 .A I believe that there's also e-m111ls and 12:45'.06
    6      A No. I don't understand.                               6 different things that we were at the meetings that
    7      Q Somebody from Dartt:nouth and UCLA Law                7 would show !hat we were there and we were -
    8   School? Let's ask it again, okay?                          8 Q Okay.
  I9          MR. BRAND: Objettion.                                9    A - involved In this stuff
   IO         (Simultaneous talking.)              12:44:03       10       MR. BILLER: Move to - move to·sltlkc,               12:45:J~
   11   BY MR. BILLER:                                            ll Nonresponsive.
   12     Q You koow how to trace funds~                          12 Q The jury .• the Jury will have to believe
   I3         MR. BRAND: Objection --                             13 you as a witness to actually believe that you were
   14   BY MR. BILLER:                                            14 paid S 18,000 for the se.rv,ces th.at you've testifi,ed..
   IS     Q You know how to-                                      15 Is that "yes," or is that "no"7                 12:45:29
   16         MR. BRAND: - argumentative.                         16       MR.   BRAND:      Objection~  calls for a legal
   17   B.Y MR. BILLER:                                           17 opinion.
   18      Q •· nace funds from - in the bank account             18 BY MR. BILLER:
   19   to services provided? Do you know how to do that?         19 Q You're a lawyei:. 1~ that a ''yes" or a
   20      A ( don't -- your question doesn't make any 12:44: I 0 20 "no"?                                   (2:45.36
   21   sen~-                                                     21    A No.
   22 Q No, you're saying it doesn't m,akc any sense                        22          Q    "No"?
   23 'cause you don't want to answer it.                                   23 A It's not just my testimony, na-
   24 A No. The-                                                            24 Q Oh, so you have 18 wortn - SI 8.000 worth
                                                                            25 of material that carr back you up'.l   I 2·45'.44
  12s___    <_S_im_u_11an
                      _ eous talking.)       12:44:16
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           A [ - I mean, I don't know what you mean by                   I   A During when?
      2 "matenal."                                                      2 Q Dunng the times you had the 1.;xecutive
      3    Q Likc:.mvo1ces and back'up work and rece1p.ts               3 meettngs.
     ·4 and, you know -                                                 4 A Like: for how long? For what time period?
      5    A Why would I have: receipts?                12 45:57        5    Q Aslongasyouwerebei.n gpaid.                12:47:45
      6 Q Because you're getting 18,000 - did you                       6 A Oh, during the time we were being paid?
      7 get a W-2 fonn? Did you gc:t a --                               7 Probably five, six meetings, I think.
      8       MR. BRAND: Objection. He's not answering                  8 Q Okay.
      9 tax questions.                                                  9 A ·I don't know,
     10       MR. BILLER. Okay,                       12.46:06         IO Q How much did you charge an hour?                 12:47:55
     II    Q How were you paid? Were you paid by cash?                 11    A I:m.not charging per hour. I don't - it
     12    A No. We were -- we were paid by eh«k                       12 was -- 11 was a deal tenn that was set up. There
     13    Q And who was paid, LaunchPad or you?                       13 was no hourly charges.
     14 A DSRB                                                         14       MR. BrLLER: Let me show you the next
     15 Q Oh, DSRB was paid?                           12r46; 14       I 5 dQCument in order, 13, I guess.              12:48: 12
    '16     A Yeah, the·~ the: entity that we moved 11                 16       (Exhibit 13 was marked for identification
     17 to.                                                            I1        by the court reporter.)
     18 Q Okay. So this is -· we're talking about,                     18 BY MR. BILLER:
     19 you know, you wc:re paid in the first three months of          19 Q Do you recognize Exhibit 13?
     20 December, you said. I mean, 2015,                 12:46:27     20       (Witness reviews document.}              12:49:02
     21       So DR -· OSRB became the owner someume                   21       THE W[TNESS: Okay.
     22 between January arnj March, right?                             22 BYMR. BILLER:
   I 23     A I don't know.                                            23 Q Okay. Did you negotiate these lenn~
     24 Q Okay. Do you have: - does DRSB (sic) have                    24 reflected in Exhibit 13 with John Hanna?
     25 an accounting?                            12:46:46             2S    A Did I negotiate these .terms'.'          12:49:36
                                                           Page 142                                                                      Page 144
                                   - --------
         A What do you mean, accounting.                                 I   Q    Yes
     2 Q Well, it received money, so it has bank                        '2   A Um--
     3 accounts, nght?                                                  3    Q Aftct -
     4      A Yes.                                                      4    A Pnor- pnor 10 p=nung 11 lo Paula?
     5      Q    Okay. So 1t issues bank statements, nght:? 12:46:53    S That's my questiot!                         12•49.43
     6       A Yes.                                                     6    Q    Yes.
     7      Q And those bank statements are sent to your                7    A    Possibly,
     8    home, your office via mail or v,a electromcally or            8    Q Okay. Did you and John Hanna ever nea1:h a11
     9    both, right?                                                  9 oral o~ent as to ihe lefrm ofthe deal?
    IO       A Yeah, l believe -- I believe-- yeah, I 12:47:06         10     A No. I mean - no. I think this had to be 12: 50·03
    11    believe so. I don't know tfit'os by mail or                  11 presented to Paula as well So I think we !\ad
    12    electronically,                                              12 aeneral deal lenns that WCl"C -
    13       Q Okay. And 11 shows the money that was                   13     Q   Who -
    14    depQS1ted in your account, right?                            14     A - prC$C11ted, And I lhink Stephen said,
   115       A Yes.                             12:47: 15              15 "Hey, this is What I'm comfortable with." And then 12 SO IS
   . I6      Q Was it by check or straight deposit that                16 I think John was involved 1n undc~tanding what
     17   you received the SI 8,,000?                                   17 Stepnen was.; and then I tlllnk thts was pn1sentcd to
     18      A I believe 11 was •· two of'em were checks                18 Paula after
     19   and one of'em was deposited through some - you                19    Q   Who did you thinkJohn Hanna w~? At 1tt1s
    20    know, elec1.ronically.                      12·47:27         20 time who did you think-he wu?                      12:50.31
    21       Q How many executiv!l me~tin-gs didyou·have.?             21         MR. BRAND Ql!jccllon. vague
    22       A l don't know.:                                          22 BY MR, BILLER
    23       Q You can't tell us?                                      23     Q Or who did he n:pn:scnl h1m:.elf to be?
    24       A I just don't remember.                                  Z4     A    Jolu! was -   he was saying that he was
             Q No. Give us an estimate.                  12:47:34      2S helping Paula and Jene find money and.h e was going           12,50,39
   125                                                      Page 143                                                                      Page l4S

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     I to be running the company. So the -- the new                            I wm: trying to liod !hat money so lha.1 ,I could be
    2 company was going to be formed with the new team                         2 provided to - lo T - T - PDTW so th,~ new entity
     3 with the - with the money                                               J could be formed. so.
     4    Q He -                                                               4 BY MR 8-ILLER
    5 A So thai's how he presented himself.                12:50:54            S     Q    Okay Soit'$53fe to11$sumcthatcvery          12:53. 19
    6 Q Did he presenl himselfas having binding                                6 entty under roniy •· I mean cqu11y at1d debt !hat
    7 authority with Paula for this deal?                                      7 Stephen Cho, agreed with?
     8    A No, oo. So at - at the end of the day                              8     A When - when lhlS - when tt wu presentcd1
    9 this snll needed to be approved by Paula.                                9
                                                                              1
                                                                                    Q     Yes.
   IO Q Paula's the one who would ullimately have 12:S I :O                   IO     A  I believe so. Yeah, a11h1s poinl, I 12:S:l:34
   11 to approve it. right?                                                   I I dunk, when we presented it 10 them. ygh,
   12. A Yeah, yeah.                                                          12 Q You presented this as Stephen Choi's ~nns
   13 Q Okay. Som this deal - I mean, I don't                                 13 ofan agreement, nght?
   14 want to go through the particulars, but this de.al 1s                   14     A Yeah Yes
   IS preny consistent with what weJust discussed            12:S I:23        IS    Q Okay. I mean. you wouldn't present              12:53:44
   16 earlier. But you talked to Stephen Choi about                           )6 sorocdnng thai was nOI ITUlhful, that Stephen Choi
   17 these •· these issues before you sent this e-mail'.>                    17 didn't w1111t, would you?
   18 A Oh, yi:ah. Yeah. This was, I think,                                   18   A I mean, yeah. To the best ofour
   19 something that •· well. I mean, if! -- I don't                          19 knowledge, yeah. this is.-· that's - what we were
   20 know. I mean, [ -- to the best of my m:ollection, 12:S I :43            20 prescntingwu 50mcth111g Stt:phen wanted, yt::r;.         12:.B :Ss
   2 l [ think that these were things that were discu$Sed,                    21    Q     Okay
   22 and so Stephen was okay with it. And so then that's                     22       MR BILLER, Let's go ahead and mad: the
   23 why it was presented, like, on behalf of Stephen.                       23 next doeumcnt 111 order as No 14
   24 Q So who were you representing? Were you                                24         (Exh1b1t 14 wu m:uted fOf 1dcn11ficauon
   25 representing Stephen Chol in this deal?              12~5 I :SS         2S          by the court reporter )           12.54 24
                                                                   Page 146                                                                    Page 148
                                                                                                                                           -      ---I
         A I fflQll, I - I Wai -1 11115 relaying ihe                                      MR. BILLER: Sony.
    2 message of what Stq,hen wanted. I WasTJ't                                2          MR. BRAND: Single page?
    3 tcchnicalJy - you know. I was just explaining what                       3       MR. BILLER: Yeah.
    4 the deal tetmS were going to be.                                         4    Q I just wanted to ask if you've ever seen
    5       Q   pay. My question IO you is: Who wcno you l 2:52:12             S this document before.                      12:54:30
    6 representing in the deal?                                                6          (Witness reviews dowment.)
    7       A I mean, I wasn't repnisenting anyone. I                          7          THE WITNESS: I don't - I don't reca.11.
    8 was uyin& U> - you know. I - I was explaining- -                         8 BY MR. BILLER:
    9 we - we-· pro - prov•- p~ted 1his deal to                                9     Q      Yeah. Okay. I just need to confinn that
   I0 Si.ephen and 1hcn - andon bis behalf we wrote this 12 S2,24             10          You can hand lh.al                    12:55;29
   l I e-,mad for him                                                         11          I'll mark the ne;,;t document as No. I 5.
   12     Q Okay And wt,o we~ you under contract with                         12          (Exh1b1t IS was madced for id.en1ifica1ion
   I) 10 make a deal like thl$~                                               13           by !he court reporter.)
   J4       A    We--lmean,wc - wewe,-e - wehild an                           14          (Witness reviews docum~t.)
   IS &gteffllent. 1   gu=. With PDTW 10 10 and find.you         12:S2:J9     I5 BY MR. BILLER:                                       12:56:34
   16 know. this is the deal teims. we're going to go out                     16     Q     You know, ifwe want to get through this
   l 7 and try to find financing, and w that's - that's                       17 quicker, the first page is j ust communication
   18 what happened.                                                          18   between Paula and her lawyer. The second page is
   19      -Q Okay Were yo11 protecting Paula Tho~ or                         19   your communication on Jan- July 9 to Paula.
   20 were you looking after Paula Tt:tomas' 1111er-es1. or    12·S2:S4       20          And lhe quC$tions I wanl to ask you     12:56:50
   21 w~ you jus1 serving as a pigeon between Choi and                        21   are - dated July 18th, Oavid Schnider 10 John Hanna
   22 Paula Thomas?                                                           22   that's then forwarded to you.
   .2.l         MR. BRAND: Objcc:don; argumentative.                          23     A     Ub-hmm. Okay.
                THE WITNESS: Well. we w~doing what we                         24     ~R, BRAND: Where does - where does it
          said under lite terms of the bl.llding •~menl. We 12 53 07          25 show that it was forwarded to•·     J 2:57: 18

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    I             MR. BILLER; I think it w~ forwan:led,                            I kmd oflhesll\lcturc of how it woold be serup,
    2     3150.                                                                    l        Q Okay Well, in my mind that's - just take
    3        MR. BRAND: l sec a copy of the e-mail.                                3 all -- ..ti up at the same time. Really? Isn't that
    4 don't see that it was forwarded.                                             4 rijhl?
    5 BY MR. BlLLER:                               l2'. 57.31                      S             MR. BRANO: Obj~tion; vagve.                     12:59:4 1
    6    Q Olcay. I want to. focus on the last                                     ~       BY MR. BILLER.
    7 paragraph or the -- yeah, the last two paragraphs of                         7        Q Shouldn't all that take place near or at
    8 t.hat July 9th -- July 18th e-mail.                                          8 ·lhe same time?
    9        Do you see that on the last page?                                     9        A     What - what should all take place at the
   10    A Oh, the last:two7                     12:57:44                         10 same furie?                                    12:59:49
   11    Q Yeah, where 11 says.                                                   I I· Q All !he doeumentS. all the - the legal
   12        "The above are the general pomts                                     12 documentS thal arc necessruy to (orm the company
   13        for your approval Once we get                                        13 should lake place - should be. you know. drafted
   14        this - once w~ g~t receive" (sic)                                    14 and signed before, you know, millions and millions
   IS        "your approval we would get lawyers           12:57:49               15 and millions and millions .a nd millions of doUan             12:S9:S8
   16             to draft legal documents,
                                          Funds                                   16 are flooded into the com{lllny, right?
   17         would be deployed once the documents                                17             MR. BRAND: Objection; calls ,f oca legal
   18         are c~ecured. We look forward to                                    I8 concl11Sion,
   19         working iogetner to -- in building                                  19       THE WITNESS: Well. I - ideally the.
   20        TW into a highly valuable luxury       12:58:09                      20 documents would be created, but l do "". I do recall I:3:00:09
   2I         brand. If you have any questions,                                   21 that they were undc. a lot of financialstn::ss at
   22         please do not hesitate lo a,sk."                                    22 chat poin1.
   23         Do you see that?                                                    2)             So, I mean, again, that - that - thal
   24       A Uh-hmm.                                                             14 wasn't •• that's a ~~ision procc.ss lhal - that
   25       Q Did you -- did I read that corTCetly? 12:58: 16                     25 was, you know. not•- not my decision as to whether 13:!)0:22
                                                                       Page 150                                                                          Page 152

    I       A     Yeah. I think so. ycsh.                                          l the·f!'IOney would come or noL
    2       Q Okay. What legal documents wac yoo                                   2 BY MR. BILLER.
    3 referring to?                                                                3         Q Whose decis10n was ~!?
    4           MR BRAND. ObJeclJon, lack o(foundatt<in                            4         A    That would be Stephen's deds1on
    5 There's no evidence that h~ wrote this e-mail.          12 S,8:29            5         Q Okay Now, there was an opcraung                   13:00:31
    6 BY MR. BrLLER                                                                6 agn;ement ~ n l - ~ared.
    1 Q Okay What legal documents d1d·you behcve                                   1              No, 16, please
    8 were ~es5UY to start the deal?                                               11             (Exhibit 16 WllS marl<.ed for tdenliftcalJon
    9       A Well, I'm usurnmg there would be some son                                9          by the court.o:porler )
    IO of an operating agreement that would be created             12 S8,44       10              MR BRAND Can you confinn Iha< it's 29             13.00:59
    11 So, you know, that would probably tnc ·- be the                            II pages?
    12 precursor.                                                                 11      MR BILLER Yeah.
    l3      All lhe or~r dclatls of'wllat the documents                           t3      MR. BRAND· Okay
    14 were, you lmow, those were all going to be                                 14 BY MR BIC.C.SR,
    15 detenn1ned by the attomtjs that got mvolved,           12:58:.54           15         Q     Now, this operatingagrecmenl has your           13:01 11
    16·     Q     Okay. So you were waiting for some fonn of                      16 signature on it, co=t. on Page 2~?
    17 legal documents before you would re •· before Choi                         11         A     Yes.
    18 would release filnds, riaht1                                               I8         Q     Okay And the.re arc rour signatures on
    19      A      Yeah, I roean, 11ga1n, how Cho, would release                  19 that - that page 1n the cntuc agreement.
   20 fu11ds was up to Choi. to Stcphcn: I thmlt thi" was 12:59: 14               20         A     Yes.                            13:01 32
    21 just a general framework.                                                  21         Q Doug Lc.e, Roger, Jene al)d John. righl1
    22            If they're oby with It, then. you know.                         22         A     Yes.
    23 we'll have leaal documcnw dn!.tled to, you know,                           23         Q Why WRSl'l't Paula's name 1hefe?
    24 5ummari1.e what the deal terms would be. And - and                         24         A l believe -- well, I mean, again, i --
    !ZS 1hen I thmk the attorneys would wort on, you know, 12 S9 28               '2S      rm -    I don't - I don't,rcmember exactly. but I      IJ.0 1142
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     I think that's what's created first. And then I think
    2 what happened was Paula then would -- would be the
    3 next person, because.then sh~ would put in the IP
                                                                                         I Q Can you think of any reason why an owner
                                                                                         2 a company wol)ld not be 'included on the operating
                                                                                         3 agreement when .all other owner.i sign it?
                                                                                                                                                         07
    4 and stuff like that.                                                               4       MR. BRAND: Objection; calls for
     S Q Why?                                   13:0 1:SS                                S speculation.                           13:03; 18
    6 A I - I don't know, I mcim, r -- I wasn't                                          6       THE WITNESS, I - T- l wasn't involved
     7 involved in -                                                                                    in
                                                                                         7 in that -· that proce;ss.
     8 Q Who came up with ihat scheme, Tguess?                                            8 BY MR. BILLER:
     9 A I -- I have no idea.                                                             9 Q Did you ask the reason - did you ask" the
   IO Q Yo.u didn't come up with it, did you?              13:02:02                      10 question "Why isn't Paula's name here?"                13:03:25
   11     A No. I was - yeah, I didn't -- l wasn't                                       11    A Well, I - again, I didn't -- I didn't look
   12 involved in the: -- I was -- I was not directly                                    12 at -- or I didn't know what th.e -- the structure
   13 involved in the original drafting of the operating                                 13 was. They just,sent me a signature page, so we just
   14 agreement or•·                                                                     l4 signed off on iL
   1.S Q Well you wcren'.t --                       13:02: 10                            15 Q Okay.                                   13:03:34
   16     A - the st~cture.                                                              16 A I didn't even know the details of who was
   17     Q --·involved in it -- the drafting of any of                                  17 involvw or who wasn't fovolved at this point.
   18 lhc:rn.                                                                            18 Q Did you have a copy of the operating
   19 A ( mean. ai some point we reviewed them                                           19 agreement?
   20 and -                                  13;02:16                                    20 A I•· l don't know.                           13:03:41
   21     Q Right.                                                                       21    Q Well··
   22 A - we had our comments, but, no, I was nol                                        22 A I •· l've - J know we saw operating
   23 involved fo drafting -·                                                            23 agreements. 1-40 recall ihat there was a bunch of
   24 Q Okay.                                                                            2~ other documents that when Paula came aboard. that
   25 A - the original.                          13:02:20                                25 was part of il so...                        I 3:03;S4
                                                                            Page; I.S4                                                                   Page 156'

            Q   But you would a.gn:e with me that an                                      I    Q     No, that was pan of the fraud..
    2 operatin1 agn:emcnt is an essential part of getting                                 2         MR. BRAND: Objection.
    3 a company up and ruMing, right?                                                     3 BY MR. BILLER;
    4       A   Yes.                                                                      4    Q Thal wasn'I -     lhal wasn'l pan of the

    S       Q Ok.fly, And.you would agree with me that the 13:02:29                       5 purchase of the - of the company.                 13:04:00
    6     first document 1h11 needs to be filed to 1et an LLC                             6         MR, BRAND: Obj«tion; mis.sta!Q the
    7 up and Nl'.1Rin1, since you've own¢ so many. " the                                  7 evidence. Objection ~
    8 articles oforganiuhon, nght?                                                        8      MR. BILLER: How would-
    9       A    Yes                                                                      9      MR. BRAND: - argumentative,
   JO       Q   Okay Th05e are two e=ti.al documents?                   13·02 40         10      MR. BILLER: -- you know? You've been in 13:04:06
    JI      A    Yes, those uc iwo esseaual documents.                                    I l this for one week I've been in this for a year and
    12      Q    And the - the ownen of lbc oompa11y att                                 12 a half, hvmg 1t every day of my life. How would
    13 typ1~lly Klcnlified on the opting ·• operating                                    13 you possibly know that it misstates the eyldence?
    14 agreement, right?•                                                                14     Q    Now; you would 4grcc with me thal lhc
    I.S     A Yes.                                  13:02:52                              IS agreement that was consummated between the July 9           13:04:-26
    16   Q Okay. Can you think ohny rca.son why an                                        Iii and July 18 e-mails were the ttn11S ofihe agi=cnl
    17 owner of a.company would not be identified on the                                  17 that w~ ultimotcly ·•• panned out?
    JS operatmg agm;ment for--                                                            18        MR BRAND: AA you referring to a specific
    19       MR. BRAND:        Objecuon; calls fot                                        19 exhibit?
    20 spec:ulallon.                                 13.03.0S                            20 BY MR. BILLER                                   13:04:46
    21       MR. BILLER:        Cil.n l finish   "'y question'?                          2l    Q Is there ano!hct document other than
    22       MR. BRAND:         I'm sorry. I th(,ugl)t you did.                          22 Exhibit 15·-- is lh,,,-c anolhe.- document that you
    23       MR, BILLER:        No.                                                      23 signed Iha! lays out all of the tenns and conditions
    24       MR. BRAND:         Please.                                                  24 of the •• of the new company?
                                                           \3 03. l I                    2.S A 1- ldon'tknow. 1-                         13:04:58
   125    BY MR B
                _ l_l_L_ER
                         _ _ _                                              Page lS$                                                                      Page l.S7

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          Q You don't know or you don't thi:nk - you                                          Did you sign an agreement 10 purchase
   2 don't - you don't know, or a.re you saying "no"?                                 2 membership interest m TW?
   3      A    l don't know.                                                          3 A I •· I don't recall.
   4      Q lflhcn> was, would you have produced it?                                  4   Q Would 11 be in the box of materials tt)at
    5     A    lflhere was something, yeah, I would have, 13.05 07                    S you produced?                           (3:06:58
   6 unless II Wll5 pnvileged in    =c way       But 1- I'm                           6   A I don't know.
   7 not sure                                                                         7_  Q If you had it, would 1t be 1n there?
    8     Q, But·if it was pnyilegcd, it would be on                                  8 A I ,beheve so, but, I mean. I - I don't
    9 the log. right?                                                                 9 know.
   I0     A Yeah                                13 OS 16                             IO Q Is 11 customary for you to throw away          13:07:06
   II     Q Oby.                                                                     11 agn:emc:nts ofpurcha~ Interest an a company?
   12     A    I think .so. I mean, I don't ltnow.                                   12       MR. BRAND: ObJechon; argumentative.
   ll     Q    Okay. So lh1s is the last document that                               13 BY MR. BILLER;
   14 you were pcrsooallyinvolvedfo, in exchange with                                14 Q Do you usually throw away agreements that
   IS Paula - Paula Thomas, regarding lhe teffl\S of the          13:05:27       I   IS involve your interests 1n a company?           13:07: 18
   I 6 agreem~t, right?                                                              16 A No, l would11't throw away, l'd just ,- I'm
   17    A Again. I don't know.                                                      17 just telling you I - i don't know if•·
   18     Q Oka.y, Sir. I'm ming you -                                               18 Q Row did.you organize your files for TW'l
   19      A   Uh-huh.                                                               I9    A They're mosJly ,just through e-mails.
   20     Q - do you koow of any other docUm,c nt other 13 0S.34                     20 Q Okay. So do you have an e-mail folder           13:07\33
   21 lh_an Exhibit 15 th.at exists that sets forth tcnns of                         21 called··
   22 the agn:cmcnt creating the new company between you                             22   A    No.
   23 as Stephen Choi's n:pm;enlalivc: and Pi111Ja Thomas.                           23   Q    - Thomas Wylde?
   24          MR, BRAND: Objection; asked and answered.                             24   A No.
   25 BY MR BILLER                                    11.0S .53                      25   Q You dQn't,sav~ any e,mails?              13:07:38
                                                                      Page 1S8                                                            Pago 160

     I     Q    Do you know of any docume,nt?                                                 MR. BRAND: Objection; misstates the
     2         MR. BRAND: Objettion: asked a'nd answered,                             2 evidence•·
    .3         THE WITNESS: I mean, I don't know. t --                                1 BY MR. BII.;LER:
    4    rm not sure.                                                                 4 Q Do you save-·
    5    BY MR. BILLER:                                 13:.05:58                     5       MR. BRAND: -· the testimony,              13:07:42
    6       Q Okay. ~re's ~problem with t,hat answer.                                 6 BY MR. BILLER:
    7    The problem with.that answer is that you can come                             7   Q Do you have any ~mails?
    8    bac~ here in three months and say "Oh, yeah. we have                          8 A I mean, yeah, most of'em, but sometimes
     9   a document. I forg!)I about this."                                            9 obviously some of'em are not saved as well.
   10          As you sit here today, here today, do you 13:06:11                    IO    Q And how do you save them?                  13:07;50
   11    know of any document that -- other than Exhibit                             II    A They just •· well, they're just-in my
   1.2   I 5 that sets forth the terms uf.eonditions of the                          12 e-mails, so -
   13    deal that was made by Stq>hcn Choi and Paula Thomas?                        1·3 Q Okay.
   14          MR. BRAND: Objection; asked and answered.                             14 A Do I sepantely save 'e_m? No, I don't
   15          'fHE WITNESS: I meM, I don'tret:llll.           13:06:30              IS sepai'alely save them.                     13:07;56
   16 BY MR. BILLER:                                                                 16 Q Do you have a Word folder for TW PDA - pdf
   17 Q Okay.                                                                        17 documents?
   IS   A I ean't·tell you.                                      18                        A No-
   19 Q If yo1t had such a document, wuuld you have              19                        Q Okay.
   20 produced it?                         I 3:06:36             20                        A -- I do not.                13:08:02
   21      MR. BRAND: Objection; asked and answered.             21                        Q ()kay. What computer do you use?
   22      THE WITNESS: Yes.                                     22                        A   The computer at my work.
   23 BY MR. BILLER:                                             23                        Q Which one is that?
   24 Q Okay, Did you sign a purchase agreement?                 24                        A Just ge11--
   25 Well, let me - sec, you don't remember·that.   13:06:44 25
                                                           - --
                                                           159
                                                      Pace _...,_                    ____  Q Can you describe it?                 H ,08:09
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                                                                                 -r
              A It's 4 gene('al computer.   rrs on my d~~-                             1        THE VIDEOGRAPHER: It ts.
     2 Jt's I desktop.                                                                 2        MS. THOMAS: Oh, wow. Time went quick.
       3      Q Okay. How lot!i have you worked on th.at                               3        MR. BILLER: We've been going three
     4 compulel'?                                                                       4 hours•·
       S      A Oh, I don't know. A few years.              13:08. l 7                  5       MR. BRAND: I don't -                13:0947
     6        Q Since 2014?                                                             6,      MR. BILLER: -- with one break?
       7      A I believe so.                                                           7       MR. BRAND: Yeah.
       8      Q Okay This 1s what I'm gomg lo do. I'm                                   8       MS. THOMAS: We had two breaks.
     9 going to get a Court Order !hat's gomg to allow me                               9       MR. BRAND: We had two short breaks.
    I() to gei everything inside your c_omputcr and servers        13.08:H             10       MR. SILLER: l'm sony. I didn't even      13:09;58
   l 11 n:1ardm1·anythurg related to TW and the ollitr                                 11 realize. Somebody should have told me.
  l I2 characters in th1!i case                                                        12       Okay. Let's take lhe lunch break
    13      So I'm asking you - I'm tclhng you do not                                  13       MR. BRAND: Sure.
    14 allow anything to happen with that E.Sl, lhal                                 1 14       MR. BILLER: Lunch bn:ak? I'm sony. You
    15 clectroaically-storcd mfonnanon.                     l3 08:50                   15 shoµld have told me.                    13:10:10
    16       There's .a ru.le m federal court •- rm Just                               16       TIIE VIDEOGRAPHER. This marks the end of
    17 pulling everybody on nollce, because 'Peddie did thts                           17 MediaNo.2. GoingofTtherecordat l: IOP.M.
    18 and now he's gomg ro get his case dismissed, okay?                              [8       (The luncheon recess was taken at
    19       MR. BRAND: I understand. but you and I can                                19       I.I0P.M.)
    20 talk -                                  13:09 03                               20
    21            MR. BILLER: No.                                                     21
    22            MR. BRAN[;>: - about that,                                          22
    23            MR. BILLER He n«ds to know.                                         23
    24            MR, BRAND: It's not a -                                             24
    25            MR BILLl:R. He needs to know                 13.09:04               25
                                                                          Page 162                                                        Page 164

                  MR. BRAND: Okay.                                                      l APPEARANCES OF COUNSEL:
       2          MR. BILLER: Beuusc Peddie didn't cell                                 2     O:>.M. SESSION)
       J Park. and she destroyed evcry1hing. Now the case                               3
       4·   is -· their case i$ gone.                                                   4           DON EMIL BRAND, ESQ.
       s           .MR. BRAND: Just send me a,n evidence          13:09:10              5
       6, im,ervation lclter --                                                         6           OIMITRIOS P. BILLER, ESQ.
       7          MR. BILLER. Yeah_                                                     7
       8          MR. BRANO: -and 11 will be handled.                                   8
      9 BY MR. BILLER                                                                   9
     10 Q Sir, the!ll'nrulc, It's Rule 37(c) in 13.09: 15                             10
     11 the Fcdcnil Rules ofCivil Procedure, If you                                   ll         ALSO PRESENT:
     12 dest(oy evidence !hat preJudice- I.IOI - 1t docsn l                           12
     13 have to prcJud1ce,m'y chent.                                                  I3            PAULA THOMAS
     14           If you mlenhc,nally destroy evidence to                             14            STEVEN TOGAMI, VIDEOGRAPHE
     IS dcpnvc my chent of any cv1dcncc, ESI, your case            13 09 28           15
     16 eun be d1srm~or a default Judgment can be                                     16
     f7 entered agamst you.                                                           17
     18           Do·you undcrsrand?                                                 l 18
     19       A    Yes.                                                               l9         REPORTED BY:
    20        Q Okay.                        13:09:34                                 20
    21          MR. BlLLER· What time is it?                                          21            JUDITH A. MANGO, CSR No. 5584
    22            MR. BRAND: L:09.                                                    22
    23            MR. BILLER: Whal?                                                   23
    24            MR. BRAND: 1:09?                                                    24
   ( 15
   L
                  MIL BLLLER No, it can't be I 09             l'J.09 4S
                                                                          Page 163_._  ____________________
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   2
    3
             (The deposition of DOUGLAS LEE
             rcconvc:ned at 2: 16 P.M.)
                                                        7
                                                        w I                l
                                                                                   before Tho= Wylde
                                                                               Q Well, _prior IO Thomas Wylde, how many --
                                                                           ) how many built <leahngs - how many busioess
   4            DOUGLAS LEE,                                               4 dealings did you have with Stephen Choi? Prior to
    S having been previously duly swom, testified funher                   S Thom&$ Wylde.                                     14:17:34
    6 as follows:                                                          6         A I believe one, bu1J'm not • hu11dred
   7                                                                       7~=•=
   8         THE. VIDEOGRAPHER: This marks the beginning                   .s       Q Ok:ay.
    9 of Media No. 3. Going back on the r~ord at 2:-16                     9 A I can't mncmber.
   to P.M.                              14:15:57                          10 Q AndRogcrKuo. ~o,,,,.rmnybU51~dcalings                         l417AS
   11                                                                     11 have )IOU had With h,m?.
   12         EXAMTNATION (CONTINUING.)                                   12         A    Probably prclt)' s11n1lar   Whatcvcr You
   13 BY MR. BILLER:                                                      I) k:now ••

   14 Q How,did you meet Stephen Choi?                                    14         Q Andwhen-
   I S A Like I said, il was through my - through 14: 16:07               lS         A -six.                           1418:00
   16 Rog~rCo.                                                            16         Q - did you meet him?
   17 Q Okay. When did you meet Stephen Choi?                             17         A 1-ie's my brother-in-law, so I've k:nown him
   18     MR. BRAND: Objection; asked and answered.                       18 since.- obvtoilsl)' since I got maincd, so..
   19     THE WITNESS: t don't -- I don't know.                           19         Q When did you get roamed?
   20 Five to ten Y.eatS HO. I -- I -· I don't really        14: 16:20    20         A I think 2000. So somcwhc~ around there,            14,18 1. 2
   21 rememb~ thi: date.                                                  21 or before that, 111d probably before
   22 BY MR. BltLER.                                                      ·22        Q When d1d_you first meet h1ln before 20007
   23 Q How many business dealings have you dollCI.                       23         A    f don't know.
   24 with Stephen Cho!?                                                  24         Q    Oltay And how many- wbat,busmesscs arc
   25    A Probably, I don't know, five, four. t             14:16:32     25 you involved with with Roger Kuo?                        14" IS _2~
                                                                Page; 166                                                                       Page 168

    I mean, again, it's a range. Four lo siit or                               I          MR. BRAND: Arc you asking for the names?
    2 somed11ng, I believe.                                                 2             MR. BILLER: Roger Kilo.
    )    Q    ldcnttfy the business dealings by name that.                  3        Q     How many businesses?
    4 you've done with Stephen Olp1                                         4        A     How many" l •· l said around I.be same,
    S        MR BRANO' ObJccbon, inva61on ofpnvacy 14 16:45                    5 hke-                                    14,18.39
    6 BYMR BILLER:                                                          6        Q Around the same?
    1    Q · You Clln answer                                                7        A     I thmk like five to six. maybe.
    8        MR. BRANO: fnslfUcl not kl answer. We                          8    Q So you've u.lenllfied - and y.o u have, you
    9 al=dy talked about lhis, ,nd we were going to                         9 said. l3 businesses younclf?
   JO discuss it-                            14:16:53                      10             MR. BRAND. Objection                      14, 18:52
   11        MR. SILLER No                                                 11             THE WITNESS. No, I think that includes ltic
   12        MR. BRANO: - later.                                           l2 other busmcsscs.
   13        MR. BILLER- You can lay - you c.an make                       l3 BY MR. BILLER:
   14 the ob~tion. I can tell him 10.aMwer the                             14        Q     Wha.l busi nesses?
    IS question. lfhe <kcidcs not lo enswerthe          14: i"6:58         1S        A That includes the five to six busmcsses        14, 18: 56
    16 q~tion--                                                            16 that we're talking.about r.ight now,
    17       M.R. BRANO: Otay.                                             17        q Yeah. lknow.
    18       MR. BILI-ER: -- then I seek sanctions                         18        .A    'i'eah, so what -
    19 against him and you.                                                19         Q    You said in total
   20        MR. BRANO: Okay,                        14. 17;04             20         A    Yeah So there's 11, and lhc five and       14, 19-03
    21       MR. BILLER. Olu.y?                                            21 (sic) six arc included in those 13. probably
    22   Q What yearT did you hove business w11h                           22  Q Right
    2) Stephen 0.01?                                                       23  A A.round there. yeah.

    24 A What years did I have b11S111cs~ w1lh Stephen                    24 Q So you hav!: been involved youisetfm 13
    2S Choi? I'm not ellactly sure Probably a hnl_c btt 14: 17 19        .25 businesses and five or six businesses \1/llh Roger Kuo 14' 19 l)
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    I and five or six businesses with Stephco Cho~·• right?                           Q     What arc those businesses 'Called?
   2     A Uh-hmm. About. yeah.                                                   2        MR.  BRAND: Objection; inv;lSion ofprincy.
   3     Q ti's about 23 10 Z5 businesses, right?                                 3 Instructthe•witness not to answer.
   4     A. w.,11, no. A lot of the businesses with                               4       MR. BILL.ER: You're·kidding me•.right?
   S Stephen are similar -- an: the samo; with Roger       14. 19.27              S        MR. BRAND: Uin, I\O.                       14:21 :06
   6     Q Oby So !hat's atlea&t I8 to 20                                         6        MR.  BILLER:     Okay.  You  know.   we're going
   7 bus1nc.sscs                                                                  7 to bnng ·a motion on this. l just hope you know.
   8     A No. no l'm saying the five to sil\ are                                 8 And I'm going to ask for sanctions for wasting all
    9 ptob -are pan of the 18                                                     9 the ume rm going to be forced to waste in doing a
   10 Q Right.                              14:19:41                             10 joint supulation with you.                    14:21:14
   ll    A The IS.                                                               11        There is no right to privacy as to the name
   12    Q, You have 13,                                                         12 -of the businesses you own. There is none, okay?
   13    A No. My 13 -                                                           13 Can you cite me any authority for that?
   l4    Q So every- every •· you're involved in                                 14        MR. BRAND: Not al this very momet1t
   IS every business-involving Roger Kuo and Stephen Choi? 14: 19:4S             15 asl-                                  14:21:23
   16    A No. Whal l'm sayin!! ·-                                               16        MR. BII;LER: No --
   17       (Sunultancous·talking.)                                              17        MR. BRAND: - s_it here.
   18       MR. BRAND: Objc,;iion -                                              I&        MR. BILLER: - you won'! be able to
   19·      THE WITNESS: No, what I'm saying is -                                19 either.
   20       MR BRAND' •· missiate~ the testimony              14. I9. S2         20 Q Do you have any experience in the sale of 14:21:2
   21       THE REPORTER Whoa, whpa. Gen!lemcn. DIie                             2 l high-end luxury garments?
   2.2 at a time, please                                                         22 A No,
   23       THE WITNESS: Okay                                                    23 Q Okay. Are a.qy of your businesses involved
   24       MR. BRAND: Obj~tion; misstates the                                   24 in the inte.mati1>n11l marketing of - o(high-cnd
   2S 1cs\1mony.                                                                 25 garments?                                 14:21:44
                                                                     Page 170
                                           -------                           ◄-------~

    I BY MR. BILLER:                                                                   A   No.
  ~ 2    Q Okay. Let's start over, okay?                                          2    Q How about the international marketing of
    3      How maf!y businesses do you cum:ntly - arc                             3 any garments?
    4 you Cl,lff'Ci'ltly inv~lvcd hi?                                             4     A No.
    S        MR. BRAND: Objection; asliedand &nSWcrcd. 14:20:00                    5 Q Have -does your business -- any of your 14;21;49
    6        THE WITNESS: I guess around 13. butJ                                  6 business irivolved in the sale of high-end men's wear
    7 don't know. I 111ca11. it's around there.                                    7 and women's wear?
    8 BY MR. BILLER:                                                               8    A No.
    9 Q Olcay. How many - do you koow how many                                     9 Q How about shoes and bags?
   10 busin=es,Roger Kuo has?                   14:20:10                          10    A No.                               14:22:02
   1·I A No; I don't know how many businesses he                                  11    Q Okay. So when you and your.friends dcci4ied
    12 has.                                                                       12 to straight a -~ create a new company called TW, you
    IJ Q You don't jcnow how many bu5incsscs Slcphca                              13 have•· you had absolutely no e,cperienccwhatsoever
    14 Cho1lw?                                                                   T4 as to what tho - what that company would do,
    15 A No. No, I don't know,                      14,20. 17                     IS correct?                               14:22: 19
    16   Q Okay. But you have busmcssCli - in the                                 16        MR. BRAND: Objection; misstates the prior
    17 13, you have ~messes 1nvolvmg Stephen Choi and                             J7 testimony.
    18 Rogc,r Kuo. nght?                                                          18       THE WITNESS: No, we had -- well, we had
    19    A Outofthc IJ.somcofthosc - tivc10s1x                                   19 the discussions with John. Paula and Jene as to what
   20 of'cm arc - have Roger and Stephen involved, And 14 20,29                   20 they thin.le they could do with the compWly.        14:22:31
   2! Stephen ts Involved in most of those r Stephm .and                          21 BY MR. BILLER:
   22 Roger arc both involv~ in those five to sl,c,                               22 Q Okay. But you didn't have any personal
    23    Q Okay. ~ow many,of those b\ljine=s involve                             23 experience to determine what !heir thoughts were,
    24 appaRl?                                                                   24 good lb.oughts or bad lhoughts?
    2S A Probably two or three Two or three.             14:20:52                '25 A No, I think we can kind of listen to them 14:22:39
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    I and make an educated guess Like, okay, that ma.Ices                l said because he'5 not then:,
   2 sense.                                                              2      Q Okay,
    3      Q Okay. You fired Paula Thomas in- I                          3      A    He doesn't know. I mea.n all of -
    4 believe it was Apnl. 1st, 2014, nght?                              4          (Simuhaneous talk:ing. unreponable.)
    S       MR. BRAND: Objection: misstates lhe             14:22:SS     s      Q That'~ not -                         14:24:39
    6 testimony.                                                         6      A -us did.
    7       THE WITNESS: No. I mean. 'I didn't fi{e                      7      Q - lhoquestion.
    8 Paula Toomas-.                                                     g      A    All of us did.
    9 BY MR. BILLER.                                                     9      Q    The ques1ion was: Are you telling me
   IO      QWho fired her'?                14:23:00                     10 S1.cphen Choi couldn't make the decision.whether            14:24:44
   11   A John Hanna.                                                   11 Paula siay or Jene go'! He did not have that power'!
   12   Q Okay. Aren't - aren't you concerned why                       12          I~ that what yQU're saying?
   13 she was fired?                                                    13   A I mean, obviously he could SllY that that's
   14      A Yeah..                                                     14 what he wanted to do. fo tcnns ofsctual -- I think
   IS.     Q Did you find OJJt?                 14.23:05                IS the way the operating agr«mcnt was set up was he             14.25:01
   16      A Ye.ab,and -- yeah, in general terms,                       16 had conwl over the day-to-day openllons of the
   17 the -- what •· the issues, yeah.                                  17 comp1111y
   18      Q     What issui:s did you find out?                         18      Q    You're saying that Stephen Choi couldn11
   l9       A I think at that time there-was, I guess, a                1'9 lire John Hanna?
   20    lot of infighting. I think Paula and Jene wen: not 14:23: 18   '20     A No Yeah                     14.25.11
   21    getting along.                                                 21        MR BRAND, Objection, asked ind answcn:d
   22          And we -- when we heard about 11 we                      22 BY MR. BILLER:
   23    actually iold John that we think that he should keep           ZJ      Q    He c.ould - he could fire anybody, nght?
   24    'em both. You know, ideally worlc it out.                      24      A No, there's - obviously there was a
   2'5         He thought that 1t would. be really       14:23.39       25 scpanite lhmg abot1t =:!l of tl)e - in tcrrni, of        14:25: 18
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    I difficult because ofall the issues that were                            officer roles-and ffllffhie that. There wasa
    2 associated with it. We suggested then that lo keep                 2 contract that was -
    3 Paula aboard as, like, the brand, being in charge of               l      Q Yeah.
    4 the brand, like maybe not being the creative                       4      A -· put t<>11elher
    5 director, per se, but being something involved in 14:23:5          S      Q !3ehcvc me, we're going to act io ih.a1111 a 14·25:26
    6 the bnuid sttll.                                                   6 setond, okay? We'ro: going to get to lhat in a
    7       And the decision--· the final decision as                    1 second
    8 to what was decided was done by John, because John                 8          Now; ~at experience docs Jene Parlt.haye.as
    9 had operational control of.the company.                            9 a chief creative d,;sign direct-· officer? What
   10 Q Okay.                                   14:24:06                10 experience~                                   14:25:41
   11    A Like he decided -                                            11      A    l mellfl-
   r2 Q Stephen - Stephen Choi had all the money                        12          MR. BRAND: Objection; calls for
   13 lo finance the company, .nght?                                    D speculation,
   14 A Yes.                                                            14     THEW~ESS: Yeah.
   1.5   Q He ultimateiy·controls what goes on in that 14:24: 12        15 BY MR. BILLER:                        14:2~ 47·
   16 company. In fact, it's in the agreement that you                  16  Q Doyou'know9
   17 1dentffied as a July 18th e-mail that he makes all                17 A l mean, she's obviously been ,n the
   18 the declsiOflS '!Yith regard to the financing of the              18 industry for -
   19 company, right?                                                   19   Q No.
   20      A Yeah, but that's different from the HR   14:24·25          20      A - many, many, yea~                14 25 51
   21 decisions and the direchon of the company.                        21      Q Do you Jcnow what expenence_shc has w~ a
   22 Q Stephen Choi couldn't make a decision                           22 chief creative officer?
   23 whether Paula stay and Jene go? ls that what you're               2)          MR. BRAND ObJec:t1on, asked and answered.
   24 saying?                                                           24          MR BILLER. Sir, an asked - asked and
   25       A   Stephen relied veiy heavily on what John    14:24:3~ ·25 answered question        l,j   when I asked o qu~tion and     14 26JOI
                                                            Page 175                                                                       PIJC 177
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    I it's actually answered. and - b\Jt an asked and                  I      Q Iohn Hanna?
    Z answered question is not when I ask a question and               2      A Yeah.
    1 he gives some stupid comment that'.s not respQnsive.             3      Q Ohy. And then John Hanna was fired a year
    4 okay?                                                            4   later, nght?
    5        And you •· and your ~asked and answered" 14:26: 1(        5      A Yeah. I mean; I don't know the ex.acttimc 14;27:28
    6 obJechons mean nothing, all,nght? Sostop --                      6   frame, but yes.
    7        MR. BRAND: That's for Judge Yun to decide.                7      Q Okay. i\nd who convinced Ch6i to make that
    8        MR BILLER: No.                                            8   dec1s1on?
  1 9     Q Okay. What experience does she have in                     9      A II wasn't a convinced. Choi decided on - -
   10 that capacity?                           14.26:21               10   on -· you know, at that time lhe decision - there 14:27:391
   11     A I don't know.                                             11   was - 1 thtnk the decision-making Rrocess was does
   12 Q None- you have none, right?                                   12   he shut .it down. does he continue with John, or Jene
   13 A No, I don't know.                                             I)   said, "You know what. I can try to salvage this and,
   14 Q Okay.                                                         14   you .know, 1 need much less money. l'll cul all the
   15 A I don't know - I don't know her background 14:26:2            15   expen~s and let's try to see ifl can, you       14:28:00
   16 well enough. hke what she did prior.                            16   know •·"
   17     Q Okay. So you don't know what expenence                    I7      Q Oh, yeah.
   18 she had in that capacity, nght?                                 18      A - ...salvage it."
   19 A lsaid, ''ldon'tknow."                                         19      Q This 1s where in the beginning you said
   20 Q So ·say the words. I -- you had -- the          I 4:26:34     20   there's no way John -- Stephen Choi paid over        14:28; .
   21 answer•~ "Yes, I don't know whatexpenencc she had               21   S5 million in loans.
   22 1n that capacity."                                              22          l~t•s mark ·the next exhibit ••
   23 A No. I said, "I don't know."                                   23          MR. BRAND: Objection~ misstates - -
   24 Q You don't know what?                                          24          MR. BILLER: - as 15 - '16 -
   25        (Simultaneous talking, u.nreponable.)      14:26:42      25          MR. BRAND:· •· prior testimony.            14:28;10
                                                           Paac 1?8                                                            Page 180 I
                                                                      - - - ------- --
            MR. BRAND: Objection -                                            MR. BILLER: - 17. Can you m~rk this as
    2 BY MR. BILLER:                                                   2 E11hibit 17.
     3   Q I don't know what you•·                                     3      (Exhibit 17 was marked for identification
     4       MR.. BRAND: - argumentative,                              4        by the court reporter,)
      S BY MR. BILLER:                              14:26:44           5       MR.   BILLER: Oh, Tgave you one.               14:28:31
     .6 9 ··.don't know what to. Whal an:, - what                      6       MR.   BRAND:     ls it~ 1s this 17 and 18, or
     7 ate you :;aymg "I don't .know• to?                              7 16 and 17? I have an operating a,greement that's
      8      (Simulwieous talking, unl'q)Qrtable )                     8 marked Exhibit 16.
     9       M.R BRAND ObJectmn, arg -                                 9       MR BILLER: What are we at'! 17 - 16 and
    10 argumentative                            14:26.49              10 17.                                   14:28:44
    11       THE WITNESS I don"t know hcr -                           11       MR. BRAND: Okay.
    12       MR BRAND Slop screaming                                  12 BY M1l BILLER:
    13       THE WITNESS •• background.                               13 Q Do you know what those documents are?
    14 BY MR. BILLER:                                                 14 A No
    15 Q Okay.                                14:26~51                IS Q Okay. One's a lin,e of credit agreement and 14:28:4
    16 A So J don't knpw if'1hc had creative                          16 one's a promissory note. Do you see that?
    17 director expcriC™:e,                                           17       (Witness reviews document.)
    18 Q Okay. Thank you.                                             18       THE WITNESS: Oh, that's lhe second one.
    19 A Oby.                                                         19 BY MR. BILLER:
    20 Q Now, Paul was fi~ and somebody who you 14:26:58              20 Q Are you adding up the figures?                   14:30:04
    21 have no - you don't know has-any experience in•·               21    A No. I -- fve not seen this stuff.
    22 as a creative officer becomes the creative officer             22       (Simultaneoµs talking.)
    23 of the company, right? Who made that brilliant                 23 Q There's about 2.4 million -
    24 decision?                                                            A Okay.
    2S    A Johndid                                ~:
                                               14:27:21                    Q - on the line of credit.                 14:30:10

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    I     A Okay.                                                                           Q Jene had a lot on her plate, so you made
    2     Q The line ofcredit's five --·five bi) --                                  2 her the CEO on lop of everything else, right? She
    3 $5 million. Withdrawals were taken out in the                                  3 was the COO, she was the CEO and she was the
    4 amount of approximately two four -- 2.4 million.                               4 creative directur; is that right?
    5 A Okay;                                 14:30:2 1                              S      A   Yes. During that -- I mean, she - like we 14:32: 19
    6     Q Okay? And they were - they started in May                                6 said, the idea was. that she wahte<i to cut expenses,
                             in
    7 and they ended November of2016.                                                7 make it as lean as possible and try to tum it
    8     A Okay_                                                                    8 around. So that's why she took on all those roles.
    9     Q Do you want to confinn that, or do you want                              9      Q Okay. Do you think one person can
   10 to believe me?                            14:'30:29                           IO successfuily lake on-all those roles in a.business? 14::32,31
   11     A Okay. I mean, I'm not going to spend the                                11   A Well, it wasn'tj'ust her. She had
   12 time adding it up.                                                            12 obviously other people that were l)elping her out,
   13     Q Okay. So we then have a promissory note,                                13 but that was th'e -• that was the plan. I mean, at
   14 which is Exhibit 17, for $2,686,000.                                          14 the end --
   15       Do you see that?                     14:30:39                           1S Q That's not -- that wasn't my guestion.                   14:32:42
   16     A On .... I didn't get that. Where's that?                                I6      A   Uh-hmm.
   17       MR. BRAND: Here's the promissqry note. I                                17      Q   My question was: Do you think one person
   18 don't think you have-a copy of it.                                            18 can take on all those roles?
   19       THE WITNESS: Ytah, I don't have a copy of                               19 A Well, Jene felt like she could.-
   20 it.                                .14:30:53                                 20       Q   Okay.                                 14:32:50
   21       THE REP0RTER: Then you marked the wron                                 21       A    - so we- we gave her - we thought -- we
   22 exhibit.                                                                     22 gave her the shot --
   23       fyfR. BILLER: I gave you one·ofthis. Do                                23   Q Okay.
   24 you have it?                                                                  24      A    - for it.
   25       THE REPORTER: Can you give me that back                                 25      Q    Running thal --                         14:32:S.4
                                                                      Page l!f2·                                                                     Page 184

     I and lcl me mark that. That's llQt 17                                                 A   Stephen thou11ht she- s-vc her the shot.
     2        (E.xhibtt 17 was ~-m.vli:ed for 1dc1111ficauon                         2   Q Running that b11Sinc:ss succcsdully was not
     3        by the collll reporter )                                               3 a pnmary concern, wu it?
     4        THE REPORTER._ Tha.nk,yo11                                             4   A II W11S
     S BY MR BILLER.                                  14, 31.28                      .S  Q It was' What effort other than dumping a            14:33:01
     6 Q Are you ready?                                                              6 bunch a money m thc:re,just havi(!g it go fly out
     7    A    Yes. So which one's which?                                            7 the door - ·what effort did you make or Chol make
     8        MR. BRAND: Toars 17.                                                   8 other th.an firinj! people and le1tin1 - !cuing Jene
     9        THE WITNESS: This is 17. and this is                                   9 nm lhc show herself- l/lhat management decisions
    10 another one?                              )4;3 I :34                         10 did you make to l'l)ake that b11$incsuucwsftll?           14:33:15
    11        MR. BRAND: This is 16.                                                11      A Wei~ I did.n't make any oflhc mllllngcmcnt
    12        THE WITNESS: Okay. All right Okay.                                    12 decisions.
    13 BY MR. BILLER:                                                               13      Q   Of €:OUm you d1.dn'1; but you could have,
    14    Q    Did you know Stephen Choi was injcc1ing                              14      A   No. I could not.
   I IS over - appro,dmalcly SS milfion into TW during the 14:3 1:46                15      Q   Okay. AU right.                     l4;33:24
    16 lime frame John Hanna was fired?                                             16    A I'm not •- yeah.. I wasn't - 1-- I didn't
    17    A No, I did not,                                                          17 rnalcc any of these management decisions ai this
    18    Q Didn't you gct moothly reportS?                                         18 pOlnl, II was Stcphen't deCISIOfl1
    19    A No                                                                      19      Q   II was all Stephen':i Job, huh?
    20    Q What - as an 111veslor wouldn~ you wan1             14!3 I ;57          20      A Well, yeah.                          Iii 33134
    2 I monthly reports'>                                                           21      Q   Stephen's - Stephen was 100 pen;cnt
    22    A No We d1dn'1 1e1 montli,ly reJM)(ts at that                             t2 ll:sponS1ble'>
    :Z~ po!nl We knew ,twas sll:Uggling and Jene had a lot                          23      A No. bul al that - at that po111t when they
    24 on her plate. So, no, 1- we didn't - 1 didn't                               I 24   were going through   this proceS$ Stephen w1.5•dec1d'11:,g
                                                                                    2S ifhc was going 10- I meaTL, II came down 10             14.)3'4I
                                                                               1
    '25 acuny monthly rcpons.                        14:32:09
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    l whether.he was going to fund the company on101                                       Do you remember that tcsumMy?
   2 That's what' it -                                                           2     A   l'!o, I did not say ll was not going to
   3      Q fs the ••                                                            3 succeed. I swd that we realized that it would be
   4      A.   •· came down to.                                                  4 very hard for us to «intmuc IQ 'rCCCIVC a consulting
   5      Q ls the company sull operating'>              14.33 48                5 fee bee&ll$C 11 was having chall~ges        14::35A9
   6      A rdon't know                                                          6   Q Okay So S~ephcn Choi decided to put
   1      Q What do you mean, you don'1 know? You're a                           7 another S4 m1lhon into the company, 1n November of
    8 member. You don't know?                                                    8 2015 That's - so far that's $9 million that-he
   9       A   No, l don't know.                                                 9 puls in, in a company that has no - has shown no
   lo     Q Really?                             14 33.53                        JO signs of d~mg -~having succCS!;, nght?             l4'36-07
   11      A   I don' tknow.                                                     11    A No. well , 11gam, Stephen tall: - John was
   12     Q You're a member of. the company and you                              12 telhng htm "Hey, n's going to tum around. Hen:
   13 don't know 1f it's operating:>                                            l3- are the d1tfercn1 things --
   14      A   I don't bcl - I know that !hey have not                           14    Q Okay
   JS done-any more - they bought no more pnxlucLs.             14:33:58         15    A - I'm WQrlc1ng on."                     l 4~36:18
   16 Stephen has.not funded thc·wmpany an}'rtlorc, so -                         16        (Simulianco.us talking-)
   17      Q When did Stephen slt>p furidmg_thc company?                         I7    Q    He iooks -
   18      A   I don't know                                                      l8    A    A lot oflh.1 np he docs -
   19      Q   Who would know that? Stephen"                                     19    Q    - al numbers. doe:.n't he?
   20      A Stephen arid I'm sure Jene woukllcnow. yeah 14.34.09               20     A Yes, he does, but -                     14·36:20
   21      Q It's on the books. ngh-0                                           21     Q    Yeah.
   22      A   I guess I.don't know I mean, I'm not -                           22     A - John - John had been telling him "Hey,
   23      Q I mean, you have -you have 13 businesses                           23 [ could do this. I could do thli.."
   24 Is that the way you run busmesses,Jusl lhrow ,n                           24         He had d1tfercnt ideas and •· amt you
   25 $18 m1lhon over two years and fire e11crybody on          14 3422      25 know, gave -· you know, "Hey, we could do this               14·.36.26
                                                                    Page 186                                                                      P,ige 188

    l the -- on rnana-gcment and expect it to nm? Is that                          I licensing deal. We might have a Kohl's deal."
    2 the way you operate a business?                                              2        So he had these plans and he -- and he
    3      A Again, this is - the decision-making                                  3 presented it to him, and then at each point, you
    4    process was not mm~. Y~u know. this !Snot my                              4 know, Stephen had t<;> make the decision as to whether
    5 d~is1on as to how to do ti                     14.J4,39                      S' he wanted to move forward_                     14:16:37
    6          In the end l! was Stephen's decision as co                          6 Q Stephen m~sl'be pretty dumb, theri, huh? 1
    7 wh.clhcr he wanted to fund ti 10- to try to :;alvage                         7 mean · ·
    8 11 or not. And, you know, that's what 11 catnc down                          8        MR. BRAND: Objedion; argumentative.
    9 to, was - and obviously he put-in this money to try                          9 BY MR. BILLER:
   10 1osalva11c1tand 1td°idn'l workout.                 14:34:51                 10 Q I mean, it's pretty stupid, don't you          14:36:42
   r1      Q No, he.put in money to salvage it in201S,                            11 think. to invest $9 million in a company that's
   I 2 right, because you said !he company w~s going under                        12 going nowhere?
   I 3 from - befol'!: it became: a. company, right? ·Right?                      13        MR. BRAND: It's argumentative.
   14      A    2014?                                                             14 BY MR. BILLER:
   15      Q 2 - no. Yousa1d POTWwasn't successful              14·JS.o6          IS Q Do you thinlc he's a stupid man?                14:36:47
   16 m 2014 when1'Wwas created, nght1                                            16 A No, I-
   11      A    It was struggling 1n 2014 when we.got                             17         MR. BRAND: Argume.nta!ive.
   18 involved. yes,                                                              18        TiiE  WITNESS: I -- 1don't think -- I think
   19      Q And that's why Stephen Choi dc:cided to put                          L9 it's a question of how much trust that he had in -
   20 SS million and loan S2 million to the new company,            14:3S:2S      20 inJohn a( that point to see ifhe could tum it      14:36:53
   21 right?                                                                      21 around. And that's what it came down to.
   22      A Yes.                                                               ' 22 BY MR. BILLER:
   'l3     Q    Okay Then you testified you knew in April                         23 Q Okay, He had no -
   24 'IS - in April 201S the company fii.st wasn't going                         24     A Maybe •· maybe he was too trusting.
                                                                                  2S Q Oh, he was too trusting. Re.i.lly:_1 Maybe - 14:37:011
   2S to succeed.                               14:3:S:38
                                                             _ __ P_ag
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                                                                               1      _ _ _ _ __ __ _ _ _                                        Page 189

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    I did he have a lot - a 101 or tnut in John when he                       I          (Exrubit L8 was marlced for 1dentdicauon
   2 fired him in 2016 as he's giving Jene $5 million?                        2          by the cour1 reporter,}
   J    A. No. l think at t(1llt -                                            3 BY MR. BILLER:
   4    Q So at that point hc-11\lstcd Jene mon:·r Is                         4 Q So you've been given EJth1b1t 18, which 1s
   5 that what you',:,, :;aying?                  14:37: 14                   5 the income lllx 110tum for year 2015, And you've           14.39:28
   6       MR. BRAND: Objection; calls for                                    6 turned to Bates stamp No 4162
   7 speculation.                                                             7      MR. BRAND: I don't-sec ·· maybe I'm
   S      THE WITNESS: Wdl, 'in tcnru - when that                             8 missing something. I don't see Bates ~lamps on
   9 hap •· by ihat time John had gone through qwtc a                         9 here.
   10 b11 of money and he had told them olllhcsc          14:37.li           10          MR.. BTLLER: Oh, I'm sorry You probably            14:39,43
   I l diffcn:nt things and it didn't ,eem like he was                       11 got a copy that doesn't have Bates swnps, so -
   12 goingtobcablc1ode1iver. So-and011t11pofit                              12          MR. BRAND: This, the US      1Clu(n of-

   13· John wanted sub,stan(ially cv~ more money.                            B           MR..BILLER: Yeah
   14 BY MR ..BILLER:                                                        ·14         MR. BRAND: •· partnership mcome?
   IS   Q By the way, how do you know ah this?            14:'37:31          15          MR. BILLER: Yeah.                      14:39·:SI

   16    A Because tho •· tha1 was t~e ·general                              16          MR. BRAND That's II couple more pages.
   17 d1s~~1ons that happened at that po1n1,                                 '17 There you go. Ycah.
   18   Q With who?                                                          18 BY MR. BIUER
   19 A W,th Steve -you.mow, Stephen was,_you                                19    Q      Do·you know how to read a lalt n:tum?
   20 know, kind of thmktng througll what these d1ffcnmt 14.37:43            20     A Genmlly, yes.                         14:40:01
   2I options >VOUld be                                                      21    ·Q Okay So why don't you tell me !he
   22 Q So you had d1SC'IISSions wtth Stephen                                22. 1Cven~s for TW m 2015,
   23 throughout die years about what to do with the                         23 A Three,n\ilhon - 3.9 m1ll1on,
   24 com~y. ,nght'>                                                         24 Q Okay. And. why don't yo11 t~!I me the
   25. A No, H~ would ask kind of our advice as 10 14 J 7.S0                 25 expen.ses that were incurred for that company for           14.40, 13
                                                          Page 190                                                                              Page: 192

    J "Hey, this is - this 1s the scenano," -you know,                         I that year.
    2 and say, "What•· what do you guys think? Is                              2    A 67 milf,on
    3 this •·· which - which -- what's - what's the                            3    Q Okay And what was the ordinary income:?
    4 scenarios?" Or - you know, so basically 1-\e would                       4    A     Negative 4.6 million.
    5 give .us -- or ask us for advice in certain     14:38:06                 5    Q Okay. I'm goi11g to go thro~h TW •• PDTW's 14:40:24
    6 situations, but, I mean, obviously the decision was                      6 tax rcNrns in a momcn1, and I'm aoing to show -
    7  has.                                                                    7 tbo,e tu returns will show Ll\at it was 11ev1:1 in the
    8     Q Okay. But you gave him the advice to-· to                          S negat1v1; and that its expenses were never as high as.
    9  fire John? Did you give ham that advice?                                9 this.
   IO     A 1 mean, r -· no. What -· I think at that 14:38: 15                10       Did anybody - did you ever - did you     14:40:42
   II  point - we were tom betwci:n what to do at that                        11 =cive tnis Wt return? Have you seen it before?
   12  point and it was more a ques1ion ofhtm feeling more                    12    A Ldon't - I don't n:calL
   13  comfonable with which direction it would go amt                        13    Q Do you ahink these arc good numbers for·
   14 .the - the amount of money that he would probably                       14 busi~?
   15 need to put in. So, I mean, yeah.               14:38:28                IS    A.     No.                          14:40:51
   16 Q Did the company ever show any signs at a~y                            16    Q      Okay, Can you explain where all !he mQlley·
   17 ltme_of mak.ing 2 profit?                                               17 went other than pointing to the document and
   18 A. l think during •· there's -1 mean, each                              18 cla1n11ng it wenuomewhere?
   19 lime they would have new - you know, new d~1gns                         19    A Well-
   20 come out and they thought that that would do 11.      14:38:4           20    Q Ltke, exampl~. the California S1atemcn1             14:41:02
   2I         So, I mean, each - - each season you were                       2.1 page. it shows $5 ,rulhon $S. million went for
   22 hoping that it would do better, but 1t is - you                         22 expenses,
   23 know, it is what it is.      It was challenging.                        23      Did anybody check to see if that $S m1lhon
   24     MR. BILLER; Let1s have the next document                            24 was legi1imate?
   25 marked e:s Exhibit 18.                14:39:01                          25          MR. BRAND Hold on I'm uymg to find               14~41!2)
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    I il                                                                      A Advance to PDTW?                                       7
    2          MR. BILLER: It's the second-to-last - no,              2       Q PDTW..
    3    I'm sorry. Sorry (~ding).                                    3       A Yeah.
    4          MR. BllAND: Okay. Do you see that?                     4       Q It's right there looking at you.
    5          TI-IE WITNESS: Yeah.                   14:41:31         5      A That's to PDTW?                  14:43: 19
    6          MR. BRAND: Okay, you've got it.                         6      Q Yeah.   Do you see that?
    7           THE WITNESS, Uh-hmm.                                   7      A Uh-huh.
    8 BY MR. BILLER:                                                   8      Q Do you know what the word ''advance" means1
    9 Q Did anybody do an audit?                                       9      A    Yes.
   IO A No. It was done - l mean, obviously we 14:41 :36              10      Q     What does it mean?                  14:43:26
   11 had the •· the secondary that - person that came in             11      A Was given in kind of]ike a loan.
   12 that did do the audit, but not-                                 12      Q No, that's notw:hat it means. Yau know
   13 Q Who?                                                          13    that's not what it means, ~ause a loan. is
   14 A That guy David •· or whatever, Hank Kahrs.                    14    something you give - is money you give to someb
   15 Q You said he didn't do.iu:i audit, he-didn't 14:41:47          15    that pays an interest on it.               14:43;35
   16 complete the audit..                                            16      A    Uh-hmm.
   17   A No,hecom-                                                   17      Q An advance, you don't pay interest on it --
   18 Q Oh, you completed the audit regarding the                     18      A Okay.
   19 theft?                                                          19      Q •. right? Isn't that right?
   20 A Yeah. he went •·                      14:41:53                20      A    Yes.                              14:43:42
   21      (Simultaneous talking.)                                    21      Q    Okay. An advance is when a company is o
   22 Q Regarding •··                                                 22    money or has access to certain money at a certain
   23 A Well, he weot through all th.e numbers to                     23    point in time and payment is made --
   24 detennine if there was anylhing going wrong.                    24;     A Uh-hmm.
   25 Q Where is that audit repon?               14:41 :57            25      Q -- in advance --                   14:43~52
                                                           Page 194                                                           Page 196


         A I don't know.                                                      A   Uh-hmm.
    2 Q You don't have a copy of the audit report?                     2      Q - oflhc due·date.
    3 A r don't have a copy of the audit report.                       3      A Uh, hmm.
    4 Q Why wouldn't you have a copy of the audit•                     4      Q Is that-
    5 repon?                                 14:42:05                  5      A Okay.                          14:43:55
    6 A 1 - I don't know. I WllSn'l,given .a copy                      6      Q ls that your understanding?
    7 of the audit repon.                                              7      A Yes.
    8 Q You're a member. Aren't you interested?                        8      Q Okay. So what documentdo you know that
    9 A Yeah, but lt --1 - I don't have a copy of                      9    exists thal gave T - PD1W an advance of $4 million?
   10 it rlgl\t now. I don't --1 don't-· I don'! have 14;42:12        10      A I don't koow.                    14:44;Q(i
   11 one.                                                            l1      Q Did - di,;!-· did nv.give PPTW -an advancc-
   12 Q Oh, I find lhat peculiar. Aren't you                          l2 ofS4 million?
   13 lntcre~ted in th<: audit report?                                13      A I don't know.
   14        MR. BRAND: Objection; asked and answen:d.                14      Q    You would think it would say in hen:,
   15 BY MR. BILLER:                                 14:42:2.0        15    wouldn't you, in the tall returns?             14:44: 19
   16 Q Are·you interested or not?                                    16      A Uh-hmm.
    17      A    Yes.                                                 17      Q Now. lefs talk about ihe - the gross
   18 Q Okay. Why didn't you max_e an effon to get                    18    losses for 1W. It made, let's say, S4 million in
   19 it?                                                             19    profit~. r:ight?
   20 A 1-- we found the results:associated with 14:42:26             20          Do you see that? About - yeah. It•~ - 14:44:41
   21 il, so, 1 mean -· yeah..                                        2I    here (indicating).
   22 Q There's an entry -                                            22          MR. BRAND: Okay.
   23       A Uh-hmm.                                                 23    BY MR. BILLER:
   2-4 Q -- here that shows advance to PW (sic) LLC                   24       Q rmjust rounding up jUst for, you know,
   25 fot $4 million. rll share my copy (.indicating). 14:43:05       25    the whole of that matter.                   L4:44:52
   !_              _ __            _ ____ _                Page 195                                                             Page 197

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               Do you see 11 made approltim•tcly $4 million                      I Q That's butlt mto the four.
   2 for gro~ rccc1pts7                                                          2 A Yeah; the - no. The four - you subtract
      3    A lught                                                               3 out the two mil -· the S2 million. You end up with
   4       Q Do you see that":                                                   4 $2 mtll1on, and ~n you add an addlt\onal
      5    A    Yes.                                                             S $6 m,lhon of expen~s- S9 that's how you_get to J4:46:5~
   6       .Q Okay And then 11 shows ill\ ordinary                               6 negative 4.6.
   7 business. incort\e loss of 4.613,383 cents (sic)                            7 Q Right. It's all b1,11lt mto the four.
      8        Do you see that'?                                                 8 That's why it says --
   9       A Yes                                                                 9 A It's.not - what do you mean. built into
   lo      Q Okay. -83 dollars.                      14:4}:09                   10 the four?                            i4-_47;02
   11          So (he acru,tl - the acrual loss for the                         11 Q It.says "ordinary business income."
   12 company woilld be the dilfen::nc:e betw1:cn the                           12 A All right.
   13 SA millio11 in gross receipts and the negative                            13 Q That means every - every expense and every
   14 4,600,000, right?                                                         14 revenue that's Ween into account comes to a
   IS      A I don't undefstand what you're saying.          14:45:29           15 negative four, right?                    14:47:'12
   16      Q Okay. What-math did you lake in college?                           16       A Right
   17          MR. BRAND. Objec:;tion; atg11menta1ivc.                          17       Q Okay. And so 1t made 3.9 1n profits, 1n
   18 BY MR. BILLER:                                                            18    revenues.
   19 Q Or high $Chool, for that matter.                                        19       A It made four milhon tn revenues, yes.
   20     MR. BRAND.: Objection; argumentative.                  14;45;39       20       Q Right. So it's an eight -- it's an      14:47:20
   21     MR. BILLER: I'm noLarguing. I'm asking                                21    eight-million-dollar loss.
   22· him-                                                                     22       A. That's what I said.
   23          (Simultaneous talking. unreportable )                            23       Q Okay. Did you get any type of document
   24          Mll. BRAND' Okay                                                 24    that stated TW sustained an eiglit-m1llton-dollar
   ~           MR. BIL_LHR. - wnat math did you taJte           14-45 43        25    lossm 2015?                             14:47:37
                                                                     Page 198

      I        M.R. BRAND: Clearly he can do --                                   A Agam, it•· it wasn't an
      2        MR. BILLER! I want -                                            e1ght-m1lhon-dollar Joss, ftrSt of all. -And, I
                                                                                 2
      3        MR, BllAND: •· the subtracllon of··                             mean, they were P&L statements.
                                                                                 3
      4        MR. BILLER: Well, he satd he doesn't -                            4
                                                                                 Q But the P&:L statements are what they are.
      5   rm saying -I want to know jfhe has the basic            14:45:46       S-
                                                                               TheyreJust created !Tom some accountanL               14<47:50
      6   understanding of arithmetic.                                           6   Did anybody go in there and do an actual
      7      Q Do you have the basic understanding of                            7
                                                                               determinalion to see where those losses came from?
      8   arithmetic?                                                            8A [ don't know,
      9     A Yes.                                                           9    Q Did you ask for·one?
   10       Q Okay. So what is the difference between 14:45: 54 10 A No, I didn't ask for one.                                14:48101
   11     four million •· approximately four million and                   II    ,Q D,d Stephen Choi ask tor one?
   12     4,613,000 -- negative 4,613,000?                                 12 .A I don't know.
   13        A Ordinary business mcomc loss So it's                        13 Q And you don't h_avc a copy of the aud1t'l
   14     two, six - so it's a·round eig~t. a -httle over                  14     A No.
   15     eight.                                   14.46:23                15        MR, BRAND'. Asked and answered.                   14:48:
   16        Q Milhon?                                                      16       MR.  Blt.LER:  l want   that audit
   17        A Yeati.                                                       17       MR. BRAND: Ifhc doesn't have a copy, he
   18        Q The com~y lost $8 million in one year,                       18 doesn't have a copy.
   19     nght?                                                             19       MR.  BILLER: He has access to 11.
   20        A No, it did not lose $8 million. It lost 14:46,28            20        MR.  BRAND: If he has access to it., fi~. 14:48: 17
   21     four •· $4.6 million,                                            21 Othcrwjse, it's probably better JUSt to sub))C!Cna tt
   22        Q No, the gross loss of-$8 million.                           22 and get it.
   23        A No. It had cost of goods.sold ofone;                        "23       MR. BILLER: No, don't tell me how to
   24     point - or $2 million, and then you end up with.                 24 practice law.
   25     total income ofS2 m,llion -                       14~46:41        2S       MR. BRAND. Okay. Well, don't tell me to l4:48:2f
                                           _ __           _ _ _ __
                                                                 Pa_ge
                                                                    _ t_99__._           _ _ _          _ _ _ _ _                        Page 201
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    J get a document I can't get                                     I 2015 gross receipts?
    2       MR. BILLER; He can get ..,_ he has access to             2 A It's higher.
    3 it. He doesn't have to have physical possess.ion of            3    Q Substantially highcr1
    4 a document to produce it. I asked                              4    A Yeah.
    S       MR.BRAND! If-iftt'spossibleforus 14:48:32                5 Q Tw1ceashigh?                         14:51:19
    6 to get the audit we will give you the audit. I                 6 A No.
    7 don't have a problem with givmg )'OU the audit.                7 Q Ok.ay. Do you see where it talks about the
    8       MR. Bil.LER; ()k~y.                                      8 total e,cpenses7
    9 Q Now, let's look al II real company.                          9 A Yes.
   10       MR.BRAND'. Argumentative.                   14.48:52    10 Q, Andwhatnumberdoyouhave?                     14:51:34
   11       MR. BILLER; Can I have the next document                11    A 3.8 million.
   12 1n order as 20, please.                                       12    Q 3,8 million?
   13       THE REPORTER: 19.                                       13 A Uh-hmm.
   i4       MR. BILLER. 19. Sorry.                                  14 Q That 1s substantially lower than PDTW,




                                                                i
   IS       (E-xh1b1t 19 was marked for 1den11ficat1on 14:49: 11    15 isn't 11?                        14:51 :45
   J6-       by the court repo11er.)                                16 A Yes.
   17 BY MR. BILLER:                                                17 Q Okay. How much lowet?
   18 Q And I would like yo1,1 to --                                18    A Two - a liule over rwo million less. Two
   19        THE REPORTER: One second, please.                      19 mtllion. Yeah, two million.
   20        MR. BILLER; Oh, sorry. Sorry about that. 14:49:2       20 Q let's go to the back sheet, e,cpense sheet. 14:52:01
   21    Q    Have you seen Exhibit 19 before?                     A Uh-hmm.
                                                                    21
   22    A    No, I have not,                                      Q Do you see the expenses for the company?
                                                                    22
   23 Q Do you agree that appc:IUS to be the 2013             23 A Yes.
   24 tax •return for PDTW?                                   24 Q Are the expense -- wh~t are the expenses
   25        MR. BRAND; ObJection, ll'sa2013 - '14, 14:49:4()125 fotT-J>DTW?                           14:52:19
                                                         Page 202             _ _ _ _ __ _ __ _ _ _ _ _P•ge 204

    I 11 looks hke,                                                       A   2.4 million,
    2       MR. BILLER: No, ' 13. Did I give you ' 14?               2    Q   ls it substan.ually lower than the: expenses
    3       MR. BRAND; Yeah, I've got' 14 here                       .3 forTW 1n 2015?
    4 BY MR. BfLLER:                                                 4    A   Yes, it's less,
    5 Q What do you have.?                        14:49:53           S    Q How much less?                          l4;52:3 1
    6     A ' 14.                                                    6    A   I don't know. ·1 don't have 11 m front of
    7 Q '14, too. Okay. I know lhts •· oh, here                     7 me.
    8 we go.. Let's take the stamp off and switch 'em to            8 Q It's about·half as much, isn't it?
    9 ' 13, please.                                                 9 A Where's the other one from before?
   10        (Exhibit 19 was re-marked for identification 14:50:26 10     (Witness reviews document.)          14:52:38
   11         by the court reporter.)                              11     THE WITNESS. It's about two m11llon less.
   12         TIIE WITNESS: Ok11y.                                   12 BY MR. BILLER!
   13         MR. BILLER: Do.you have '137                           13   Q What 1s the number on the: TW return for
   14         MR. BRAND. This ls '13.                                14 2013 1n terms ·ofexpeoses?
   IS         MR BILLER, Okay.                     l4:50i53.         15   A 4.5.                        I 4· 53:39
   16         MR, BRAND: You have ' 13 nghl there.                   16   Q Did you evercom~the numbers for-TW and
   17         THE WITNESS: Uh-huh.                                   17 PDTW -
   18   BY MR, BfLLER:                                               18 A No.
   19      Q Does this appear to be the 2013 PDTW tax                19 Q -- to determine how well the company was
   20   rctw:n?                            14:51 :00                 20 domg poor to TW's destruction'!            14,53:57
   21     A    Yes.                                                  21   A No.
   22     Q Okay. Can you read what the·· the gross                  22 Q It's fair to say that TW never made up
   2_3 receipts were for that year?                                  23 those losses from its first year, correct?
   24 A Seven mil hon ..
   25 Q Okay Is that higher or lower for TW's            14.51;09
                                                                     24 A Yeah, lt did not.
                                                                     2S Q Okay. Instead, it continued to mcur       14.54:10
                                                                                                                             Page 205
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    I losses from thc·fiDt year?                                                    I "I have nothing to do with H!llshorc" lS an honc,t
   2       A    Yes,                                                                2 statement or no17
   3       Q Right?                                                                 j    A     I - I don't know the airangemeol of
   4       A    Yes.                                                                4 what - what his amngcment wslh Hilrshorc ts.
   .S      Q Okay. Becauseweknowaftccihefirstyear l4:S4:16·                         S    Q But he has some.ammgement?                   l4~S6:07
   6 Stephen Choi inves1ed at least another S9.S million.                           6    A I tl.on'I know. I don't know -1 don't know
   7 righ1?                                                                         7 who owns Hillshore,
    8      A I don't know.                                                          8 Q But Hillshot"C ,s a partner, a member o.fTW,
    9      QOlcay. Do you hav~ - you know Step!lcn                                  9 right?
   JO Choi. You have 13 b.usinesJ>C$ that -some of which l4 ..s4:30                10    A I believe so.                  14 56 l·S
   I I involve him.                                                                IJ    Q Yeah. Stephen ChOJ 1s not, nght.?
   12           You've -you know, you're-· can you                                 12    A Ycah,,he - yeah H1llshorc is,the -
   13 explain why he wrn.tld invest S.9 million in a company                       13 Hill -· Hillsho~ is the parmcr; yes
   14 that wu in - in the•· showing so poorly from the                             14 Q And the d.eal was bctwcea Stephen Choi and
   1.5 very beginning?                               14:54:46                      IS Paula Thom11S. right?
   16           MR. BRAND,: Objection; calls for                                   16         MS. THOMAS Uh,hmm
   17 speculation.                                                                 17         THE WITNESS No.
   18           THE WITNESS: I think Slcphcn's -                                   18 BY MR. BILLER:
   19 Stephen's a trusling guy.                                                    19'   Q You just.testified. that the deal was
   io    8Y MR. BILLER:                                 14:54:54                   20 between Stephen Choi and Paula Thomas 1n yo11r           14,56' 35
   2·1     Q       He's I trusting guy. All ri_ght.                                21 e-mail.
   22      A       And also he is somebody who·- you know,                         22.   A Yes. I mean, ifyou'rc.-u ying who -
   23 obviously he put m so much money, he doesn't want                            23 who - the doets1on-malc1ng pl'OCC$$ of the .deal tenn1
   24    10 lose   II, w he wanted to try to make II work..                        24 yes I'm JU.SI :;aytng I - I mean, the·ent1ty
   2.S          And, hke I wd, John was good al 1cl11ng 14 55.04                   25 Ht!ishorc, ho.w 11 got involved, I don't le.now      14: 56 5.1
                                                                        Page 206                                                                    Page 208

         him, "Hey, it's going to tUJTI around.'' He did a                          I Q Okay. So you would·agree that the
    2 good job in saying he could tum ii around, and                                2 agreement, though, was between Choi and Paula
    J that's why 0 - that's why he kept Oil investing.                              J Thomas?
    4      Q Okay. Is - is Stephen choi such \I                                     4     A     Yes.
    5· trus!'\'orthy guy he ~gularly t ommits perjury?             14:55: 19        5       MR. J3RAND: ls it-                14:57:00
    6           MR. BRAND: Objection.                                               6 BY MR. B11,.LER:
    7 BY MR. BILLER:                                                                7 Q Okay. So it didn't inyolve Hillshore.at
    8      Q       Is that the cype of man he is?                                   8 the time the-agreement was made, right?
    9           MR. BRAND: Objection; argllTTlentativc.                             9 A Yeah, I don't believ.e so. Yes.
   10 Objection: no foundation.                          14:55:25                  10     Q   Ok~y.                            14:57:08
   11 BY MR. BILLER:                                                               11        Okay. Why wasn't Stephen ,Choi put on the
   12      Q Doyouicnowif)le'slold -ifheloldthe                                    12 original operating agreement?
   13 truth when he tcs1ified?                                                     13    A Because we set up the ~ompaoy before, so
   14       A I don't know.                                                        14 when the money was funded, 1 think there's tax "'-
   1.5     Q Doyou?                                 !4:SS.31                       IS tait reasons associated with it.                I 4:58:2 1
   16      A I don't know.                                                         16 Q Thal benefit Choi?
   17      Q Did .h e ever tell you that he hJK! a •· he                           11 A No. It benefitted all of .us for -- if we
   18 had to make - make Slllff up when. he testified?                             18 did it all a( one time, then it would create basis.
   )9       A l don't know.                                                        19 Q Okay. Explain that to me.
   20       Q But the following·statement would be              14:55:40           20 A 1f you put - if he puts,in money 1111d the 14:58:33
   21 11ntn1c, would ii not, "I had nothing 10 do with                             21 valuation is a certain amount and the rest of us
   22 Hill5horc"? That's not a truthful statement, is it?                          22 don't put in money, we either have to -- to -- to




                                                                                   l
   23       A      I don't know.                                                   2~ own the comp1111y al the origiillll valuation if-
   24       Q You don't koow7 You just gave ~timony                                24 unless we put -- if -- unless we put up the money,
  125 about Hillshorc         You don't know 1fChot's statement 14:S5' 54          25 we can't get the va:lue-- we can'l get the -- let's 14:58:S I
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    I say the-compaily is valued at S9 million,                                              A     There was- a lot of negollation on th~
   2           lfhc puts in the money and'we -all come in                               2 documents.
    3 al .the same time, he has whatever basis, he owns-                                3    Q No. How do you know?
   4 whetever.pen:cncaae. lfwe ever sold the compeny at                                 4    A Because - what do you mean, how do I know?
    S a later point, my understanding is, is thalthe             l4:S9:0S               s .Becall$C -                              Is,00 35
    6 first ni11e mi11ion we.would get no pelCQ!taJe in.                                6    Q How do you know?
   ·1 And !hen after. then we would gel iL                                              7    A Because we saw the documents
    8          Bui by putting the Slructure !he Olher way.                              8    Q Who gave you the-documents?
    9 when: you put the people first, they own the                                      9    A     We got the documents as part of'the
   i0 company. and when Stephen comes in, theo you --you 14:59: 18                     10 process, beca11SC we•- when -when 'Paula had 10             JS:OQ 39
   11 can - you ..., when you sett it later you would still                            11 -     in we got lo sec: - we had 1..0 sign off on all
   12 have I.he zero basis so you'd be 11ble lo C.11.ptun: 1111                        12 1hese documents.
   13 ofthe -                                                                          13    Q Okay. Whal - what are you talking about,
   14      Q      Who told you wt?                                                     14 sir'!
   15      A      Just the tax people.                (4;59:29                         lS         MR. BRAND: Objec1ion -                      15:00:4'1
   16     Q Tax -- who tax•· who tax people?                                           16 BY MR. Bll.LER:
   17     A General tax people.                                                        17    Q Bec.ause -·
   18     Q No. Genenll -- not -                                                       18         MR. BRAND: - argumc:ntalive.
   19     A I don't know, I don't n:member, but -                                      19 BY MR. BILLER:
   20      (Sunultaneous talking.)             14 59,35                                20    Q Can you get the documents? Okay.                   15.00:50
   21     Q Who told -~ I want to know who told                                        21    A The clawb111:k provlSlon documents?
   22 you --                                                                           22    Q Lets get the.documents. I've got all
   23      A      ldon't-                                                              23 ·seven of 'em. Okay? let's get 'em all out
   24     Q - that was the scheme                                                      24         You s1gned one document ·Tlull's wha.1 you
   25     A It wasn't a scheme, II -                     14 59:38                      25 s,gnc:d, one That's 1l, buddy                   li.01,10
                                                                            Page 210                                                                      Page212

           Q lt'it a scheme, t,c,causc Paula (:\\I! in                                            MR. BRAND: Well, let's Sj:e. And
    2 32,000 - $3,200, so why would she have to wait?                                   2 objection: argumen1ativc.
    J She wasn't going ro get ii tax.benefit out of'll It                               j         MR BILLER Lei's go off the record for a
    4 was-Choi, you, Hanna, Parle                                                       4 second.
    S      A Wc:11, we all pUI II) 111oney-                 14.59.53                    5         THE VIDEOGRAPHER Going off the record at 15:02.41
    6      Q No~                                                                        6 3.02 P.M
    7      A - based on a percentage                                                    1         ( D1SCUSs1on off the record.)
    8      Q How much did you put _m, 51001                                             8         (Exhibit 20. Exhibit 21, Exh1b1\ 22,
    9      A Yeah, because we got the 2, S percent                                      9         Exhibit 23 arid Exhibit 24 were mailted by
   ro      Q So why wouldn'I Paula have to put her m-0ney 15:00:00                     10         lhe coun reporter.)      15.04.53
   ll    10 get   benefit of that deal?                                                11         THE VIDEOGRAPHER: Going back.,on the record
   12      A      Shedid.                                                              12 at 3:05 P.M.
   13.     Q She did in Janu_ary.                                                      13 BY MR. BILLER:
   14      A      Ye;th, but she goHhe •· ~he got the same                             14    Q Is the first document in. front of you,
   IS- exact thing.                                IS:00:06                            IS Exhibit 20, the clawback agreement'?                    15:05:07
   I&      Q      lllo, but she didn't -- she wasn't made part                         16     A    Yes.

   17 of the operat111g agre1m1enl in July, Why wasn't                                 17     Q    Does your name appear on \hat?
   18 that - w!,y was she held .o u1of the operating                                   18     A    Yes.
   19 agn:ement?                                                                       !9    Q And you signed it, righ,t?
   20      A B~usc I.hen: was so manydocumcn\5 that                   IS:00:16         20                                         IS OS 14
   21 still needed to be created for Paul.a. She had a                                 21     Q And, generally spt,;1km$, lhe.cl11wblad, ,.
   22 cl4wl>ac:lt provision.she hod a purchase agreemenL                               22 clawback agrcCTMnt allows Paula 10·collec1 a certain
   23 There was - there was four or live more documents                                23 amount of~entage of tlie own.~•P of the comp11.ny
   24 tha1 Paula ha.d to -                                                             24 frOlll you and the other members 1fthe five bsl -
   25      Q Why couldn't they create·them by·then'.'               I S.00 26          25 S5 mtlllon 1s n:pa1d 1n a certain amount of ume,, 1s I 5 05,28
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      I that right?                                                                 1 ~entially says TW has received IOIS of money and
     "2 A Yes.                                                                      2 we're going IO IISC it in this manner. right?
      3 'Q You're giving back some of your interest to                              3     A No, TW was going lo give this money to
      4 Paula, right'r                                                              4 P -- !he money that's owed by PDTW. So the CBC
      S- A Yes.                              I5:05:37                               5 loan, the Da Du Trading. the mQriies owed to DaDa              15:08:02
     6     Q 0kay. Did -you didn't sign~ did you                                    6 Tniding, !1inance One -
      7 sign the indemnity agreement?                                               7     Q     It.'s go~g 10 pay,off its debts?
      8 A Yes, I did                                                                8     A     YealL PDTWs debts, y~.
     9     Q Okay. And this was the whole - I'm sony.                               9     Q Okay. And whatdid I say?
    IO        When J n:ad this agreement r just laugh, I S;Q5,S9                   10     A TW.                          1.S:Oll:12
    11 because it's supposed to indemnify Paula for any of                         11     Q Okay. That document c:sseo1ially is that TW
    12 lhe debt that is paid ofTby TW on the existing --                           12 j; aoing IO pay off PDTW'~ deb~. right?
    13 some of the existing money from debtors. ls that                            ll     A.    It's going to giv• this money so that PDTW
    14 right?                                                                      L4 could piy off the debts, yes,
    JS A Yes.                                LS:06:12                              15     Q Ok!ly. ls ii going to give ihat money              I.S:08:25
    16 Q Okay. Then we've got the 41greement lhroug~                               16 directly to PDTW?
    17 membership interest that.you did not sign.because                           l7     A     I- I don't know.
    18 one wasn't prepared for you, right?                                         18     Q You have no idea?
    19 A Yeah. Yeah, I didn't -- I didn't sign off                                 l9     A I'm not sure.
    20 on this. John did.                       15:06:31                           20     Q Can you tell me why there was a notice of 15:08:31
    21     Q Right. And this -- you didn't sign any                                21 action or something to that effect that put all that
    22 s(milar document, right?                                                    ;n debt on Paula Thomas?
    2'3 A I don't know. I don'r belii:ve so.                                       23     A I don't know. I don't know what you're
    24 Q Okay. You signed th.e operating agreement,                                24 talking about.
    25 though?.                               15:06:40                             2S     _Q    Youdon'tknow?                          IS:0B:45
                                                                       Page214                                                                             Page.216

          A Yes.                                                                    J     A     No.
     2    Q Okay. Do you know wh.c n you signed that?                               2     Q Okay, I'll ~how you.
     3    A   I don;t know. I don't mnember.                                        l          MR. BRAND: I would just say objection:
     4    Q Now -- shoot. The next document is the                                  4 misstates the evidence. I mean. let's sec the
     S a.mended and reseated operatina BifCffi!cnt, right'?       IS :07:-04        .S 4ocument itself.                             l S:08:SJ
     6    A    No,                                                                  6          MR. BILLER: I can aslt questions. Counsel.
     7    Q What do you have?                                                       7 befo.re I show him do!;umen,IS. It's called laying the
     8    A Use of proceeds agreement.                                              8 foundation.
     9    Q Use of pcocec!ls agreement. Otay. Well.                                 9          What' number did we gel up to'!
    10 did you sign that document?                     I.S:07:13                   10          THE REPORTER: 24.                          15;09:32
    11    A    Yes.                                                                I I'        MR. BILLER: "24? Let's marlt the next one
    Ii        MR. BRAND I'd hkc to pomt out-on this                                12 asE~hibiLNo 25
    13 documciit [!,c very last pag,: is a signature page for                      11          (Eli:hib11 2.S was marked for identification.
    14 the indemnity l)greemenL This s«ortd page, is a.                            14          by Ilic court reporter.)
    l .S s1gn.ature page for the use of proceeds:         15:0'1':24               15 BY MR. BILLER:                                    IS:09:54
   \ t6       MR. BILLER: Okay.                                                    16   Q Sir, do you have a copy ofall the minuces
     17       MR .BRAND So it look.ii Like a signature                             17 for the company'I
    18 page 101 tacked on                                                          18    A All the mnill.tcs. l'in not sure.
    19        MR. BILLER: Okay. but lie has a current                              19 Q Did you produce any'!
    20 copy of the document That's part of the m;onl.           1S:07:34           20     A lf'I had any minutes, yes.                  IS:10:0S
    21        MR, BRAND: Okay, That is -- 1 mean,                                 I 21    Q Okay. I didn't see any. so that's why rm
    22 it'& -- it's in there I:iust wan1ed Jou to be                               22 asking I didn't see·any notices regarding action
    23 awve of that.                                                               23 taken by the-members.        bi~ you throw tliose away?
    24 BY MR: BILLER.                                                              24     A     No, I don't think so.
    2S    Q    So the use of proceeds agn:emcnt            l.S 07'38               2S          MR: BRAND: 1 believe we did produce some              IS:10:IS
                                                                       P1gc 215                                                                         Page 217

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    l minutes. I'll uikc a l_ook.                                                         MR. BRAND: Toe -·                                                  I
   2         MR. BILLER: Okay.                                                 2 BY MR. BlLLER.
    l    Q All right. Why don't you loolc al Exh1b11                           3     Q What -what •··do - do you - do you know
    4 No 25.                                                                   4 of any document, as you sit here today, that shows
    S        (Witness reviews docu~l.)                15: 10:25'                5 E,i:hibit lS was 1113dcpart of the dc:a.l 10 c_
                                                                                                                                reate TW?     I5~12:25
    6 BY MR. BILLER:                                                           6          MR. BRAND: Objection; asked and answered
    7    Q Have you read ii?                                                   7 .B Y MR. BILLER.
    8     (Wimess reviews document,)                                            8    Q     Do you know of any document !hat states
    9 BY MR BILLER'.                                                            9 that?
   10 Q Whywould-                                 IS:11 :00                    10         I\IJR, BRAND: Asked and answered.                 IS:12:35
   11    A    Yes.                                                             11,        THE WITNESS• I don"t know. I meun -
   12    Q Why would Paula Thomas allegedly-                                   12 BY MR. BILLB.R:
   l 3 allegedly •· we bcheve iherc 1s a forgery --                            13    Q     You don't know? You don't know ofa
   14 allegedly s_1gn this action of written consent that                      14- document'!
   IS makes her n:spoRSible.for. !he $2 million that TW was IS: 11 :09         IS    A     No. I -                        15:12:40
   ,16 :,upposed to pay for the debt for PDTW?                                 16    Q Is that saying "I don't know of a
   17        Why would she do !hat'!                                           17 document"?
   18    A    I don't know.                                                    18    A     Yes.ldon'i"knowofadocument,bu1l
   I9      MR. BRANO: Calls for speculation.                                   19 don't know what - if this-was pan oflhe deal or
   20 .BY MR. BILLER:                        lS:11:24                          20 not                                   15; 12:48
   21    Q You would agree this doc;umcrtt is punin1                           21    Q Okay. Has anybody-told you Exhibit 25 was
   22 debl on Paula's back. right?                                             22 panof!hec!Ql?
   23    A I believe so                                                        23    A     I don't n:mem~ 1111yone saying it.
   24    Q Ollay. Do you have any idea why. that·-                             ;z4   Q All right. That's a lot of money.
   25 anybody would do thal7                   IS:11 :33                       25 S2.million. don't you thinlc"!
                                                                   P-!ge 218                                                                     Page 22()

              MR, BRAND: Calls for speculation.                         I A Yes.
    2         11iE WITNESS: I - I don'tknow.                            2 Q Okay. So don't you think Paula Thomas
    3-BY MR. BILLER:                                                   .3 owing S2 million is a significant fact ~• you
    4- Q Okay. You would agree. that this was nol                       4 would want recorded in the paperwork someph1cc?
    5 pan of the deal? Exhibit 25 was not part of the 15: 11 :40 5           A. So - I mean, again, I - I don't know          15: 13:18
    6 deal. right?                                                      6 enough   about this.  ( -· I didn't know if PDTW,   she
    7 A I --1 doTI't know. 1-- 1 don't - I don't                        7 owned this debt and then the-money was going 10 be
    8 know - I don't know who owned the original debt •·                8 given so that they co1.1ld repay the debt.
    9 Q Okay.                                                           9       I mean, again, I don't know what the --
   10   A - so I'm not SUfC,                     15:11 :55            10     Q   Okay.                              15:13:33
   11   Q No. Sir, "I don't know'' .is not the right                  11     A - what - what the•· the logistics of how
   12 answer,                                                         12 this was _going to be set up. That's all -·
   13    A. Uh-hmm.                                                   13        (Simultaneous talking, unreponab!e.)
   14    Q rm-asking you if you do know. You could                    14     Q You•· you -
   15 say "yes" or "no."                         15:12:02             15 A That's all I'm saying. 1 don't.knQw -              15:13:37
   16 A Okay.                                                         16 Q Youdo-
   17 Q But you can't say "I don't know," because                     17 A - that.
   18 you could come back sometime - later time and say               18     Q -- know. Sir. you do know.
   19 "Ob, now I remember.''                                          19     A No, I don't know.
   20        Do you understand?                    15:12: 12          20     Q    You just-testified about it.            15:13:39
   21        So do you or do you not know whether or not              21        Well, this -   you're  showing   me this.
   22 this document. "Eithibit 25, was part of the deal that          22        PDTW owed $2 million. 'The deal was Stephen
   23 created TW?                                                     23 Choi will fund a two-million-dollar loan. That
   24 A I don't remember.                                             24 money would then be used 10 pay off PDTW debt.
   25 Q No. Sir-                              l5; 12:17               25 Isn't that your understanding?                    IS; I 3:55
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              MR. BRAND: Objc:ctio_n; misstates the prior                                A Yeah. Yes.
     2 testimony.                                                                2       Q If you would tum co the tjlird pllge. Docs
     3 BY MR. BILLER:                                                            '3 it noc show then: that,TW claims PDTW owes it
     4   Q Is that -- is that your undmtanding?                                  4 $4.4 million in expenscs for 2014 and 2015?
    ·5 A My undcnt.anding is, Is that there is this 15:14:02                      5          MR. BRAND: Can you point Iha! out on           JS: 16:28·
     6 debt out lhere and ii would be repaid. How it would                        6 chc -·
     1 repay. it doesn't clearly st.ate.                                          7          MR. BILLER: It's on tllc:.bonom. Do you
     8    Q Well. you pot oo th<; e-mail that S2 million                          8    want 10 see my copy?
     9 would l,e lent to the company or loaned to the                             9          MR. BRAND: Sure.
    10 COfl\J>aRY 'to pay the debt.                    15: 14:17                 [0          (Docutnent handed to counsel.)            IS:16:3S
    11        That's what the e, mail :;ay:S. right?                             LI          MR BRAND: Okay. I scc it
    12    A    Well, I don'trememberthts exact wording.                          12          THE WITNESS: Where is it?
    13 ofthe e-mail I know 1ha1 at the end. yes. th,s                            IJ          MR BRANO: It's the total.
    14' $2 m,lhon would be nipat.d.                                              14          THE WITNESS: The totaL Okay. So what's
    IS    Q    Okay. And (hatwouldcomdrommoncylrom IS: 14:28                     IS the qu~tion?                               IS!l6:4S
    16 Stephen Choi?                                                             16 BY MR. BILLER:
    17    A from the - the loan?                                                 17      Q Thal report. Exhibit No. 26 ••
    1s·   Q    Yes.                                                              18      A    Uh-hmm
    19    A Yes.                                                                 19   Q ~ ~hows that TW is expecting to collect
    20    Q Okay Soyoudon'tknowanybodywhotold                      IS 14:)S      20 $4,4 million forcxpensc:;s that TW paid for PDTW.          15:16:51
    2 1 you that S2 m111ion WO\lld be puc back on Paula                          21      A    So what 1s this categncy? I - l'.m not
    22 Thomas and you haven'! •· you don't le.now of any                         22 quite•·
    23 document that says that, nght'>                                           23      Q 11)1s 1s a report that :;ays on the top
    24    A Ycah, I don'c · • I donl know and - I                                24 "Thomas Wylde LLC Account Qu1cl(Book" (sic) "All
    25 mean, again, I •• I = 1 don'.tl:now the ~tails M_y ISt l4 48              25 Transl<:tions ..                           15, 1_7 32
                                                                      Page.222                                                                    P:igc:224

                                                                                               Okay.
                                                                                                            - ----------
       I assumption was the $2 million was,paii:I off.                                   A
      2 Q Okay. In 2014?                                                          2       Q "Ad9anccd by. 1W to PDTW."
       3 A No. (don't .know eKactly when it was paid                              3'      A Okay.
      4 off, but my understanding was it was paid off.                            4       Q Upper left-hand comer.
       5 Q Okay. By somebody other than Paula?             L5:15:,                j       A Okay.                                15:17:40
      6 A Yea!). l'm - · I'm·· yeah. Well, I •• r                                 6      Q And we have the bank statement for these
       7 thought what happened was that $2 million was                            7    ent.ries, and it's a Quick Book (sic) I, and it shows
       8 provided and then used to pay off·· P-'Y olT                             8    4.4 (sic) allegedly was paid by TW for the benefil
       9. these -· yo~ know, the various debts that aro                           9    ofPDTW,
     10 associated with it.                       15:15:16                       JO       A Okay.                                15: 17:57
     11 Q And you_have no eKplanation why the same                               11       Q Do you see that?
     12 debts amounting to approximately $2 million would,be                     12       A Yes.
   I 1.3 put back on Paula's shoulder, do you?                                   13       Q Okay. Now, if you goon to -• i have
     I 4 A No, I don't know.                                                     14    horrible eyes, so Just wa1~ one second.
             Q Okay. Did you - did •· you know, one of 15:15,25                  15           Okay. Uyou go on to Page 2 - I'm going 15:18:07
    16 the most inte.resting documents I find in this                            16    to show you··
    17 case •· I don't mind telling you because it kills           17                         Do you mind, CoUll!icl? Bec.ausc I have
    1.8 you. h}cills.nv.                                           18                  horrible eyes. J can.' t -·
    19       MR, :SRANO: Objection; argumentative.                 19                         MR. BRAND: Sure.
    20       MR. BILLElt: Next one in order. please. 26. IS: 15:3♦ 20                         MR. BILLER. -explain 1t. (just put a 15:18:20
    21       (Exhibit 26 was marlced for identification            21                  check next to the amount.
    22        by the court reporter.)                              22                         MR. BRAND; Okay. So. you're looking at an
    23 BY MR. BILLER:                                              2J                  entry of$1.639,0i5.63?
    24 Q Have you ever ~ad ·a Qu1ckBook (sic)                      24                         MR'. BILLER: Yes.
    25 n:pott, .sir?                         15: 16:02             25                     Q Do you know what lhat entry is ror?              l5. f8!33
                                                                      Page 223
                                                                         ___,_                                                                    Page 22S    l
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           A     Sounds like it was the payment 1h11 -- lhat                      I BY MR. BILLER:
    2 TW made on the CBC note.                                                    2    Q Everything was dosed by ,h~n. wasn't it?
    )      Q RighL                                                                3    A I believe so.
    4      A     Yei;.                                                            4    Q Now, this is where your company -- and I'm
    5      Q     So TW was cnarging PDTW the 6.39 mllflon           15: 18:46     5 going to hold ev.ery single one-of you responsible 15:21:
    6 lhat it paid off. with yow money, the CBC loan?                             6 for committing fr11ud on the bankruptcy coun..
    7           MR. BRAND Objection, mischaractenzcs the                          7       Do you lcnow TW tiled for bankruptcy?
    8 evidence,                                                                   8 A Do I what?
    9 BY MR. BILI.ER·                                                             9    Q Do you know TW filed for bankruptcy?
   IO      Q     Is that your underslllndmg?                                     10 A No,, Idonot.                           15:21:19
   11      A     Can you repeat the quesuon                                      11   Q It didn't tile for ban~tcy. It made
   12      Q     Sun,                                                            12 claims m bank:iuptcy coun. Did you know that?
   I3           This document indicates lhat TW was                              13 A Cla11l\S tn bankruptcy court?
   14 claiming ID pay expenses for T - PDTW ID pay off                           14     Q    Yes.
   IS the•- the CBC loan.                   15:19:2S                             15     A      1-Idon'tkno\\'.                  15:2 1:29
   16    A Okay.                                                                 Hi       Q You don't ·know iinything from Ricllard Peddie
   17 Q Is that right?                                                           17   about the bankruptcy procc:ed_ings in this -- you're
   18      A     Yes                                                             18   being deposed in the bankruptcy proceedings.
   19   Q Okay But tr was Stephen Choi who made the                              19          ,fs that what you're saying?
   20 loan tbit was used to pay offih.e CBC loon before IS 19 36                 20       A r don't- I don't know the details of       15:21:43
   21 2015, correct<>                                                            21   what's happening in the bankruptcy proceedings.
   n       A     Yes                                                             22       Q Well, what did·· what.did Richard Peddie
   23      Q     Okay. That's cons1stcnl wuh the use of                          23   tc:11 you about them?
   24 proceeds agreeoient, nght?                                                 24           MIL BRAND: Objection; allomc:y-client
   25      A I believe so                         15.19. SQ                      25   pnv1!ege.                              15:21 :52
                                                                      Pase226                                                             P11gc 228
                                        --------                                - - - - - -- - - -               ---------
           Q     Oby. So do y011 liave any-- ilo y11u know                             MR. BILLER: When do you want·to work this
    2 why TW woukl wani PDTW to pay $4.4 million in debt                          2 out? Tomorrow?
    3 including a IOIJ! that was already paid off?                                3       MR. BRAND: Sure.
    4     MR. BRAND: Calls -                                                      4       MR. BILLER: Here? Yoor office'?
    S BY MR. BILLER.                                   I.S.20:08                  5       MR. 'BRAND: We'll•• we'll - we'll select 15:21:59
    6      Q     Do you--                                                         6 a place --                                                      I
    7           MR BRAND. - for spcculallon                                        7      MR. BlLL~R, Okay.
    8 BY MR. BILLER                                                               '8      MR. BRAND: - later.
     9     Q - know why7                                                           9      MR. BILLER: All right.
    10      A    Well, I'm not exactly sµrc what - what the IS· 20: 11           10 Q TW made a - a claim in bankruptcy-court 15:22:ot
   1 L entity struc!UIC was at that poml. I don't thmk                           11 against PDTW for $2.5 million.
    12 that TW- I'm.not sure iftheTW was fin.aliz.cd 1n                          12       Did you know that?
    13 1c:rms of the funding associated with it. so I'm not                      13 A lfo, l did not lcnow that.
    14 sure if this was crc;ated as a holdct and then when                       14 Q' Do you lcnow where that S2.5 million comes
    15 everything was going to be set up, when Stephen put I.S:20:29             15 from?                                    15:22:24
    16    in the m,oney, into TW -                                               16 A I do not know.
    17•      Q This was c~ated in 2015 Expenses go in                            17 Q That $2.5 million comes from Exhibit
    18 to deep 2015                                                              18 No. 5-·20- the exhibit I just showed you, 20 -
    19           MR. BRAND· Is there eny -                                       1.9 26. minus the $2 million that Choi paid off. That's
   20            MR. BJUER: The dates. Look al the dates. I.S:20:42              20 where it comes frc:,m.                         ·15 :22:42
    21 guys.                                                                     21       So you were managing or you were. i_nvolv~.
    22          QR BRAND        So 1t looks hkc the last entry                   22 with TW. How in the world did TW or PDTW incur two
   23 was September 15th, 20JS?                                                  23 million doll •· $2.4 million i n dc:bt when its deb1
   24      MR, BILLER·. Yeah.                                                    24 was paid off by Stephen Choi and it was not
                 MR. BRANO Okay                          IS 20:52                2S functioning, essentially, .in the latter part of      I 5:23:08
                                                      _ __ _ _Pa_s_e_2_21-1            - - -~ - - -- - --                                  Page 2211

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       I 2014?                                                             I      A He m1gh_1have had ouuidc counsel hc,lp.
   2            How did - how 1s that possible?                            2·    Q 1l11s e-mail s_rates that !here's no tax
   J         A J don't know.                                               3 consequence to Paula, correct?
    4        Q Okay. Let me Just find - find that clatm,                   4      A ltsays,
    5            What time 1s 1t?                 15:24: J.J               5         · Based 011 advice from our ou1Sidc            15:26:55
    6           MR. BRAND; 3'.23,                                          6         CPA. those asseu and deb!$ should
    7            MR BILLER: 3:23. So what does that mean?                  7         can<:el out w that Paula has no tax
    8      How long have we been going now, an hour and 10                 8         consequcnee.
    9      minutes?                                                        9         Com:ct.
   l0            MR. BRAN,D: Yeah, about.                  15:24:25       10      Q Okay No"!, did you have toappmveofthc IS:27:02
   11            MR. BILLER. Does everybody want to take a                I 1 employment agrccmtlit -
   12      break, then?                                                   12         Let's take ll bn:ak., aclllally,
   13            THE WITNESS. I'm tine to keep going                      I)         MR BRAND· Okay,
   14            MR BILLER: How ·aboutthe reporter?                       14         MR. BILLER: It's gcuing hot, ls ;ioybody
   15      That's what I'm -                        15:24:33              15 else hot'?                                 I S.27.28
   f6            TI-IE WITNESS: Oh                                        16         THE VIOEOGRAPHER• This mari:s the end of
   17            MR. BILLER: - mo.st concerned about..                   1
                                                                           n    Media No. 3. GO'ing off1hc retard at 3·27 PM
   18      She's the one that's wo~ing the hardest.                      ' 18        (Recess)
   19            TI-IE REPORTER: Whenever you can take a                  19         THE VIDEOGRAPHER: This marlt$ the begmmqg
   20      break, I'll take a break.                 15:24:41             20 ofMediaNo. 4 GomgbackonthercconialJ.33                      IS:3l:40
   21            MR. BILLER: Okay. This says that how                     11 P,M.
   22      important to me -- well, never mind.                           22 BY MR. BILLER:
   23            The next document, marked as 27, please.                 23      Q Sir - I'm s()(I')'. S1~. would you please
   24            (Exhibit 27 was marked for identification                24 look a~ Exhibit No 28
   25             by.the court reporter..)           15:25:20             25         1Exh1b11 28 was marlced for tdl'!lllficatton
                                                              Page 230                                                                         PaJC 232
  I-                                                                                                                                                -1

               (Witness reviews document.)                                            by the ooun reponer.)
       2       THE WITNESS: Okay.                                          2         (Witness reviews d,;,cumenl.)
       3   BY MR. BILLER;                                                  3    BY MR. BILLER:
       4    Q Do you know whc,i David Schnider is'?                         4     Q Did you sec any entry for $1.639 millfon in
       5     A Yes.                        15:26:16                        .S   Exhibit No. 28?                        15:35:18
       6    Q Who ishe?                                                     6        MR. BRA,ND: Js it. on the credit or the
       7     A    Attorney.                                                 7   debit?
    8 Q Attorney ror who?                                                   8         MR. BILLER: Credit,
    9 A I believe he was thc-attom,;y for Thomas                           9          MR. BRAND: Okay.
   10 Wylde.                             15:26,23                         10         THE WITNESS: "No, I don't believe I see    15:36:2
   11    Q Was he an attorney for PDTW?                                    11 anything.
   12 A I don't know.                                                     12      MR. BILLER: Can you hand the witness the
   13 Q When did he become the attomey for Thomas                         13 amended and restated operating agreement.
   14 Wylde?                                                              14      MR. BRAND: Yes (handing).
   15 A I.don'tknow.                         15:26:29                     15 BYMR. .BILLER:                            15:37:14
   16 Q Well, it was certainly after it became a                          16 Q Okay. Let's-go through this.
   p business.                                                            17      On Pagc2-
   18    A Yeah, so -- well. I mean, he was involved                      l8      MR. BRAND: Right here (indicating).
   19 from the very beginning.                                            19 BY MR. Bll,L~R:
   20 Q For Thomas - io create Thomas Wylde?          I 5:26:3            20 Q You iden •·                        l~:37:37
   21         A   Yes.                                                    21      MR. BRAND: I was going to pur i~ here so
   'l2 Q And is it your understanding that he                             22 we can both look at it.
   23 created all the documents in this case?                             23      THE WITNESS: Oh.
   24 A I don't know,                                                     24 BY MR. BILLER:
   25 Q Okay.                                15:26;46                     25 Q You'ri: identified as a member of Thomas IS:37:4
                                                              Page 231                                                                         l>age233
                                                                 ___._
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     I Wylde LLC. right?                                                                   Q And so ifhc wanted to·fire. Paula, hcc:ould
     2 A Yes.                                                                         2 fire l'lula any time he wanted, right'?
     3 Q Okay. As a member -- wet(, the articles                                      J    A     Ye~.
     4 -were - anicles of organi:r.atioo were formed on July                          4    Q     Did he ever complain to you about Paula?
     S 22,20L4, right? ThaesonPage4.                  15:3&:00                        S    A Who are you talking about?                     IS:40: 13
     6 A Yes.                                                                         6    Q.    bid John ever complain to you ■bout ·PaulD,
   , 1 Q And on Page 5. Section 1.9, it says John                                     7 John Hanna?
     8 Hanna will be the-monager and there will be only one                           8    A I me1m, yeah, a little. Yr:.ah, he - he·
     9 manager for the company, right?                                                9 would.say - he would say that there was challenges
    10    A     Yes.                                  15:38.:20                      10 oc had difficulJtcs or - you knuw. lhe usual so11       15:40:32
    11    Q And then Article V, Management and                                       1l of stuff, I would ~ y.
    12 Executive Committee. S. I,                                                I 12      Q     Well, did he: cvcreall her a bili:h?
    13       Now, you signed this document, right?                                   13    A I - I dori't know. I don't !"fflentber.
    14 Yeah, you signed it                                                           I~    Q     Did he - did.he ever tell yuu 1ha1 .she
    IS    A Yes.                               15:38:47                              15 wanted to have her child's daughter {sicj_by B!lOthcr 15:40:40
    16 Q So did you read it before you signed it?                                    16 man'! Did she ever tell you - tell you that?
    17 A I mean, yeah. I mean. I -- t don't know if                                  17    A l - I don't - can you repeal 1ha.t
    18 I read line-for line, but, yeah, general overview.                            18 question. I didn't -
    1.9 Q Okay. Why don't you -read the first two                                    19 Q Su~.
    20 sentences - or first three sentences in Paragraph             I 5:39:03 20               Did she ever tell' you that P.aula wan1cd t.o 15'40:S0
    21 5.1, "Managed By Manager."                                                    21 have a c;hild with -· by her - by her daugh1er (stc)
    22    A     "Subject to S~tions 5.4 and 7.3,                                     2-2 With another ma11?
    23         the busmess of the company shall be                                   21 A The q\lcstson doesn't make sense
    24         managed by one Manager, who may also                                  24 Q Okay Dtd she ever- d1d she -· dtd he
    25         be a Member. Exceptas otherwise      15:39;19                         2..5 ever tell yoo that he was w,lhng 10 kill Paula?      15:41.04,     .1
                                                                     Page 23il                                                                        P•ge 236

              SCI .forth in this A1rcemcnt, all                                       I     A     No.
     2        decisions concerning the management                                     2 Q Did Ile ever -- dad he ever us.e the word
     3        of tbe Company's business shall be                                      3 "fuck" fn reference 10 Paula?
     4        1T1Bde by the Manager. The Manager                                      4   A 1 don't remembCf. I don't recall.
     -~       shall also s~e as CliiefEx«utive            15:39:26                    5 Q Did he - was he - was he vulgar in                        15:4 l: 18
     6        Officer of the Company. The Manager                                     6 ,eference to Paula?
     7        shall have general supervision of                                       7     A     I don't recall.
     8        !he business·and affairs oflhc                                          8          MR. BRAND. ObJect10n; vague, ambiguous.
     9        Company. shall p~1\le al all                                            9 BY MR. BILLER.
    IO        meetings of MembeB aoil the                                            10  Q Oidheuse profanity?                                15:41".29
    11        Executive Committee, and shall have                                    11  A Ever?
    12        any other powers and duties usually                                    12  Q Witl:ueference to Paula.
    13        vested in the CEO. The Managers may                                    13     A     I don't remember.
    14        also provide foradditional Officer:s                                   14     Q     Okay. He was a hot-headed guy, wasn;t he?
    15        of the Company from time to time and                                   15   A Yes. lmean, he could.gethot, butusually 15:41:39
     16       shall estabhsh the powers. dutJes,                                     16 he was pretty calm. But, yeah. sometimes he
     17       and compensatton o'( all other                                         17 could --
    18     Company officers·and employees "                                          18 Q And when -
     19   Q Bas1c,illy tlus clause gives the manager                                 19     A     - gcthot
    20 power to do whatever he wants w11hm TW, nght -             15 39 51           20     Q     -- he got l)ot, he got really hot. nght?         15 :41 :46
    ~I    A Uh.                                                                      21     A T mea.n, I guess- 1 don't know. I know·
    22    Q - ex.cept for th~ IW<> hm1Lallons7                                       22 what your - I found him to be -- he could get hot
    23    A Yes                                                                      23 but no more than anyone else that I've seen. rv·e
    24    Q Right?                                                               1   24 seen -
    15    A    Yes                                l5.39·S8-                          25 Q Really?                                       I 5~41 58
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   2
   3
    I   A Yeah. f think he's --
        Q Ke wasn't a screamer?
        A Not lhat I le.now. Not - not that I've
   4 e11penenced.
   5    Q Okay. All right.                       (5:42:04
                                                                          4
                                                                          5
                                                                                  Now, Section S.3 refers to the descriptions
                                                                          2 of what officers are in the - &(C in the company,
                                                                          3 nght'>
                                                                                 A Yes.
                                                                                                                                  7
                                                                                 Q Okay. Why don't you read Section S.3 l(a). 15:.44:5)
   6       When was the last time you talked to Jene                      6      A "The Chief Creative Officer and
   7 Park?                                                                7          Creative Director shall bl: in charge
   8 A I - we. I think, were on a phone call                              8          of the Company's creative design
   9 regarding litigation, and it must nave been several                  9          process and product conception and
   10 months ago.                             15:42:24                   10          shall have sole.discretion over the
   11 Q Are you telhng me you haven't talked to                          II          c_reation and designs marketed by the
   12 Penny -- Jene Park 1n two months, over two months?                 12          Company. The CCOD shall also be the
   13 A Yeah, more than two months,                                      13          Chairperson of the Executive
   14    Q When did you talk to John Hanna last?                         14          Commiltee. ~or so long as she is
   IS    A 1 haven't talked to John Hanna- he wasn't 15:42:37            15          employed by the Company, the CCOD
   16 even at that -· when we-had like a general                         16          for the Company shall be Paula."
   17 c90ference call he wasn't there. So I have not                     17       Q Okay. So that makes her the sole
   18 talked 10 him for year,s. Yeah, for years.                         18    dtscretionary decision maker on the brand image and
   19 Q How aboulDavid Schnider? When did you                            19    the - and the designs, right? It says "sole."
   20 talk to him hut?                         15:42:54                  20       A Yes.                               15:45:39
   21    A Again. part of that - Just li11galion                          21      Q She's the decision maker, niht?
   22 update. lik conference,call.                                       ,22      A Yes.
   23 Q Who was on that - without - I di;m't want                         23      Q So Jene Park had absolutely no right to
   24 to know the commun1catlon. I iust want to know who                  24   inierferc will\ her decisions as lo - let's use the
   25 was on it.                            15~43;06                      25   nght language~-"design processes and product         15:45:~
                                                            Page 238                                                               Page 240

          A [ believe it was Richard, Stephen, Jene.                      I conception" and orea - "creation and designs
     2 David and then I think myself. I don't believe                     2 marketed by the_company," nght7
     3 John. And l don't think Roger was on it either.                    3      Jene had no power to do that.
     4 Yeah, I don't think they -- they were able 10 make                 4 A Yes.
     5 il                                   15:43:34                      5 Q So that was Paula's call, nght?            15.46;01
     6· Q Okay. And how long did the c;onversation                        6      A    Yes.
     7 last?                                                              7 Q Okay. And then what -- read - why don't
     8 A N0tthat long. l would say IS, 20 minutes ..                      8 you read below that, which is the COO position.
     9 Q There's nol a time I've been with Richard                        9 A "The Chief Operating Officer and
    IO Peddie that he's spoken for only· 15 minutes.         15:43:47    10      ChiefCommerc1~l omc·er.shall be in
   l I A It wasn't -- well, again. I don't remember                      II      charge of the Company's commercial
    12 exactly. It was not a- a super-long call.                         12      strategy, the. devel6pment -
    13 Q Okay. How many·ofthose conversations have                       13       ~velopment of mcrchll;lld1se and
    14 you had?                                                          14      products, customer relauons and
    IS A l'mnor -- ldon't - ldon'tknow. r               (5:44:00         1-5     sales. The COO and CCO for the
    16 can't tell you for sure. I think -- 1 think we                    16      Company as of the effective date
    17 might have had one other. l don't know. I felt                    17      shall be Jene Park."
    18 like we set up appointments lo do 'em but we never                18· Q That's a diITerent pos1t1on, nght?
    19 did 'em, so that's why I just - I can't'remember.                  19      A   Yes.
   20 Q Doyou -                                   15:44:18               20 Q Olcay. And then you have a position for            15:46:28
   '21 A I might have Jtad another one.                                  21 CEO. right?
    22 q Do you nave any notes from the                                  22 A Yes.
    23 con11ersations'?                                                  23 Q And that has a different description,
    24 A No.                                                             24 right?
    25 Q Okay. All righ.t.                          15:44:23             2S A Yes.                           lS:46:37
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        Q. Okay. I'll go through the various work                       I us to look ai- those records.
   2 descriptions of the three positions just to                        2   A Yeah, I guess so.
   J emphasize how differei:11 they are, okay?                          3 Q Okay Did she tell you that she had
   4       In fa.ct, why don't we go ahead and do that                  4 destr0yed all the computer. for the company?
   S now. I'm going to give you - great.               15:46:50         5 A No.                                l S:50:07
   6       Dtd you ever read the·employment agreements                  6 Q Did she tell you that she had transforred
   7 for Hanna, Park and Thomas?                                   7 the electronically-stored information from the
   8 A I don't -- 1 don't believe so.                              S computers 19 an Amazon cloud?
   9 Q Wereyou-•                                                   9 A No.
  10 A I -- 1belreve Iread John's,                 15:48'09       IO Q Did she tell you anythmg about the status l S:SO: 19
  11 Q Okay. Were you -- did you contribute to                    11 of the business records?
  ! 2 those dcscnptions, work descnpt1ons'>                       12    A No.
  13 A No.                                                        13   Q     You would agree that a company's business
  14 Q Well, you certainly have the background 10                 14 ~cords   are important to detcnnine financial losses,
  15 do that, don't you'>                        15:48:23         15 the reasons  for the financial losses, whether     1.5:50:33
  16 A I don't know. I mean. this 1s •• it's for                  16 there's been embezzlement or other cnmes? You
  17 the fashion world, so I - I p.robably would defer to         17 would agree with that7
  18 .somebody else's judgment.                                 1 18    A Yes..
  19 Q Okay Okay. Now, you would agree as a                       19 Q Okay. Infact, tt'snotonlythe
  20 member you have every nght to look at the -- the l 5:48;4f 20 electronic records that are important, yo·u also !le¢ 15:50:4 ·.
  21 article - the aQCOunts and -- :of rec - and                  21 the backup matenal. 1he paper documents, don't you?
  22 records, books and records oftl:te company, right?                22 A ( believe so.
  23 A Yes.                                                            23 Q Because QutckBooks isn't good eno.ugh.
  24 Q Focusing on 6 point -- .6.1, And you would                      24 QuickBooks is just as-good as the information that's
  25 agree?                               15:49:06                     25 gomg m there, nght?                     15:S0:S:J
                                                            Page 242                                                             Page 244
  L_
    1    A   Yes.                                                        I     A .I believe so.
     2 Q You could walk jnto Thomas Wylde any day,                      2 Q Okay. So if you don't have the paperwork
     3 any time, or wherever the books and records are                  3 or the backup material, you have no way lo
     4 located, and Joolc at ·em. right?                                4 auihenlicalc the QuickBook~. do you'?
     5 A Yes.                                15:49:16                   5 A ·I don't - I don't know. I'm sure -- I          15 :51 :07
     6 Q Okay. Would you tell Jene f>ark to allow                       6 don't know if there's other ways of doing it, but --
     7 Paula to do that? Because she's still a member.                  7 so I don't know ifl can say definitively ye.s. But
     8 And for some_reason your lawyer, Richard Peddie, and             8 there might be other ways to - to substantiate it.
     9 Jene Park arc con~ling those ~rds from my                        9      Q Do you know of any?
   'IO client.                              15:49:30                   10 A I wou\'d thill.k you could talk with the            15:51:21
    11       Now, can you -                                            11 vendors.
    12       MR. BRAND:· Objection -                                   12 Q Oh, so you need to go get the backup
    I3 BY MR. BlLLER:                                                  I 3 material?
   ·i 4 Q -- intervene?                                                14 A Yeah, you could ask for -
    I5       MR. BRAND: - lack of foundation.              15:49:32 15 Q Okay.                                       15:51:29
    16 Objection; lack of foundation.                                  16  .   A   -- the backup material.
    17 BY M]l. Bil,.LER:                                               17 Q Yeah, I understand that.
    18 (;) I'm asking. Can you intervene'?                             18      A Okay.
    19 A l guess.                                                      I 9     Q Bui I'm talking 11bout without backup
    20, Q Okay, So will you give Jene Park the             15 :49:40 20 material is 'there any way IQ authenti<;Jte thi;:        15:5 1:36
    21 instruction to allow me and my client to look ·a t              21 information in QuickBooks.
    22 those records'? Nothing mo~ but those records.                  22 A Well, we have bank statements.
    23 A Can I give you the instruct - can I                           23 Q Okay. That'.s backup matenal.
    24 give-                                                           24         Without backup material - we don't have
    25 Q      Can  you  give Jene the instruction to allow  15:49:52   25    any backup  rnatenal.. All the paper's gone. And 15:51:4
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      w1thoui going to the vanous vend.ors and banks and                       Q And how many people wert working there?
    2 financui.l ms11tut1ons and all that, 1s there any -               2      A     When I went !here?
    3 is there any way to authenticate QuickBoolcs for                  3      Q     Yes.
    4 accuracy purposes?                                                4       A There -- there was still quite a few people
    S A I guess noL 1 don'! know.                     15:,52:00         5-   the lasi time I went, I ihink there.were II lot of 15:54:01
    6 Q What is it, "I guess not," or "I don't                          6    mlei'ns, so, I mean, 1 couldn't tell you exactly.
    7 know"?                                                            7    There were probably more than ten people there, r
    8    A    I mean, I •· I haven't thought through all                8    thmk, at that point. But I do know some of'em
    9 the different ways. So nght now, yeah, l gµess                    9 were interns.
   !0 that's there's - there's no other way.           15:52: JO       JO Q Okay. Did you go there for any particular JS:54: 151
   11 Q Okay.                                                          11 purpose?
   l'2   A    J'mnot -                                                 12 A I lhink the la$t rime we went they were
   13   Q All right. But it's p&rt of the operallng                    13 dotng a -· they were showing products, l lhinlc:, so
  14 agreement, wouldn't you agree,·to maintam the books               14 they had acJually had products that they had
  i 5 and records (or the company for at least tax     IS:52: 18       IS created. So they were 4<)ing kind of a little      15:54:35
  16 purposes?                                                         16 line - I forget what it was called. Kind of a line
  17 A Yes.                                                            17 review.
  18 Q l mean, oompan1es are supposed to maintain                      18 Q Okay. But they're not creating products
  19 records for tax purposes for atleasl seven years,                 19 today, are1hey?
  20 right?                               15:52:30                     20 A I don't believe so.                     15:54:46
  2I    A I - I don't know what the lime frame is,                     21    Q And they didh't create products last year,
  22 but, yes, you need to mamtam tax records.                         22 d.id they?
  23 Q Okay. Let's talk about financial                                23    A ( - yeah, I don't know when it ended, but
  24 statements, Section 6.4.                                          24 I don't -1 don't kn9w, but-
  25        Let-me ask you something. When was the       15;52:4       25 Q Okay. When did they stop selling product? I 5:54:5¼
                                                             ~™                         .                                        -~
    I last time you visited TW'.s offices?                                   A Stopped selling new prodUct, or just
    2 A I meah, l don't know if it's--- it's ·more                      2 stopped selling product?
    3 than a year ago. I •· I •· I don't have the •· r                  3       Q Just stopped selling produc1.
    4 don't remember exactly.                                           4       A I don't know.
    S Q W8.$ it sometime in 2017?                       15:53:06        5       Q Because on the website you can't buy any · 15:SS:0~
    6     A l don't know.                                               q    product.
    7 Q Well, was it20l6?                                               7       A Okay.
    8 A I'm sure I visited in 2016 at some point.                       8       Q rt doesn't allow you to.
    9 l - I jusi don'l luiow when -· when the last time it              9       A Okay. So that --
   {O was. Jn - yeah.                            15:53:21              10       Q Did you know lhat?                        15:55: 13
   11     Q Well, last time you vi'sited il, where '\NBS               11       A I did not know.
   12 it located?                                                      12       Q Okay, So what is it doing? It's not
   13 A Ir w~ in downtown.                                             I3    selhng product. It's not makmg product. What is
   14 Q Well, do you know - do you recall the                          14    lhe company doing?
   13 street'?                               15;53:J I                 15       A . I mean, I'm not sure. I mean. it - maybe- I 5:55:23
   I6     A No, l don't recall the street.                             16    they have lef -- leftover inventory th11t they could
   l7    Q 321 31st Street?                                            17    sell. ·so maybe that's what they're doing, but r -
   18    A    I don't know. It's not •·                                18    I don't know.
   19 Q Was it in a building •-was it in a -- an                       19       Q Okay.
   20 office or - or a space on the second floor or the     I 5:53:39 20        A r don't know what's going on exactly.           1-5:5S:34
   21 bottom floor?                                                   21        Q fsn't Choi interested in wbat !he company
   22 A The last time I went, it·was on -· it was                     22     is doing 10 make money?
   23 in the b<;>ttom floor.                                           23           MR. BRAND: Objection; speculation.
   24 Q Bottom floor.                                                  24 BY MR. BJL(ER:
   25    A Yeah.                             15:53:49                  25      Q    I mean, did you have any discussions with     I 5:SS:
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        I Stephen Choi about what the: company is doing so he .                             I Q As tl\e defendant or plamtit'r?
       2 could get some of his money bacl::?                                               2 A As a defendant, hke mostly employment
       3     A I ·· I haven't 11lked 10 SrephCTI about                                     3. stuff.
       4 Thorna.s·Wyldc for - for a while. Yeah.                                           4 Q Were those cases·filed in Orange County m
       5   Q .At lhc lime yo_1.1 vicnr 10 the office of           I5:56:00                  S state court or federal court?                I 5:58'. 07
       6 Thomas Wylde did you lalk ro Jene about the                                       6     A I don't know where they were filed. I'm
        7 iitigalion?                                                                       7 not sure.
   !   8     A No.                                                                          8 Q Were·you m federal court or5tate court?
       9     Q Qby. 6.4 11lk$ about financial                                              9     A I ~lieve mostly - I think state court.
   ( JO statemen~.                                   15:56: l l                           10 Q State c:ourt.                          15:58;18
       11         Y.o u 5Aid y0t1 - you ccsrificd you =eived                              11     A Yeah.
       12 some financial statcmems or reports, right?                                     12     Q Okay. And were you defended by the same
       13    A Yes.                                                                       13 lawyer the whole time, on all three cases?
       14    Q Okay. Did you.produce all.of them?·                                        14 A I don't believe so.
       IS    A I believe so.                  15:56:21                                    IS Q What's your- your thoughts about the cost lS:58:33"
       16    Q Okay. AU tha! Yl>U have, I mean.                                           16 of litigation?
       17    A Yeah, I believe so.                                                        I 7 A It's -- it's Cll:pcns1¥e.
       I8    Q . And did you •· you believe you got - got                                 18 Q Okay. Tl - it's - many busmesses find
                                                                                          19- theln$elve;s in litigatioh even when ihey don't do
   I   19 them frequently?
                                                                                          20 anything wrong, right?                        15:58:55
       20    A     I mean,   it was -- it was usually from        I S:56:32
       2.1 Meldy, so she would sendjL                                                     21     A Yes.
       i2         And so usually she would send it with an                                22 Q Okay. And ~o when yo1,1 say litigation is
       23- attachment wilh financial statements, so - I don't                             23 ell:pensiv'<:, give me·an idea of what you think is
       24 l::now if 11 was every single month I remember some                             24 expensive.
       2S of'e-in were quarterly and they hild - lhey 111ould         15:56:49            25   A Tens to hundreds of thousands of dollars.                   15.59.13
                                                                              PaJt2SO                                                                        Page 2S2:

          have cash flow prOJect1ons as well $Omelimes, too.              Q 01::ay. Has lh.c lmga11on- 1fyou refer
        2 Q When you -- you received them from Mcldy                 2 10 Page 12. rn &o tlirough some of the cntm;s
        3 via e-mail, rig_ht?                                        "3 there.
        4 A Yes.                                                     4         Does lhc: llugauoh with Pa11la Thoma.s make
        5    Q Andyoustoredallthosee-ma1ls-oryou 15:57:01            S i1impossibletocarryonon:bnnrybusmcssfor             JS.S9,3~
        6 didn't delete those e-mails'1 They're Just m y~ur          6 1ho company?
        7 computer where you can find them?                          7 A Hu it made 11
        8    A 'Yes. And I provided all the ~ the                    8· Q Jmpos~ible
        9 documenlS here.                                            9     A. I don't know,
       IO    Q Okay. So that's what Pm about to ask you. 15: 57:13 10 Q Okay. W:ould you cons,derlcgal ei1J)!:nses 15 5944
       11       Did you actually go through all the e-mails         11 debt not in.the on:bnary co= of business?
       12 and computerS'lo find every single document that          12     A. Debt not irtthe ordinary course of
       13 related to the subpoena?                                I 13 business. Say- repeat.that q.-1,on
       14 A Yes, to the best of my ability.                         14 Q Sure.
       15     Q     Or did you do a search?                         l5;57:24              15         Would you consider debt, legal debt,       16.00'. IQ
       16     A     I -- I did, you know, the best of my                                  16   expenses, not in -not In the ordmary course of
       17 ability to go through and - and try to find all lhe                             17 busmess1
       18 documents.                                                                      18     A   ~ I debt"
       19 Q Okay. Haveyoueverbecn involvedm                                               19     Q Yea.b. Likeattomcyfecs.
       20 hti'gation?                           15: 57:39                                 20     A    Olcay So you mean legal ex.pen~?            16.00 26
       21    A Yes                                                                        21     Q Yeah, legal expenses.
       22 Q On how many o ccasions? I don't wan.I                                         22     A Olcay; So-you're asking do I lhmk legal
       23 detail. {just •· you know, I JUSI want to know.                                 23 ex~seure -
       24    A A few times. A few times I would say                                       24 Q Pan oflhe ordinary coum: ofbus\nes.s
       25 three. Three times, maybe                     15:57,54                          25 A l guess, yes, if it's-• I guess 11depends 16.00,40
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        I 011 how much it is. Obviously in a nonnal course of                              Q   Okay.. Who prepared die minutes?
       2 business you expect lhat there would be some legal                         2      A I believe Meldy would.
       3 expenses. Most - most of it I would think is more                          .3     Q Have - did Oa'iid Schnider ever p1q13rc
       11 transactional.                                                            4 minutes?
  1    S        Litigation, 1 don't know. 1 mean, 1--1 16:00:59                     5      A    I don't believe so.                 16:03:2~
       6 don't - I don't know. Again, I don't know how                              6      Q Is TW contcmpl.a1ing baokniptcy?
       7 booking it would look like.                                                7      A I don't kno:,v.
       8        for me personally. if I looked at it in my                          8      Q .Has that come up?
       9 business, it'~ - it's c;tefinitcly not something you                       9          MR. BRANO: Objection to the extent you
      lO plan for,                                   16:01:10                       IO might be asking about any conversations he's had            16:03 :SJ
      11 Q Ok11y. Now. do you know Thoma- Paula                         11               with anomeys --
      12 Thomas would have.settled her case against TW four             12                     MR. BILLER: Y'cah --
      13 years-ago or almost four years ago for $200,000?               13                     MR. BRANO:· - about that,
      14    A t don't - 1 don't recall eJCactly, but when               14                     MR. BILLER: - except-that.
      IS I went through the documents 1-- I did see that 16:01:36 15                           THE WITNESS: I think --1 - I -1 mean. 16:04:02
      i 6 Q Okay. And do you think that was a bad                       16               I recall chat there was.a - a discussion about it,
      17 decision or a good decision for the company; not to            I7               but I don'c remember what ~ -- I don't remember
      18 settle?                                                        18               the details 1>fthc discussion.
      19· ·A You'reaskingmyo-pinioi)?                                   19                     MR. BJLLER: Let's have the ncl\! document
      20 Q Yes, asa manag~r - as a member of the             16:01:44· 20                mvked, Exhibit 29. Thanlc'you.                       16:04:26
      2·1 company.                                                      21                     (Exhibit 29 was marl,;ed for identification
      22 A r -· I - well. 1 think - yeah, I think.                    I 22                     by the c0\111 rcponer.)
      23 that we should have settled, although - l mean. it             23                     MR. BILLER: David Schnider is such a
      24 wasn't •· ii wasn't our - it wasn't our decision or            24               sn~aky. tficlO',bas.Lard. He n;evcr di - he never
      25 my decision.                              16:02:02             H                dates his documcnis                          1604 57
                                                                       Page 254 I___________
                                                                              __,                                                                        Page 2S6

       I     Q Wh~ decision was,it?                                                            MR. BRAND I do not --
       2     A I'm guessing it was Stephen and John and -                            2         MR, BILLER Very few documents -
       3   rm guC5Sing 1t was ~ 1t -was their decmon.                                3         MR. BRAND - know ~bout thal.
       4     Q Oby. How often did you have meetings, the                             4         MR BILLER -- are dated.
       5 members: have meetings?                     !6·02:28                        5         MR BRAND. I will admit lhat this document 16:05:0S
       6   A Vague. I mC1111, -wncQ do YQ\I mean?                                    6 is not dated and ~y everything else you said.
       7 Q The operating agreement - the operating                                   7 because I do no( -
       8 agreemenf requires lhat lhe members hav.e meetings to                       &         MR. Bll:.LER: You haven't tntt him,
       9 di5cuss the opc:rati<,n of the business. I'm asli.ing                       9         MR. BRAND; - ha\le firsthand knowledge.
      10 you: How often do you have those mcc\ings. ifal           16:02:42         10         MR. BILLER: Have you-· !iavc·.you met him             16:0S: t2
      II all?                                                                       11 -ye(?
      12 A !·guess the qucslloo - yoa mean before.                                  12       MR, BRAND: I have noL
      13 when 1twas operauonal or -                                                 B        M~ BILLER: rm going 10 ialce his
      l4     Q Yes.                                                                 14 depo·s1tion for the fiflh t.jme l)CXI mondl,
      15 A Oh. I think it was•· !hey oicd to do it 16·02:53                         I$         (Wilrfe>S reviews document.)               16:05:24
      16 once a monlh. Sometimes they would try to do it                            16         THE WITNESS; Okay. Yeah.
      I 7 more !}tan-that.                                                          J7   BY MR. BILLER,
      18         ltjust-yoo know. everyone was busy, so                             t8     Q Did you sign this document, Exhibit No. 29?
      19 there would be-· mec\ing requeslS would go out and                         19      A Yes, I did.
      20 people would respond 1flhey could meet or n1>I. So 16·03: 10               20      Q And for what purpose?                      16:0S:J0
      21, I thi~- ideally 111\ink Jhey w~ trying In meci                            21      A I think this was to do the tranm of
      22   once a   month.                                                          22 interest from the individual to. you know, people's
      23     Q      Okay. Did you get any minutes from tho:.e                       23 ~nd of pcrs - family UCs.
      24 meetings?                                                                  24 Q Okay So, 1n other words, you transferred
      25     A SolJlellmes we did                1601.18           25 your ownership mtcre3t into TW ft-om yourself to                              16:0S:49
                                         _ _ _ _ _ _ ___ Page 255 ___ _                _ _ _ _ __ _                                                     Page-257·

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    I DSRB. right?                                                    I it should be in the log ~t you -- that you
    2 A Yes.                                                          2 received.
    3 Q What does DSRB stand for?                                     3 Q Okay. Let's go ahead and S'how you the next
    4 A Doug, Shirley, Rachel and Brendan.                            4 one, Exhibit 30.
    S Q Doug, Shirley, Raebel an.d Brendan?               16:06:0r    5       (Exhibit 30 was marked for identifii;atlon 16:08:43
    6 A Yes.                                                          6        by the court reporter.)
    7 Q I guess Shirley's your wife?                                  7 BY MR. BILLER:
    8 A Yes.                                                          8 Q Now--
    9 Q Brendan and Rachel are-your children?                         9       MR. BRAND: Do you have a copy for me?
   10    A Yes.                             16:06:14                 10       MR. BILLER: Oh, I'm sony.                 16:09:08
   11 Q When did you set up that business?                           11       MR. BRAND: It's okay.
   12 A I don't know. It's - it's like just a                        12       MR. BILLER: I should.
   13 holding company.                                               13       MR. BRAND: That's fine, l'U share. I'll
   14 Q Okay. Do you remember "!hen you signed this                  14 share this one. That's fine.
   15 document?                                16:06:24              IS       MR. B[LLER: Oh, I do. I do. I do. I        16:09:23
   16 A I - 1,do~t know.                                             16 didn't realiie it was still attached.
   17 Q Well, was it soon after you became a m.ember                 J7       (Document handed to counsel.)
   18 ofthecompany?                                                  18         MR. BRAND: Thanks.
   19 A It was •· it :was - I don't remember. A                      19         THE Wlnffi$S: Okay.
   20 lot of these resolutions-were done kind of all     16:06:44    20 BY MR. BILLER:                         16:09:32
   21 together, so I - I don't remember if it was aft.er             21 Q Does your signature appear on that
   22 Paula's documents got done, after Stephen •· I -- I            22 document?
   23 just can't remember exactly.                                   23 A Yes.
   24 Q Well, it was certainly after January 1st.                    24 Q Okay. When is the document ,dated? Ws
   25 2015.                                 16:07;03                 25 not da~. but...                  1.6:09:3 7
                                                         Page 258                                                               Page 260

    I    A I believe so.                                              I    A I beheve it's Janua,y Isl
    2    Q Okay.                                                     l     Q Janua,y ist
    3     A But I •• yeah, I couldn't tell you the                    3    A Yeah..
    4 exact date.                                                    4     Q Right Now, isn"l it true Aill~re did
    5 Q Was it 1n 2015?                          16:07:08             5 not sign the agreement to pun:ha.c mcmbe~hi'p
    6 A I don't know. I don't know.                                   6 mlerest unttl 11(1~ 27 -- 11pproximatcly March 27,
    7 Q Well, that presents a problem, sir. Do you                   7 201S?
    8 have any information that can tell us when you                  8    A I don't know.
    9 signed the document? Because ll's-not dated.                    9   Q If it did not sign the agreemcnJ until !hat
   10 A Yeah, there might be other e-mails that           16:07:26   10 dAte, then Paula Thomas would hav(:becn the majority 16:10:21
   11 were in regards to it that would --                            11 shareholder of units, right?
   12 Q Did )'QU prodoce those e-mails?                              12 A I believe so.
   13 A I don't know if ii was - if -- if it was                     13 Q Okay, So everything decided between
   14 .through a -- David Schnider, so I'm not sure. I               14 Janua,y Ist, 20 I 5 and the time Hillshore signed a
   15 don't know. I might --                       16:07139          ! S purchase egm:mcnt »hould have been decided by Paula 16: I 0:42
   L6 Q Did you produce any -- this would have been                  16 Thomas if she knew she was the majonty'ho!dcr,
   17 from David Schnider. Did you produce any e-mails               17 nght7
   18 from David Schnider?                                           18       MR. BRAND: I just obj~t on a lcgul
   19       Mil BR.AND: No.                                          l 9 concl~ion,
   20 BY MR. BILLEk~                                1&07:48          20 BY MR. BILLER:                               16:10:58
   2 1 Q Okay. But you d-0 have 'em?                                 21 Q You can answcr the qucst10n
   22 A Yes.                                                         22    A I - I guess, what dectllons'1
   23 Q Okay. How many e-mails from David Schnider                   2-3   Q Oby. Any cfc:c1s10.n affcclm8 the e1,1mJ)any,
   24 do you have?                                                   24    A Well. no. The - the - the decisions of
   25 A I don't- I don't know how many. You - 16:07:54               25 runnin& lhc company were signed offon theoperaung 16· 11 : I I
                                                          Page ~ 9                                                              Page 261

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     I agceement that John had the right _to do all those                               .I you know, not likely to lead to - reasonably
     2 different lhings.                                                                2 calculated to lead to admissible evidence. or
     3    Q Didn't you know, m faci. 1ha1 Hillshorc                                     3 proportional. It's the -- the objections arc set
     4 didn't sign the operating agrec,ncnt -1 mean, lhc                                4 forth.in lhe wrincn.n:s~ and objections I 1ave
    S purd!~c agreement until Mar,;h? In fact-                   16.11:22               S you.                                  16: 13:23
    6   A I don't - I don't know,                                                       6         MR. BILLER: Do you have a copy of those
     7    Q - isn't there an e-mail from David                                          7 obJcctions?
     8 Scbnidct to you complaining about not having                                     8         MR. BRAND: I only had one copy, and I gave
     9 somebody_sig;i the agreement?                                                    ·9 it 10 _you.
    10     MR. BRAND: Obj«tion; auomey<lient                      16:11:JS          10            MR. BI_LLER: And there's the problem.          16:JJ:47
    11 privilege.                                                                   11            Did we marlc this?
    12        You answered it. lfyou have the e-mail,                               12            (Reporter indicates document.)
    13 you have the e-mail..                                                        13 BY MR. BILLER:
    14        THE WITNESS1 I mean --                                                14        Q    Would you take Ex.hibit No. 7. please. Why
    1S        MR. BRAND: Well, you don't want to waive               16: 11 :4S     IS was Robert Snidennan n:taincd?                         16: 14:29
    16 aqy-                                                                         16        A    I don't n:mernber.
    17        MR. BILLER: There is 110 --1)\is is between                           17        Q Who retained htm?
    18 him and Steve •· Stephen Choi.                                               18        A I don't know.
    19.       MR BRAND: Oh. you said David Schmd,c,-.                               19        Q Is th is the only document you received from
    20        MR. BILLER Okay. Let me ~hrase the                  16. ll.SS         20 him, Ex.h1bit 7?                             16: 14:40
    21 qucsuon                                                                      21        A I bchcve so.
    22    Q    Isn't II true that there's an e-m,ul                                 22        Q And liow was the documenc used'2
    23 bc(wi,en you and ChOJ regarding th.c latt signing of                         23        A I - I don't•· I don't recall.
    24 the pun:hase agreement?                                                      24        (J Olcay Do you usually re - you re1am
   25·    A. 1 •• I don'! know                        16. 1206                    25 consultants for no purpose and use their work for no 16 14. SS
                                                                         Page 262                                                             Page 264

     I    Q Did you produce all .the Choi e-mails?                                       I reason, don't use-their worlc?
     2    A Yes. as long as - well, I mean. unless                                      2       MR. BRAND. ObJecl10n:,argumentat1v~
     ) David was somehow pW1 of the conversation. Sol·-                                 3 BY MR. BILLER:
     4 I don't - I don't know if David sent tt directly                                 4     Q I mean, this i.,n't a.consultant, nght7
     5 ,a ndcc'dmeonit,sormnotsun:.                       16:12:21                      5     A Again, I -- I wasn't- we wc:rcn'llnvotved 16' l~:os
     6   Q Oby, You didn't produce all rpc Stephen                                      6 in - or I was not·involved in h1nng him, ~o I
     7 Chi - Stephen Choi e-mails that·you have in your                                 7 don't know what the backgrou11d was as to why !hi.$ -
     8 computer. right'! You didn'l do that.                                            8 this n:port. was created
     9    A I provided the stuff related to Thomas                                      9     Q Okay.
    10 Wylde.                                    16:12:36                           10            MR. BILLER: lth1nk·youtoldme. Youguys 16'.15'. l 7
    II    Q Right.                                                                  11 an producing lhe audit, righ1?
    12    A    Yeah.                                                                    12        MR. 8RAND; I told you that to the extent
    13    Q But t~'.s other businesses for which you                                    13 we can getit, th.at ~
    14 didn'I - there are other e-mails related to other                                14        MR. BILLER: Okay.
    IS businesses for which you did not produce, right?            16: 12:42            IS        MR. BRAND. - we would produce ii for you 16: 15;24
    16    A Yes.                                                                        16        MR. BILLER! Okay
    17    Q    Me those on lhe log?                                                     I7    Q Well. have you rell(! it? Have you read thJS
    18    A    On the privilege log? J'lo.                                              18 document?
    19    Q Whynot?                                                                 19 A I be_licvc when - when II came: I did read
    20      MR, BRAND· ObJccUon: callsforo!cgal                   16.12,52          20 it Yeah, I di4 loqk1t qvi::r I mean, I don't 16 IS:32
    21 conclusion.                                                                  21 know. It's a long timc ago.
    22 BY MR. BILLER:                                                               22   Q Did you n:ad 11, 111haL il said about Jene
    23    Q Why wouldn't you produce lhi;,se e-mails?                               23 Pait?
    24     MR. BRAND. I - I can jll.il skip it and say                              24        A    Ycnh. I chink I n:ad stuff about , yeah,
    ·25 nonrtSpons,ve to thc:docomcnl produc11on requestor, 16. 13.01               2S I remembertheyhad stuff'.both about Jene and John 16. 15:42
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            Q And do you think that wa.i; ci>mplimcntary                              I BY MR. BILLER:
    2 sruffl                                                                          2 Q No, I'm asking about these two, what you've
    J       A      No. I menn, l •• I assu~ - yeah. no,                               3 -read in this report.
    4       Q      Did you agree with !he comments?                                   4      A     Okay.
    5       ,A Again. I - I - I don't have- based on 16:1):55                         5
                                                                                    Q Take the ~tter for the lruth.              16: 18:34
    6     my dealings with Jene, no, I - I didn't sec the                     6        If it's lnithful, have you ever reviewed•·
    7     commentS or the thinp that they had mcntiot)ed. So                  7 have you ever reviewed reports about other
    8     I Wll!ln't· there on a day-10-0ay level to sec how                  8 executives that are worse?
    9     the •· how the ioteraclioo worted.                                  9     A Welt. I've -- I've never heard •· read a
   JO        Q So you really didn't.have any biuis to        16: 16: 16      10 review of other executives, so I -                1-6:18:46
   IJ     fonn11l~tc an opinion?                                             11        (Simultaneous talking.)
   12        A Exp •· that's ambig\iou5.                                     12 Q Well, did you -
   13        Q Well-                                                         13     A -- don't know the context.
   14        A I don't underslalld.                                        , 14 Q - read employment-- an employment review?
   IS        Q I-tow many •· how many !)ows h.ave you spcnl 16: 16:24        15 A Employment review of'!                           16:18:53
   16     with Jene Park?                                                    16     Q Have you ever read an employment review of
   17        A Well, I don'I know•. I dan't know.                          J 17 an employee? You had 300 employees m your
   18        Q It can't be that many.                                      I 18 l;>usiness.
   19        A No, I mean, l've~hcrrmultiplcJimes,                           19 A Yes. 1have read employment reviews_.yes.
   20     And we were. in New Yooc for fashion shows and sruff. J 6: 16:42   2Q Q Okay.                                   16;19:06
   21 so l'vt probably spent probably 20 lo 30 hours,                                21      A     So...
   22 maybe. Maybe more.                                                             22      MR. BILLER: I have -- let's go off the
   i3       Q      Okay.                                                             23 record.
   24       A      I don't know.                                                     24      THE YIDEOGRAPHER: Gomg off the n:cord at
   25       Q      Of those hours, how many - how much of            16 16 S9        25 4:19P.M.                            16:19:32
                                                                         Page266                                                                         Pa~e268

     I that lime did you sec her-al TW worlcmg m her                                             (Recess.)
    2 tapac-lty IS CEO. CFO. COO: whatcver'I                                          2          THE VlDEOORAl'HER: Ooing bacl,; 9fl the rcco,d
    '.l     A       Probably hkc - I mean, probably like lt:n,                        J . a14:29 PM
    4 ten hows, maybe I probably - we~d go up there                                   4          MR. BILLER: Okay, I propose the following
    5 apd spend ltalf a day up the.-e a few times, so, YCl\h 16 Ii 18                 5 ·stipulation My chent ba.s at leas1 one hour and 20 16:29:09
    6 Q Do you know 1fStefan Choi·· is ii Stefan                                      6 m1ilu1~, onc hour and a 'half. actUally, oftime.
    7' or Stephen?                                                                    7 available to depose Mr. Lee in these 1;,ankruptcy
    8 A. I believe it's· Stephen.                                                     8 proceedings.
    9       Q       Okay. Stephen Choi. Do you know ifhc had                          9          ThCR urea nwnbcr of disagreements and
   J(l thh document prepared?                            16; 17:42                   IO disputes rega.n:ling the production of documents, and 16:29:30
   11       A       I - 1- I don't know                                              11 approximateiy 4,400 pages of docume.nts were produced
   12       Q I mean. you n:ad this documenl and they're                            I 12 here today
   13 the wor&I employees on the face of 1he eanh. lsn'I                              13       I was sent·a link for production of
   14 that lhc impression you get?                                                    14 documents sometime yeslmfay aRemoon. I wa:;n't
   IS       A Well, it seems like both of 'cm had the            16: 17:56           l5 able to get into the linll. I sent an e-mail to       16:29:46
   16 various issues.                                                                16 coun~I. I'm 1oing 10 forwaru ~t e-m.ail to
   17       Q       Tl)at'5 10 say i1 politely.                                      17 counsel.
   18              Wouldn't'you agr= that this document reads                        18      The bottom line is- I need lime to review
   19 as you're •• IS if )'Oll're dealing with two of the                            l 9 ihc documents, 111\d I'm entilled to lhlll So counsel
   20     JTrosl   il!compelent executives tfunyou'vc ever worked l6·18:08           20 and I are goil)g to mccl nexl week at his office Ip      16·30.0l
   21 with?                                                                          21 ilo a meet end cons -confer in pel"$OII to comply
   22              MR. BRAND: Objection; asked and ans~red.                          22 with the - the rules of federal procedure and see
   :n              THE WITNESS: 1-- I'm -- I'm sure thcn:'s                          23   ifwc can Iron out a lot of these d1_$1111CCments.
   24 been ·a lot of other exccullvi;s that have been said                           24          In the meantime, counsel has agrud to
   25 horrible lhings about, too, so...                  16:18:26                    2S- -produce ao audit if his cheat can get ahold oflt. 16 30;27
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    I And I don't sec wliy he can~ And he's ·also a ~                                  I ialk•in8 about? Do you have.it?.
    2 co produce some oihff. documents that are on the                                 2      THE VIDEOGRAPHER: We are off the record at
    3   r=oro. And counsel may know what they arc                                     ·J 4 '32 P M , wid ·th,s concludes today's testimony
    4        But at some point we're going tp re-adJoum                                4 given by Douglas Lei::. The tow ownbet of i:nedi&
    5 (sic) this depos1uon. II may be.after the-a     16,30-43                         5 used wu.four and will be n:taincd by Vei;iteKt Legal 16:32:45
    6 mot100 for - a Motion to Compel, a motion for                                    6 SohmOr15
    7 saneuons 1s heard. but maybe .before Time-w1U                                    7
    8 tell                                                                             8          (TIME NOTED: 4:32 P.M,)
    9         But for purposes of th.is deposition, it is                              9
   10 adjourned. A transcript will be prepued within two 16:30:-.58                   10
   11 weeks from loday The tlYnSCript will be so;nt lo                                I!
   12 Mr Lce'sanomcy, Mr Leew1ll halletwoweeks10                                      12
   13 review the transcnpl 11nd make the -- and sign the                              l3
   14 transcripl under penally of pcl)wy. And Mr Lee's                                14
   15 attorney will then send the QallSCnpt back to me 16.3 I: 13                     I5
   l6 shpnly after it is signed.; within days after it is                             16
   17 signed.                                                                         17
   18         I will maintain cUAtody and control oflh~                               18
   J 9 original. The certified copy may be ~ in .lieu of                              19
   20 the originaUfthc original is lost, des1royed.         16;31,28                  20
   2 l misplaced or somehow W1availablc. I will make the                              21
   22 original available for trial or for a hearing upon                              22
   23 ma..'S(Klablc notice.                                                           23
   24         MR. BRAND.• Okay. Just a comment about                                  24
   25 the •· about thc.lrnk.               16:3 1.50                                  25
                                                                       Pngc 270                                                                  Page 272 I

            Send me that e-m~il that you said you sent
    2 me. 'cause. I did not rc<:cive it. To the cxlent that                            2
    3 we're able to get ii, you know. and I'm nOl·surt we                              )
    4 are, we wJII provide the audit.                                             I    4     I, DOUGLAS .LEE, do hereby declare under
                                                                                       S penal!Y of perjury that I have read the. foregoing
    S         You mentioned other docuiTicnlS on the           16:32:03
    6 =ni                                                                              6 transcript; that I have mad.e any corrections as
    7      MR. BILLER: What I meant was the date when                                  7 appear noted, in ink, initialed by me, or attached
    8 you switched over from Mr. Lee being-the owner or                                8 hereto; that my testimony as contained herein as
    9 the member to -                                                             I    9 corrected is true and correct.
           MR. BRAND: I sec.                           16:32:14                       IO     EXECUTED this _ _ day of_ _ _ _ _ __,
   11         MR. BILLER: - his company -                                             JI 2018,at                                                         .j
   12
   13
              MR. BAAND: Okay.
              MR. BILLER: - being the mcmlier.
                                                                                  I   12
                                                                                      I)
                                                                                                    (City)             (State}                              !
   14         MR. BRAND: So when you say "other                                       14
   1.5 documents." you're referring lo the OSRB a.sl;igitrnen.t 16:32:19              15
   16 issue?                                                                          16            DOUGLAS LEE
   17         MR. BILLER: Right.                                                      17            VOLUMEl
   18         MR. BRAl'ID: Okay. All right. And of                                    18
   19   COUTSC any continued deposition
                                      is also subject to                              19
   20 any kind of Pr01ectivc Order that we may file. 16:32:28                         20
   i.1     MR. BILL.ER· Yeah Okay That's ~ that's                                 '21
   22 fine.                                                                           22
   23         So stipulated?                                                          23
   24         MR. BRAND So supulated                                                  24
   ZS         MR. BILLER, What Pro1ecuvcOrQef are you 16 32'33     25
                                                         Page 27 1                                                                               Page 273
                                                                       - - - - -- - -- - - - - -- - - - -- --
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    2
              I, the undersigned, a Certified Shorthand
        Reporter of the State of California, do hereby
                                                                T
                                                                                          .
                                                                                          I-


    3   certify:
    4         That the foregoing proceedings were taken
    5   before me at the time and place therein set forth;
    6   that any witnesses in the foregoing proceedings,
    7   prior to testifying, were administered an oath.; that
    8   a record of the proceedings was made by me using
    9   machine shorthand which was thereafter transcribed
   JO   under my dire~tion; further, that_the foregoing is a
   11   true record of the testimony given.
   12         Further, that if the foregoing pert.sins to
   13   the original transcript oh deposition in a Federal
   14   Case, before completion of the proceedings, review
   15   of the transcnpt I] was [] was not requested.
   16         I further certify I am neither financially
   17   interested m the action nor a relative.or employee
   18   of any attc;>mey or any party to this action.
   19         IN WITNESS WHEREOF, I have this <tate
   20   subscribed my name.
   21   Dated: November 15, 2018
   22
   23
   24
   25
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  l--&
     --                 - -----1 12:·2 2 120: t 7
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     THOMAS WYLDE
                             ACTION BY WRI'ITEN CONSENT
                               OF THE SOLE ORGANIZER OF
                                   THOMAS WYLDE, LLC
                           a California Limited Liability Company
                                        July 22, 2014



        The undersigned, acting as sole organizer of Thomas Wylde, LLC, a California
 Limited Liability Company (the "Company"), hereby adopts the following resolutions by
 this written consent without a meeting, pursuant to the instructions of the Members of the
 Company, which shall be effective on the commencement of the Company's existence:

      RESOLVED that John Hanna has been appointed as Chief Executive Officer of the
Company until such time as the first meeting of the Members or until his successor is duly
appointed by the Members. As Chief Executive Officer, Hanna is hereby empowered to
manage the day to day operations of the Company, subject to review and direction by the
Members.

        RESOLVED FURTHER that John Hanna is hereby authorized and directed to
establish, maintain, and close one or more bank accounts in the name of the Company for
the funds of the Company with any federally insured bank or similar depository; to cause to
be deposited from time to time to such accounts such funds of the Company as such officer
deems necessary or advisable, and to designate, change, or revoke the designation, from
time to time, of the officer or officers or agent or agents of the Corporation authorized to
make such deposits or to countersign checks, drafts, or other orders for the payment of
money issued in the name of the Company against any funds deposited in any such
accounts; and to make such rules and regulations with respect to such accounts as such
officer may deem necessary or advisable to complete, execute, and deliver any documents
as such banks and similar financial institutions customarily require to establish any such
account and to exercise the authority granted by this binding resolution including, but not
limited to, customary signature card forms and form banking resolutions.

       RESOLVED FURTHER that all form resolutions required by any such depository, if
any, are adopted in such form used by such depository by the Members, and that the
Secretary or other designated officer is authorized to certify such resolutions as having
been adopted by the Members and to insert a copy of any such resolutions into the minute
book of the Company.

       RESOLVED FURTHER that any such depository to which a certified copy of such
resolutions has been delivered by the CEO or Secretary of the Company is entitled to rely
on such resolutions for all purposes until it shall have received written notice from the
Members of the revocation or amendment of such resolutions.

                  3231 S. La Cienega Blvd., Unit A, Los Angeles, CA 90016
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                        AGREEMENT TO PURCHASE MEMBERSHIP INTEREST
       This Agreement to Purchase Membership Interest (the•Agreement") is entered into by and
between Thomas Wylde, LLC, a California limited liability company ("Seller"), and Hillshore
Investments, a Panamanian corporation with its principal place of business located at Calle 53 Este,
Urbanizaci6n Marbella, Torre MMG, 2, Ciudad de Panama, Panama ("Purchaser1, effective January
1, 2015 (the "Effective Date").

                                              RECITALS

        A.     Seller is a California limited liability company, formed on July 22, 2014, pursuant to
Articles of Organization of a Limited Liability Company filed with the California Secretary of State.
Seller operates pursuant to an Operating Agreement entered into on or about July 22, 2014 (the
"Operating Agreement"). All Units Membership Interest in Seller are owned by John Hanna, Jene
Park. Roger Kuo, Doug Lee, and Paula Thomas (the "Members").

       B.       Purchaser seeks to invest five million five hundred thousand US dollars ($5,500,000)
into Seller in exchange for 90 membership Units in the Seller.

       C.     Seller and its Members desire to accept Purchaser's investment in the company and
to issue new membership Units in exchange.

     D.    Seller's Manager and Members have unanimously approved the sale of such new
membership Units to Purchaser.

                                            AGREEMENT
       NOW, THEREFORE, for good and valuable consideration, the receipt and sufficiency of which
are hereby aclmowledged, the parties agree as follows:

       1.      Sale of the Interest. Upon the execution of this Agreement, subject to the terms and
conditions herein set forth, and on the basis of the representations, warranties, and agreements
herein, Seller shall sell to Purchaser, and Purchaser shall purchase from Seller, 90 Units of
Membership Interest in the Seller. All undefined capitalized terms herein shall have the meaning
ascribed by the OperatingAgreement

         2.     Instruments of Conveyance. Upon execution hereof, this Agreement shall evidence
conveyance and transfer of the Membership Interest, which shall be effective to immediately vest in
Purchaser all right, title, and interest In and to all of the securities underlying the Membership
Interest pursuant to this Agreement, free and clear of all liens, claims, encumbrances, and adverse
interests. Such conveyance shall entitle Purchaser to all the rights of a Member under the Operating
Agreement, Including, without limitation, all Transferable Interests as well as any Voting Interest
provided by the Operating Agreement Seller may, at its discretion, deliver a certificate or               I
certificates representing the Units to Purchaser, in form and substance customary in the industry.
Within five (5) business days of the Effective Date, Seller shall record this Agreement in the Seller's   I
minute book and shall amend Exhibit A to the Operating Agreement and any company membership
listing to reflect the change in ownership Interests.                                                     I
        3.     Consideration. In consideration for the Membership Interest, Purchaser shall make a
capital contribution to Seller in the amount of five million five hundred thousand US doll s
Agreement to Purchase Membership Interest
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                           Other     I                                u
                                                                                                                                                                                    Yw    No
11      At artJ time during Iha tax )WIT, did 11'18 pa,tnership l1IC8Ml a cistribution from, or was it lhe g,;nlor of or
        lransferor to, a f0relgn trust? If -Yes,• Irle partnership may ha"'8 to ftle Foon 3520, AnntJaJ Return To Repo,t
        Transactions With f       . ll Trusts and        . of Cel1aio           G&. See instructions                                                                                      X
12.a Is the partnership makilg, or had ii J)f'8Ylously made (and not nNOked), a sedlon 754 eledlon? . .                    . •• , ••• •• .. , • • • .. , ... , •• ... ., ...... .         X
        See inslructlons for details regarding a 6edlon 754 election.
  b Did the partneiship m.,ke for this tall year an ()ptiooal ba$is ~ t lJ'lder sec;llon 743(b) or 734(b)? If "Yes•
        attacl"I a statement showing the oomputatiOn arid aiocatiOn of !tie basis adjustme(1l See instructions •• .. .. • •• • .. •• . • ••• • • • • • , , , .•. .. .• ... ,              X
  c:    1$ the par1nemp llql.ftd to adjusl the basis or palt1mtip assel3 imer- '9Cbl 743(1>) er 7'J'(b) becalse d e
        Slbs1ar'tllll buill-il loss (as deftned und« sedlcll 743(d)) er substantial basis MJt1ial (as dnned ll1da' sedion
        7       1 If "Yes· allach a s1atement·           the amiu'Alion and alocaboo of the bass             t _See viSlrudlOnS                                                           X
13      Check lb.is box Ir, during the c:un-ent or prior tall year. lhe partnelShip dlstribu1ed SIY ~ receiYed In a
        lllle-lQnd exchalge or cc,ICribut8d sud! property to snottier entity (other than ~ enltties wholy
    CMll8d b lhe                            .
                                              lhe 18X             .
                                                                  .                                                                                                     ►
1•  Al any time durtog the tall year, did lhe pa,tnerst,lp distribute to any pa,tner a tenancy-in-oormlon or olhet
    undivided interest in                                                                                                                                                                 X
15  If !tie partn,nhlp Is required to Ilk! Form 8&58, lnfamation Retum of U.S. Per.;or1s With Respec:l To Foreign
                  Entities enter the number t:A F.orms 8858 atlached. See 1nswct1ons ►
16 Does t,1e pa,tnelSttip have aey foreign partrlefs? It -Yes: enter the ~ber of Forms 8805, Foreigt) Partner's
    lnbmat,on Slatement o( Secoon 1446                     T     filed for this          . .►                                                                                             .x
17 Enler the number of Fonns 8865, Return of U.S Pefwns With Respect to Certain Foreign Partnerships, anached.
    to this reium. ►
18a Did yoo make any payment& 111 2015 lhat would require you ID file Foan(s) 1099? see 111511\Jctions .... .... ... •••••                          •••    ..                       X
  b If -Yes. did                                      s 1099? •                                                                                                                     X
19  Enler !tie llUfflber of FQml{s) 5471. lnfonnalion Return c:J U.S. Persons With Respect To Cel1ain Foreign
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 : ~ uppo-r-t-e: by th:e:~te: :::a:::~n:h:n::o:::s:::knote                        ~--i
 3i                 Q Okay. And so when a loan to be                  is               I
   I
 4 \     converted in equity, that would have an impact on the
     I
 s   l   tax return information; right?
     I
 6   I              A        Yes.

 ?   i              Q
                             You would have            more     equity than $700;

 8       correct?
 9                  A        Yes.

10                  MR . PEDDIE:       Objection, it's calling for an
11       expert opinion.

12       BY MR. BILLER:
13                  Q        And 2014 tax return is prepared sometime

14       in 2015; right?
15                  A        Yes.

16                  Q        And when was this Exhibit 75 prepared?

17                  A        75?

18                  Q        No,    2014       tax   return.
19               A           74.
20                  Q        74, thank you.              When was it prepared?

21                  A        I    don't       remember.     September      10, 2015.
22                  Q        September 10, 2015.                So if any loans in
23       2014 were converted to equity in                  2014,   should it be

24       reflected as a loan or equity?

25               A           Say that again.

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 1                   Q       When conversion of a loan takes place in

 2        2015       you know, before January 1, 2016, and when a

 3        loan is converted to equity before 2015 in 2014, how

 4        should it be described in the tax return; as a loan or

 5        equity?

 6                   A        It would have been classified as an

 7        equity.

 8                   Q       Thank you.      Who is identified as the

 9        partner in that tax return for 2014?

10                   A       There's Hillshore.
11                   Q       And how much capital cont ribution did it

12        make?
13                   A        I'm only showing the profit sharing in
14        his K-1.       I'm only showing the profit sharing and loss

15 I      sharing in K-1 .
      I
16    I              Q       You're only showing losses?
17 I                 A       No.   The percentage of profit sharing
      I
18    I   and loss sharing and the losses.             I can't seem to find
19    I   the investment in here.
20    I              Q       Why not?
      I
21    I              A       I don't know where to look here .
      I
22    I              Q       Can I see that real quick, Exhibit 74 .
23    I   The reason you can't find it is because it's all blank.
      I
24 )      This is highly unusual.          It states here under
2s    I   Hillshore Investments profit sharing to be 45 percent;
      I
      \
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        5.3.1. Executive Officers, Executive Officers shall have the duties, functions, and
powers described herein. Each Executive Offi.cer shall serve until he or she (a) submit~ his or
her resignation, or (b) is removed by Vote of a Supermajority of Members. Eaclt Executive
Officer named below sh~ll perform his or her duties in good faith and with such degree of care,
which an ordinarily pnident individual in a like position would use under similar circumstances,
and shall owe fiduciary duties of loyalty and care to the Company and the other Members.

        (a)   Chief C eative Officer and Creative Director. l'he Chief Creative Officer and
Creative Director ("CCOD'') shall be in charge of the Company's creative design processes and
product conception and shall have sole discretion over the creation ·and designs marketed by the
Company. The CCOD shall also be the Chairperson of the Executive Committee. For so long as
she is employed by the Company, the CCOD for the Company shall be Paula.

       (b)    Chief Oeeratlne, Officer and Chief Com.mercJ~I_O..filttr. The Chief Operating
Officer C'COO;,) and Chief Commercial Officer ("CCO") shall be in charge of the Company's
commercial strategy; development of merchandise and prod~cts; customer relations; and sales.
The COO and CCO for the Company as of the Effective Date shall be Jene Park.

       5.4.    Manager's Powers and Limitations. The Manager of the Company shall ·have
all powers and authority provided by t~is. Agre.e ment and the Act. Notwithstanding the
foregoing, the Manager shall not take any of the actions described in Section 7 .3 unless it has
been approved by the Members by Vote of a Supermajority of Members.

       5.5. Compensation. Subject to Section 7.3, the Manager shaU be entitled to
compensation for the Manager's services and .reimbursement for all expenses .reasonably·
incurred by the Manager in the performance of the Manager's duties.

        5:6. Company Assets. The M.anager shall cause all assets of the Company, whether
real or personal, to be held in the name.oflhe Company..

       5.7.    Company Funds. All funds of the Company shall be deposited in one or more
accounts with one or moi,-e recognized financial institutions in the name- of the Company, at
locations determined by the Manager. Withdrawal from those accounts shall require only the
signature of the Manager or any other person or persons as the Manager may designate.

        5.8. Removal and R lacement of Mana~ e.r. The Manager shall serve until th~
earlier of: (a) the Manager's resignation, retirement, death, or disability, (b) the Manager's
removal by Vote of a Supermajority of Members or (c) the Manager ceasing to be a Member of
the Company. A new Manager shaJI be appointed by Vote of a Supermajority of Members.

                        ARTICLE VI: ACCOUNTS AND ACCOUNTING

       6'. I. Books of.Account Complete books of account of the Company' s business, in
which each Company transaction shall be fully and accurately entered, shall be kept at the
Company's principal executive office and at other locations that the Manager shall determine
from time to time, and shall be open to inspection and copying on reasonable Notice by any

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 1              A         Thomas Wylde data transferred to?
 2              Q         The PDTW QuickBooks data be transferred
 3    to Thomas Wylde QuickBooks data.

 4              A         No.      It's still a different company.
 5              Q         So the company started new?
 6              A         Yes .
 7              Q         Okay.       Started with a clean slate?

 8              A         Yes.
 9              Q         Didn't owe any money?

10              A         Yes.

11              Q         And all the losses were left with PDTW;

12    right?
13              A         Whateve-r the transaction is left in
14    there .

15              Q         So if PDTW owned, you know, loans and
.16   those ~eren't transferred to Thomas Wylde, Thomas Wylde
17    had no obligation to pay them; right?

18              MR. PEDDIE:         Objection, calls for a
19    hypothetical.       Calls for a legal opinion.
20              THE WITNESS .:        It Is not Thomas Wylde loans' yes.
21    BY MR. BILLER:

22              Q         Do you know how the Great Depression was
23    caused?       Do you know how the Great depression was
24    caused?
25              A         No.

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 1   BY MR. BILLER:
 2               Q        -- but it took the clothing and the name
 3   and the brand of the company and sold those; right?
 4               MR . PEDDIE:      Objection, c alls for a legal

 5   opinion .
 6   BY MR. BILLER:
 7               Q        The clothes, it sold the clothes.
 8               A        There was a cut-off season.

 9               Q        But they still sold the clothes that

10   were --
11               A       After the -- when Thomas Wylde was
12   created, it started with its own season.
13               Q       But what did they do with the
14   clothes that Paula PDTW had already manufactured and
15   had on sale before July 22, 2014?                      Did they throw it

16   away?
17               A       No.     I t was invoiced under PDTW.             That's
18   why we have these advances.                So whatever collection is
19   in there it goes to this account, advances to advances

20   from .    And so when that happened, invoices pertaining
21   to PDTW stayed in PDTW books .
22               Q        So people works on the PDTW books?

23               A        Yes.
24               Q       And so those books should show what

25   property was sold; right?

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  1   contribution was?           Do you remember talking about this?
  2             A          Yes.
  3             Q          And what figure is shown on
  4   Third Amended Exhibit B, which is Exhibit 72 to this
  5   deposition?
 6              A          He referred to the last line, which is
 7    $9,000,013 .

  8             Q          Okay.      So on tax return, we see
  9   $7,500,013.        We just went through that.           On Amended

10    Exhibit B we s~e $9,000,013.                 And another source that
11    we looked at earlier, what was this transmittal form?
12              A          That's 68.
13              Q          I'm referring to what is shown as
1.4   Exhibit A to Exhibit 68 to this deposition.                 Would you
15    please read the title of Exhibit A for us .
16              MR . BILLER;         I just want to interpose an

17    objection.        This is the same exact page of the document
18    I introduced that Counsel put in f~ont of the witness
19    on my dire~t examination and pointed to to distract
20    her.   It's been tainted.
21              MR. PEDDIE:         And I'm trying to clear that up,
22    Mr. Biller.

2.3   BY MR. PEDDIE:

24              Q          Would you please read the first caption
25    to Exhibit 68 to this deposition?

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                        federal Rules of Civil Erocedure

                                       Rule 30



          (e)   Review By the Witness; Changes.

          {l} Review; Statement of Changes. On request by the

         deponent or a party before the dep-0sition is

         completed ,     the d~ponent must be allowed 30 days

         after being notified by the officer that the

         transcrip t     or recording is availa_ble in which:

          (A)   to review the transcript or record~ng;           and

          (B)   if there are changes in form or substance, to.

         sign a statement listing the changes and the

          reasons for making them.

          {2) Changes Indicated in the Officer's Certif~cate .

         The officer must note in the certificate prescribed

         by Rule 30 ( f ) ( l)   whether a review was requested

          and, if so, must attach any changes the deponent

         makes during the 30-day period.




          DISCLAIM ER:     THE FOREGOING FEDERAL PROCEDURE RULES

          ARE PROVIDED FOR INFORMATIONAL PURPOSES ONLY .

          THE ABOVE RULE$ ARE CU~RENT AS OF SEPTEMBER 1,

          2016.    PLEASE REFER TO THE APPLICABLE FEDERAL RULES

          OF CIVIL PROCEDURE FOR UP-TO - DATE INFORMATION .
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                    VERITEXT LEGAL SOLUTIONS
          COMPANY CERTIFI.CATE AND DISCLOSURE STATEMENT

     Veritext Legal Solutions represents that the
     foregoing transcript is a true, correct and complete
     transcript of the colloquies, ·q uestions ahd answers
     as submitted by the court reporter . Veritext Legal
     Solutions further represents that the attached
     exhibits, if any, are true, correct and complete
     documents as submitted by the court reporter and/or
     attorneys in relation to this deposition and that
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            EXHIBIT
              ''25''
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Doug Lee

From:                            Stephen Choi <stephen@choisite.com>
Sent:                            Tuesday, January 06, 2015 7:36 PM
To:                              David Schnider
Cc:                              John Hanna; Meldy Rafols; Doug Lee: Roger Kuo
Subject:                         Re: Thomas.Wylde agreement



here is Hillshore-address ..

The legal address is:

Calle 53 Este, Urbanizaci6n Matbella, Torre MMG, 2, Ciudad de Panama, Panama.

I do not see anything else blank..do you ha,ve any specific questions? would jt be better if I call you?

Thanks

On Tue, Jan 6, 2015 at 2:05 PM, David Schnider <david@thomaswylde.com> wrote:
Stephen:

I'm following up on the email below regarding the draft agreement for you to purchase your membership
interest in Thomas Wylde, LLC. We need to fill in a few blanks and I need to know if there are any changes we
need to discuss so we can get thjs finalized and fonnally transfer your membership interest. Please get back to
me about it at your earliest convenience.

Thanks,
David


         On Dec IO, 2014, at 8:34 PM, David Schnider <david@thomaswylde.com> wrote:

         Stephen:

        Attached is a draft agreement for you to purchase your membership interest in Thomas Wylde,
        LLC. We have just submitted documents to Paula' s counsel, so this agreement may be subject to
        revisions, but I wanted to get it to you for your review and input as soon as.possible. Please·have
        a look and let me lqiow if there are any issues we need to discuss and what infonnation we
        should use to fill in the highlighted portions.

         Thanks,
         David



         David Schnider
         General Counsel
         david@thomaswylde.com

                                                         1




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 THOMAS WYLDE
 www.thomaswylde.com



 <Choi Membership Purchase Agreement.docx>




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Doug Lee

From:                             Stephen Choi <stephen@ct\oisite.com>
Sent:                             Wednesday, January 07, 2015 5:07 PM
To:                               David Schnider
Cc                                John Hanna; Meldy Rafols; Doug Lee; Roger Kuo
Subject:                          Re: Thomas Wylde agreement


Well heck lets put this in the name of Eniluz Gonzalez.. not sure what title you need president? GM?.. Anything
works for me

thanks

On Tue, Jan 6, 2015 at 10;28 PM, David Schnider <david@thomaswylde.com> wrote:
Just need the name and title of the person who will sign for the company. 1'1l then send you a final version for
signature.

Sent from my iPad

On Jan 6, 2015, at 7:36 PM, Stephen Choi <ste phen@choisite.com> wrote:

         here is HiUshore address..

         The legal address is:

         Calle 53 Este, Urbanizaci6n Marbella, Torre MMG, 2, Ciudad de Panama, Panama.

         I do not see anything else blank..do you have any specific questions? would it be better if I call
         you?

         Thanks

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         Stephen:

         I'm following up on the email below regarding the draft agreement for you to pu~hase your
         membership interest in Thomas Wylde, LLC. We need to fill in a few blanks and .1 need to know
         if there are any changes we need to discuss so we can get this finalized and formally transfer
         your membership interest. Please get back to me about it at your earliest convenience.

         Thanks,
         David



                  On Dec l 0, 20 l4, at 8:34 PM, David Schnider <david@thomaswylde.co!'Tl)!
                  wrote:

                  Stephen:

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       Attached is a draft agreement for you to purchase your membership interest in
       Thomas Wylde, LLC. We have just submitted documents to Paula;s counsel, so
       this agreement may be subject to revisions, but I wanted to get it to you for your
       review and input as soon as possible. Please have a look and let me know if there
       are any issues we need to discuss and what information we should use to fill in the
       highlighted portions.

       Thanks,
       David



       David Schnider
       General Counsel
       david@thomaswylde.com

       THOMAS WYLDE
       www. thomaswylde~com




       <Choi Membership Purchase Agreement.<Jocx>




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